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             ORAL ARGUMENT NOT YET SCHEDULED

                        No. 22-1235 (L), 22-1267

            UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


                SIERRA CLUB and PUBLIC CITIZEN,
                               Petitioner,
                                   v.
         FEDERAL ENERGY REGULATORY COMMISSION,
                              Respondent.



    CHENIERE CORPUS CHRISTI PIPELINE, L.P. AND CORPUS
              CHRISTI LIQUEFACATION, LLC,
                      Intervenors for Respondent.


               On Petition for Review of Order of the
              Federal Energy Regulatory Commission,
 179 FERC ¶ 61,087 (May 6, 2022) & 181 FERC¶ 61,033 (Oct. 14, 2022)


                         JOINT APPENDIX

                           VOLUME I OF I



              COUNSEL LISTED ON INSIDE COVER

                                                    Dated: March 28, 2023
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                                      179 FERC ¶ 61,087
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Richard Glick, Chairman;
                               James P. Danly, Allison Clements,
                               Mark C. Christie, and Willie L. Phillips.

         Corpus Christi Liquefaction Stage III, LLC               Docket Nos.       CP18-512-001
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                       CP18-513-001


                        ORDER GRANTING EXTENSION OF TIME REQUEST

                                           (Issued May 6, 2022)

                 On December 7, 2021, Corpus Christi Liquefaction Stage III, LLC (CCL Stage
         III), Corpus Christi Liquefaction, LLC (Corpus Christi Liquefaction), and Cheniere
         Corpus Christi Pipeline, LP (Cheniere Pipeline) filed a motion requesting a 31-month
         extension of time, until June 30, 2027, to construct and place into service the Stage 3
         LNG and Pipeline Projects.1 The projects were to have been constructed and made
         available for service by November 22, 2024. For the reasons discussed below, the
         extension of time request is granted.

         I.     Background

               On November 22, 2019, the Commission issued an order authorizing CCL Stage
        III and Corpus Christi Liquefaction to construct and operate additional facilities for the
        liquefaction and export of domestically-produced natural gas at Corpus Christi
        Liquefaction’s existing liquefied natural gas (LNG) terminal2 on the northern shore of




                1
                CCL Stage III, Corpus Christi Liquefaction, and Cheniere Pipeline December 7,
         2021 Request for Extension of Time (Request for Extension of Time).
                2
                 The Commission authorized the siting, construction, and operation of the LNG
         terminal in 2014. Corpus Christi Liquefaction, LLC, 149 FERC ¶ 61,283 (2014), reh’g
         denied, 151 FERC ¶ 61,098 (2015). The LNG terminal began export activities in March
         2019.




                                                                                            JA001
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        Corpus Christi Bay in San Patricio and Nueces Counties, Texas (Authorization Order).3
        The project, known as the Stage 3 LNG Project, consists of the addition of seven
        midscale liquefaction trains and one full containment LNG storage tank. In the same
        order, the Commission authorized Cheniere Pipeline to construct and operate the Stage 3
        Pipeline Project. That project includes the construction of a 21-mile-long, 42-inch-
        diameter interstate natural gas pipeline, additional compressor units at the existing Sinton
        Compressor Station, meter stations, and appurtenant facilities to transport 1.5 billion
        cubic feet per day (Bcf/d) of natural gas bi-directionally between the Stage 3 LNG
        Project facilities and interconnections with existing pipeline systems.4 The Authorization
        Order requires the companies to construct the projects and make them available for
        service by November 22, 2024.5

                 On December 7, 2021, the companies filed a motion requesting a 31-month
         extension of time -- until June 30, 2027 -- to complete construction and place the projects
         into service.6 Specifically, the companies state the pandemic’s adverse effects on global
         market conditions have impacted CCL Stage III’s ability to achieve a final investment
         decision on the Stage 3 LNG Project.7 Notwithstanding these concerns, the companies
         cite to the approximately 6 million tonnes of LNG per annum of long-term contracts
         recently entered into by Cheniere Energy, Inc. and its affiliates as indicators that, along
         with prior contracts, commercialization of the project is close to completion.8 The
         companies intend to make a positive investment decision and restart construction efforts
         in 2022.9



                3
                 Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC &
         Cheniere Corpus Christi Pipeline, L.P., 169 FERC ¶ 61,135 (2019) (Authorization
         Order).
                4
                    Id.
                5
                    Id. at ordering para. (B) and (D)(1).
                6
                    Request for Extension of Time at 2.
                7
                    Id. at 1-2.
                8
                    Id.
                9
                  After the companies received approval from FERC in early 2020, they conducted
         preliminary activities on the project site, including road improvements, pile testing, soil
         stabilization tests, and tests of dewatering techniques, but suspended further activities in
         March 2020. Id. at 2.




                                                                                             JA002
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        II.     Notice, Interventions, and Comments

                A.         Notice

                Notice of the companies’ Request for Extension of Time was issued on
         December 14, 2021, and published in the Federal Register on December 21, 2021, with
         interventions, comments, and protests due on December 29, 2021.10 On December 29th,
         Public Citizen and the Sierra Club (together NGO Parties) filed a joint, timely motion to
         intervene and comments opposing the extension.

                Public Citizen was a party to the underlying proceeding. Because Sierra Club was
         not a party to the underlying proceeding, Sierra Club’s motion to intervene included a
         motion to intervene out of time in the underlying docket. The Commission recently
         announced in Adelphia Gateway, LLC, a revised policy allowing interventions in
         extension of time proceedings by entities who were not parties to the underlying
         proceeding. 11 Accordingly, Sierra Club’s argument challenging the Commission’s prior
         policy regarding late interventions is moot, and Sierra Club’s and Public Citizen’s timely,
         unopposed motions to intervene are granted by operation of Rule 214 of the
         Commission’s rules of Practice and Procedure.12

                B.         Intervention in Extension of Time Proceedings

                Public Citizen argues that the intervention policy first specified in Algonquin Gas
         Transmission, LLC (Algonquin), requiring parties to an underlying authorization
         proceeding to intervene again to be a party in an extension of time proceeding, serves no
         purpose and places an unnecessary burden on existing parties.13 It argues that the
         Algonquin intervention policy was announced without supporting legal authority and asks
         the Commission to clarify that repeated intervention by those granted party status is not
         required.14



                10
                     86 Fed. Reg. 72,230 (Dec. 21, 2021).
                11
                     Adelphia Gateway, LLC, 178 FERC ¶ 61,030, at P 10 (2022).
                12
                     18 C.F.R. § 385.214(c) (2021).
                13
                 Public Citizen and Sierra Club December 29, 2021 Motion to Intervene and
         Comments at 2 (citing Algonquin Gas Transmission, LLC, 170 FERC ¶ 61,144, at PP 39-
         40 (2020)).
                14
                     Id.




                                                                                            JA003
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                We decline to do so. As we explained in Algonquin, party status in the original
         docket does not automatically extend to subsequent proceedings concerning the
         authorized project.15 However, the Commission decided in Algonquin that public input
         would help increase transparency and the durability of its orders. Commission staff was
         directed to notice all requests for extensions of time to complete construction of facilities
         authorized under the Natural Gas Act to allow for comment and intervention.16 Public
         Citizen has not shown there was any undue burden in requiring parties to the underlying
         proceeding here to indicate their continued interest in the extension of time proceeding by
         moving to intervene.

         III.   Discussion

                 The completion date specified in a certificate or authorization order provides what
         the Commission believes—based on the applicant’s initial project schedule and the
         Commission’s assessment of circumstances relevant to the specific project—to be a
         reasonable period of time for the project sponsor to complete construction and make the
         project available for service.17 However, construction deadlines may be extended for
         good cause.18 The Commission generally will grant an extension of time if the movant
         files for an extension of time within a timeframe during which the environmental findings




                15
                  Algonquin Gas Transmission, LLC, 170 FERC ¶ 61,144 at P 38 (citing Const.
         Pipeline Co. LLC, 165 FERC ¶ 61,081, at P 23 (2018) (explaining that Commission
         regulations do not require an opportunity for notice and comment for extension of time
         requests)). See e.g., Bangor Hydro-Elec. Co., 87 FERC ¶ 61,035 (1999) (grant of
         extension of time is an administrative matter between Commission and licensee;
         intervention denied and request for rehearing rejected); Wis. Valley Improvement Co., 88
         FERC ¶ 61,054 (1999) (motion to intervene and request for rehearing in proceeding
         granting extension of time for post-license compliance dismissed; proceeding not type in
         which intervention and rehearing lie); Felts Mills Energy Partners, L.P., 86 FERC ¶
         61,120, reh’g denied, 87 FERC ¶ 61,094 (1999) (motions to intervene and requests for
         rehearing regarding extensions of time generally are not entertained).
                16
                     Algonquin Gas Transmission, LLC, 170 FERC ¶ 61,144 at P 39.
                17
                 Const. Pipeline Co., LLC, 165 FERC ¶ 61,081, at P 9 (2018) (citing Arlington
         Storage Co., LLC, 155 FERC ¶ 61,165, at P 8 (2016)).
                18
                  18 C.F.R. § 385.2008(a) (2021) (allowing the relevant decisional authority to
         extend for good cause the time by which any person is required or allowed to act under
         any statute rule or order).




                                                                                              JA004
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        underlying the Commission’s authorization can be expected to remain valid.19 Good
        cause can be shown by a project sponsor demonstrating that it made good faith efforts to
        meet its deadline but encountered circumstances that prevented it from doing so.20

               A.         Good Cause for Granting an Extension of Time

                The NGO Parties argue the companies failed to demonstrate good cause for
         granting an extension of time.21 The NGO Parties allege that the companies’ delay is
         market driven rather than a response to the difficulties of the COVID-19 pandemic.22
         They assert that the companies chose to not proceed with construction to wait for natural
         gas prices to rise.23 They argue that market-related setbacks are not the type of
         unforeseeable barriers worthy of an extension.24

                 The companies explain that good cause exists because the adverse economic and
         logistical impacts of the COVID-19 pandemic prevented them from making a timely
         investment decision on the project to meet construction deadlines.25 They note that
         economic conditions are recovering from the COVID-19 pandemic, leading to an
         improvement in the LNG markets and commercial momentum.26 The companies state
         they are closer to completing the commercialization of the Stage 3 LNG Project as
         evidenced by the long-term contracts Cheniere Energy and its affiliates already




               19
                 See Const. Pipeline Co., LLC, 165 FERC ¶ 61,081 at P 9; 18 C.F.R. §
         385.2008(a).
               20
                    See, e.g., Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at P 15.
               21
               Public Citizen and Sierra Club December 29, 2021 Motion to Intervene and
         Comments at 8.
               22
                    Id. at 9-10.
               23
                    Id. at 9.
               24
                    Id.
               25
                    Request for Extension of Time at 1.
               26
                    Id. at 2.




                                                                                           JA005
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        executed.27 Finally, they explain that an extension is integral to maintaining the project
        schedule and receiving a positive investment decision.28

                 With respect to the NGO Parties’ argument that delay is market driven, as we
         recently noted in Delfin LNG LLC, an extension of time to construct a project may be
         denied where the record indicates that a project is no longer commercially viable.29 A
         change in commercial viability may constitute a significant change in the circumstances
         underlying the original public interest findings.30 However, the record in this case does
         not support a finding that the Stage 3 LNG Project is no longer commercially viable. The
         companies continue to pursue the project and remain optimistic that the COVID-19
         pandemic’s impact on LNG market conditions is waning. We note that since the
         companies filed the request there has been evidence of an increase in demand for LNG,
         demonstrated, for example, by the recently announced partnership with the European
         Union seeking to ensure additional LNG volumes for the E.U. import market of at least
         15 billion cubic meters in 2022, with expectations of increased demand going forward.31

                As stated above, the Commission will find good cause exists for an extension of
         time where the certificate holder makes a good faith effort to complete certificated
         actions within the time allotted but encountered circumstances that prevent it from doing
         so. The Commission has previously found good cause exists for an extension of time




               27
                    Id.
               28
                    Id.
               29
                  See Delfin LNG LLC, 178 FERC ¶ 61,031, at P 12 (2022) (citing Chestnut Ridge
         Storage LLC, 139 FERC ¶ 61,149).
               30
                  Id. The Commission specifies the time period for authorized action as a
         condition in a certificate to “diminish[] the potential that the public interest might be
         compromised by significant changes occurring between the issuance of the certificate and
         commencement of the project.” Altamont Gas Transmission Co., 75 FERC ¶ 61,348,
         62,103 (1996).
               31
                  See Fact Sheet: United States and European Commission Announce Task Force
         To Reduce Europe's Dependence On Russian Fossil Fuels (March 25, 2022),
         https://www.whitehouse.gov/briefing-room/statements-releases/2022/03/25/fact-sheet-
         united-states-and-european-commission-announce-task-force-to-reduce-europes-
         dependence-on-russian-fossil-fuels/, 2022 WL 884707.




                                                                                            JA006
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        where a certificate holder requested more time to secure contracts with potential
        customers.32

                 Here, the companies have made progress in preparing the site for the Stage 3 LNG
         Project facilities for eventual construction and continues to make efforts to secure long-
         term contracts. The companies have demonstrated continued interest in the project and
         have made a good faith effort to meet the 2024 deadline. The unforeseeable impacts of
         the COVID-19 pandemic combined with the companies’ continued interest in the project
         satisfy the Commission’s good cause inquiry.

                B.         The Authorization Order’s Public Interest Findings Are Still Valid

                 The NGO Parties assert that the Commission should deny the companies’ request
         for an extension of time because circumstances have changed since the Commission’s
         issuance of the Authorization Order. They argue that when the Authorization Order was
         issued, the Commission did not have the mechanisms to measure the significance of the
         project’s greenhouse gas emissions and, thus, refrained from making a determination on
         the matter. 33 They assert that in light of the nation’s newly adopted emissions standards,
         the reinstated social cost of carbon protocol, and mitigation efforts such as carbon capture
         and sequestration, the Commission should assess the project’s greenhouse gas emissions
         and consider whether mitigation efforts are appropriate.34 Last, the NGO Parties argue
         that no federal agency has evaluated whether LNG export-driven price increases are
         consistent with the public interest.35 They suggest that the Commission should consider
         the Stage 3 LNG Project’s upstream impacts on LNG prices and supply before granting
         an extension.36


                32
                    See, e.g., Delfin LNG LLC, 178 FERC ¶ 61,031 at PP 22-23 (highlighting
         attempts to secure long-term offtake agreements as a sign of continued interest in a
         project and good faith efforts to meet a deadline); Letter Order to LA Storage, LLC,
         Docket No. CP08-454-000 (issued Nov. 14, 2013) (granting a certificate holder a second
         extension of time due to changing market conditions and difficulty in finding customers,
         providing LA Storage six years from the issuance of the certificate to place the project
         facilities into service).
                33
               Public Citizen and Sierra Club December 29, 2021 Motion to Intervene and
         Comments at 13-16.
                34
                     Id. (citing Executive Order 14,008, 86 Fed. Reg. 7619 (Jan. 27, 2021)).
                35
                     Id. at 19.
                36
                     Id.




                                                                                               JA007
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                The Commission will not consider the NGO Parties’ arguments regarding
         reconsideration of GHGs and the impact on exports on domestic natural gas prices
         because they seek to re-litigate the issuance of an authorization or certificate order,
         including whether the Commission properly found the project to be in the public
         convenience and necessity or public interest.37 We include in-service deadlines in our
         authorization orders to, in part, ensure the information supporting our public convenience
         and necessity determinations does not go stale with the passage of time. 38 While we
         recognize that environmental policy and market conditions are subject to change,
         extension of time proceedings are not an invitation to re-open the dockets.39

                Here, the companies request only to change the timing, not the nature, of the
         project. Extending the deadline to construct the Stage 3 LNG Project and place it into
         service within seven and a half years of the original in-service deadline will not
         undermine the Commission’s findings in the Authorization Order that the project is
         required by the public convenience and necessity and not inconsistent with the public
         interest.40 The facts underlying the Authorization’s conclusions have not significantly
         changed. Moreover, the Commission has authorized projects and granted extensions




                37
                    Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at P 10. See also, Algonquin Gas
         Transmission, LLC, 170 FERC ¶ 61,144 at P 40 (explaining that the Commission will
         address arguments relating to whether the applicant has demonstrated there is good cause
         to grant the extension but will not consider arguments that re-litigate whether the project
         is in the public convenience and necessity); see also Transcon. Gas Pipe Line Co., LLC,
         175 FERC ¶ 61,148, at P 18 (2021).
                38
                     See, e.g., Mountain Valley Pipeline, LLC, 173 FERC ¶ 61,026, at P 17 (2020),
                39
                   See, e.g., Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at P 10 (emphasizing
         that the Commission will not relitigate whether the Commission properly found the
         project to be in the public convenience and necessity); Algonquin Gas Transmission,
         LLC, 170 FERC ¶ 61,144 at P 40.
                40
                   Authorization Order, 169 FERC ¶ 61,135 at P 29 (concluding that, based on the
         benefits the project will provide and the lack of adverse impacts on other pipelines and
         their captive customers, and landowners and surrounding communities, the project is
         consistent with the Certificate Policy Statement); id. P 23 (concluding LNG facilities are
         not inconsistent with the public interest).




                                                                                            JA008
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        setting the in-service deadline of four, five, or six years without expressing concerns
        about the basis for the Authorization Order’s findings becoming stale.41

               C.         The Authorization Order’s Environmental Analysis Regarding Special
                          Status Species Remains Valid

               The NGO Parties state that new information regarding the project’s impacts on
        threatened and endangered species render the project’s environmental review invalid.42
        They argue that new information about the listing of the Gulf of Mexico Bryde’s Whale
        and the northern oceanic white tip shark requires the Commission to reinitiate
        consultation under section 7 of the ESA.43 The NGO Parties also argue that FERC must
        conduct a supplemental EIS.44

                We agree that the information regarding newly listed threatened and endangered
         species requires consideration and that the ESA regulations45 require a determination
         whether the project may have impacts on the newly listed species. Specifically, if a new
         species is listed after the Commission’s issuance of a certificate and before the
         completion of project construction, Commission staff will determine whether the project
         may affect the species. If the project will not affect the species, the Commission has no
         further ESA obligation. If the project may affect the species, the Commission must
         consult with NMFS or FWS, as appropriate, if the effects are reasonably certain to
         occur.46


               41
                  See, e.g., Mountain Valley Pipeline, LLC, 173 FERC ¶ 61,026 (five years to
         complete pipeline project); Golden Triangle Storage, Inc., 121 FERC ¶ 61,313, at
         ordering para. (M) (2007) (six years to complete gas storage project).
               42
               Public Citizen and Sierra Club December 29, 2021 Motion to Intervene and
         Comments at 17.
               43
                    Id.
               44
                   Id. at 20. The NGO Parties state, without further justification, that the
         Commission should apply the Council on Environmental Quality’s proposed NEPA
         regulations. Id. (citing Council on Environmental Quality, Proposed Rule: National
         Environ mental Policy Act Implementing Regulations Revisions, 86 Fed. Reg. 55, 757
         (Oct. 7, 2021)).
               45
                 Endangered and Threatened Wildlife and Plans; Regulations for Interagency
         Cooperation, 84 Fed. Reg. 44,976 (Aug. 27, 2019).
               46
                    50 C.F.R. § 402.02 (2021).




                                                                                            JA009
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                 However, the potential need to re-initiate consultation on newly listed species does
         not render the environmental analysis stale or trigger the need for a supplemental EIS.47
         A determination as to whether additional NEPA analysis is needed cannot be made prior
         to determining whether further ESA consultation is required and obtaining the results of
         such consultation.48 Neither of those determinations is germane to our action here on the
         requested extension of time. We note that, should it become necessary based on ESA
         consultation with NMFS, we will supplement our environmental review under NEPA
         prior to authorizing the companies to commence construction.

                Because we find that CCL Stage III, Corpus Christi Liquefaction, and Cheniere
         Pipeline have demonstrated good cause for the delay, we will grant the request for a 31-
         month extension to complete construction of the Stage 3 LNG Project.

               The Commission on its own motion received and made a part of the record in this
         proceeding all evidence, including the motion and exhibits thereto, and upon
         consideration of the record,

         The Commission orders:

                Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC,
         and Cheniere Corpus Christi Pipeline, LP are granted a 31-month extension of time to
         June 30, 2027, to construct and make available for service the Stage 3 LNG Project as
         authorized in CP19-512-000 and CP19-513-000.

        By the Commission. Commissioner Danly is concurring with a separate statement
                           attached.

        (SEAL)



                                                       Debbie-Anne A. Reese,
                                                         Deputy Secretary.


                47
                  See, e.g., Delfin LNG LLC, 178 FERC ¶ 61,031, at P 14 (2022); Mountain
         Valley Pipeline, LLC, 173 FERC ¶ 61,027, at P 41 (2020) (discussing the effect of
         continued consultation under section 7 of the ESA and noting that consultation is separate
         from the processes established under NEPA).
                48
                  If additional ESA consultation results in proposed new measures with impacts
         not previously studied or if an amendment is necessary to incorporate new measures, the
         Commission would supplement its NEPA review.



                                                                                             JA010
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Corpus Christi Liquefaction Stage III, LLC                 Docket Nos.      CP18-512-001
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                        CP18-513-001



                                            (Issued May 6, 2022)

         DANLY, Commissioner, concurring:

                I concur in today’s decision1 to grant the requested extension of time to construct
         and place into service the facilities authorized by the Commission in its November 2019
         order.2 I write separately to state that the Commission should exercise caution when
         inquiring into whether a prior authorization order’s public interest findings and
         environmental analysis remain valid.

                 Although the Commission’s practice of establishing project deadlines in
         authorization orders is in order to “diminish the potential that the public interest might be
         compromised by significant changes occurring between issuance of the [authorization
         order] and commencement of the project,”3 our inquiry when reviewing a request for
         extension of time is narrow—it is not an opportunity to revisit the determinations made in
         certificate proceedings after orders have become final and unappealable.

               While I take comfort in the Commission’s statement that, “extension of time
         proceedings are not an invitation to re-open the dockets,”4 I remain wary. And with good


                1
                See Corpus Christi Liquefaction, LLC, 179 FERC ¶ 61,087 (2022) (Extension of
         Time Order).
                2
                 See Corpus Christi Liquefaction, LLC, 169 FERC ¶ 61,135 (2019)
         (Authorization Order).
                3
                    Altamont Gas Transmission Co., 75 FERC ¶ 61,348, at 62,103 (1996).
                4
                 Extension of Time Order, 179 FERC ¶ 61,087 at P 15 (citation omitted); see also
         id. (“The Commission will not consider the NGO Parties’ arguments regarding
         reconsideration of GHGs and the impact on exports on domestic natural gas prices
         because they seek to re-litigate the issuance of an authorization or certificate order,
         including whether the Commission properly found the project to be in the public



                                                                                              JA011
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        reason. Recent Commission orders on extensions of time, some of which I have voted
        for, have included language that I believe reinforces the Commission’s misguided view in
        Algonquin Gas Transmission, LLC,5 issued in 2021, that it may revisit determinations
        made in final, unappealable certificate orders.6 In that proceeding, in the face of more
        than 80 years of contrary precedent, the Commission reopened the record of a judicially-
        final certificate order without even an attempt to offer a statutory basis for its action.7
        Although the Commission has since terminated the proceeding,8 in doing so it refused to
        identify the authority that would permit it to reopen a certificate proceeding once final,



        convenience and necessity or public interest.”) (citation omitted).
               5
                   174 FERC ¶ 61,126 (2021) (Danly, Comm’r, dissenting).
               6
                  For example, recently in Delfin LLG LLC, the Commission stated, “[i]n Chestnut
        Ridge, we explained that when we act on an application, we rely on information available
        at that time but that the data that underpin our conclusions on the need for a project, its
        commercial prospects, and its environmental impacts are subject to change. As we stated
        there, ‘the validity of our conclusions and environmental mitigation conditions cannot be
        sustained indefinitely.’” 178 FERC ¶ 61,031, at P 12 (2022) (quoting Chestnut Ridge
        Storage LLC, 139 FERC ¶ 61,149, at PP 11, 25 (2012)) (emphasis added). As I note
        above the line, I have voted for other orders that have included similar language. See,
        e.g., Transcon. Gas Pipe Line Co., 175 FERC ¶ 61,148, at P 17 (2021). In my
        concurrence in part and dissent in part in Delfin LNG LLC, I explained how that language
        reinforces the misguided view in Algonquin Gas Transmission, LLC. See 178 FERC
        ¶ 61,031 (Danly, Comm’r, concurring in part and dissenting in part at P 3).
               7
                  See Algonquin Gas Transmission, LLC, 174 FERC ¶ 61,126; id. (Danly,
        Comm’r, dissenting at PP 18, 22); Former Commissioners Mike Naeve, Elizabeth A.
        Moler, Donald F. Santa, Jr., Pat Wood, III, Nora Mead Brownell, Joseph T. Kelliher, and
        Suedeen G. Kelly April 12, 2021 Letter to the Commission, Docket No. CP16-9-000, et
        al., at 1 (“We are troubled by the novel assertion of authority to reconsider a long-since-
        final certificate order, without any suggestion that the terms of that order were violated,
        and long after a private company built and placed into service the facilities in question, at
        a cost of approximately a half billion dollars. We are unaware of any other instance, in
        the eight-decade history of the Natural Gas Act, where the Commission has taken such a
        step.”). Cf. U.S. v. Seatrain Lines, Inc., 329 U.S. 424 (1947) (affirming district court’s
        holding that the Interstate Commerce Commission had exceeded its statutory authority in
        reopening the proceeding and altering the certificate).
               8
                 Algonquin Gas Transmission, LLC, 178 FERC ¶ 61,029 (2022) (Danly, Comm’r,
         concurring in part and dissenting in part).




                                                                                             JA012
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         while still leaving the door open to later revisit whether an approved project is still in the
         public convenience and necessity.9

                To be clear: the Commission lacks authority to revisit its public convenience and
         necessity determinations once the order is final and unappealable.


                For these reasons, I respectfully concur.


         ________________________
         James P. Danly
         Commissioner




                9
                   Id. (Danly, Comm’r, concurring in part and dissenting in part at P 9) (“The
         majority’s refusal to explain the Commission’s authority only highlights the obvious fact
         that it had none. And instead of acknowledging this plain fact, the majority leaves the
         door open to revisit whether a project is in the public convenience and necessity at its
         whim.”).



                                                                                                JA013
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                                        181 FERC ¶ 61,033
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Richard Glick, Chairman;
                               James P. Danly, Allison Clements,
                               Mark C. Christie, and Willie L. Phillips.

         Corpus Christi Liquefaction Stage III, LLC                    Docket Nos. CP18-512-002
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                       CP18-513-002


                                          ORDER ON REHEARING

                                           (Issued October 14, 2022)

                On May 6, 2022, the Commission granted a 31-month extension of time, until
         June 30, 2027, for Corpus Christi Liquefaction Stage III, LLC (CCL Stage III),1
         Corpus Christi Liquefaction, LLC (Corpus Christi Liquefaction), and Cheniere Corpus
         Christi Pipeline, LP (Cheniere Pipeline) to construct and place into service the Stage 3
         LNG and Pipeline Projects.2

                On June 6, 2022, Public Citizen and Sierra Club (together, the NGO Parties) filed
         a timely request for rehearing of the Extension Order.

               Pursuant to Allegheny Defense Project v. FERC,3 the rehearing request filed in this
         proceeding may be deemed denied by operation of law. However, as permitted by




                1
               On July 6, 2022, counsel for Corpus Christi Liquefaction notified the
         Commission that CCL Stage III had merged into Corpus Christi Liquefaction.
                2
                Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC &
         Cheniere Corpus Christi Pipeline, L.P., 179 FERC ¶ 61,087 (2022) (Extension Order).
                3
                    964 F.3d 1 (D.C. Cir. 2020) (en banc).




                                                                                            JA014
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        section 19(a) of the Natural Gas Act,4 we are modifying the discussion in the
        Extension Order and continue to reach the same result in this proceeding, as discussed
        below.5

         I.     Background

                On November 22, 2019, the Commission authorized CCL Stage III and
         Corpus Christi Liquefaction to construct and operate additional facilities for the
         liquefaction and export of domestically-produced natural gas at Corpus Christi
         Liquefaction’s existing liquefied natural gas (LNG) terminal (Stage 3 LNG Project)6 on
         the northern shore of Corpus Christi Bay in Texas (Authorization Order).7 At the same
         time, the Commission authorized Cheniere Pipeline to construct and operate the Stage 3
         Pipeline Project, which includes the construction of an interstate natural gas pipeline,
         additional compressor units at an existing compressor station, and related facilities to
         transport 1.5 billion cubic feet per day (Bcf/d) of natural gas bi-directionally between the
         Stage 3 LNG Project facilities and interconnections with existing pipeline systems.8 The
         Authorization Order required the companies to construct the projects and place them in
         service by November 22, 2024.9

                On December 7, 2021, the companies filed a motion requesting a 31-month
         extension of time—until June 30, 2027—to complete construction and place the projects

                4
                  15 U.S.C. § 717r(a) (“Until the record in a proceeding shall have been filed in a
         court of appeals, as provided in subsection (b), the Commission may at any time, upon
         reasonable notice and in such manner as it shall deem proper, modify or set aside, in
         whole or in part, any finding or order made or issued by it under the provisions of this
         chapter.”).
                5
                Allegheny Def. Project, 964 F.3d at 16-17. The Commission is not changing the
         outcome of the Extension Order. See Smith Lake Improvement & Stakeholders Ass’n v.
         FERC, 809 F.3d 55, 56-57 (D.C. Cir. 2015).
                6
                 The Commission authorized the siting, construction, and operation of the LNG
         terminal in 2014. Corpus Christi Liquefaction, LLC, 149 FERC ¶ 61,283 (2014), reh’g
         denied, 151 FERC ¶ 61,098 (2015). The LNG terminal began export activities in
         March 2019.
                7
                Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC &
         Cheniere Corpus Christi Pipeline, L.P., 169 FERC ¶ 61,135 (2019) (Authorization Order).
                8
                    Id.
                9
                    Id. at ordering para. (B) and (D)(1).




                                                                                              JA015
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        into service.10 The companies cited the COVID-19 pandemic’s adverse effects on global
        market conditions as the need for an extension,11 but nevertheless stated that
        commercialization of the project is close to completion12 and the companies intend to
        make a positive investment decision and restart construction efforts in 2022.13

                In the Extension Order, the Commission granted the requested extension.
         Specifically, the Commission found that the unforeseeable impacts of the COVID-19
         pandemic combined with the companies’ continued interest in the project satisfy the
         Commission’s good cause inquiry,14 the public interest findings in the Authorization
         Order remain valid,15 and no further National Environmental Policy Act (NEPA) analysis
         is necessary prior to granting the extension of time.16

         II.    Procedural Matters

                On June 21, 2022, Corpus Christi Liquefaction and Cheniere Pipeline filed a
         motion to answer and an answer to the NGO Parties’ rehearing request. Rule 713(d) of
         the Commission’s Rules of Practice and Procedure,17 prohibits an answer to a request for
         rehearing. Accordingly, we deny Corpus Christi Liquefaction’s and Cheniere Pipeline’s
         motion to answer and reject their answer.

         III.   Discussion

                The NGO Parties raise four alleged errors in the Extension Order, asserting:
         (1) that the Commission has the legal authority and obligation to revisit conclusions from


                10
                     Request for Extension of Time at 2.
                11
                     Id. at 1-2.
                12
                     Id.
                13
                   After the companies received approval from the Commission in early 2020, they
         conducted preliminary activities on the project site, including road improvements, pile
         testing, soil stabilization tests, and tests of dewatering techniques, but suspended further
         activities in March 2020. Id. at 2.
                14
                     Extension Order, 179 FERC ¶ 61,087 at P 13.
                15
                     Id. P 16.
                16
                     Id. P 19.
                17
                     18 C.F.R. § 713(d)(1) (2021).




                                                                                             JA016
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        the Authorization Order in the Extension Order; (2) that the record does not support the
        Commission’s conclusion that the companies demonstrated good cause for the delay;
        (3) that the Commission should have conducted additional NEPA review prior to granting
        the extension; and (4) that the Commission should have determined whether further
        consideration under the Endangered Species Act (ESA) was required.18

                A.       Summary Denial

                We find that in the Extension Order, the Commission adequately addressed the
         NGO Parties’ arguments regarding the Commission’s conclusion that the companies
         demonstrated good cause for the delay19 and the Commission’s obligations under the
         ESA.20 For the reasons previously articulated in the Extension Order as to each of these
         matters, we deny the request for rehearing.

                B.       Consideration of Public Interest Findings

                 The NGO Parties argue that the Commission can, if not must, revisit the public
         interest findings made in connection with the certificate order when considering whether
         to grant an extension.21 They request that the Commission specify the statutory authority
         the Commission exercises when applying Rule 2008 of the Commission’s Rules of
         Practice and Procedure to decide whether it will extend deadlines set forth in a
         certificate.22 Moreover, NGO Parties assert that “[i]f an applicant were to demonstrate a
         change in market conditions that could plausibly justify failure to proceed with a project,




                18
                     Rehearing Request at 2-3.
                19
                  Compare Public Citizen and Sierra Club December 29, 2021 Motion to
         Intervene and Comments at 8-11 with Rehearing Request at 5-8; see Extension Order,
         179 FERC ¶ 61,087 at PP 11-13.
                20
                  Compare Public Citizen and Sierra Club December 29, 2021 Motion to
         Intervene and Comments (“Intervention”) at 17-19 with Rehearing Request at 11; see
         Extension Order, 179 FERC ¶ 61,087 at PP 18-19.
                21
                     Rehearing Request at 4.
                22
                  Id. (citing 15 U.S.C. § 717o; 18 C.F.R. § 385.2008 (2021) (allowing the relevant
         decisional authority to extend for good cause the time by which any person is required or
         allowed to act under any statute, rule, or order)).




                                                                                            JA017
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        . . . the same facts that constituted good cause would also demonstrate that the findings
        underlying the initial certificate were stale.”23

                 Neither the NGA nor the Commission’s regulations establish a particular time
         period to complete construction of an authorized natural gas facility.24 The Commission
         uses its broad conditioning authority under NGA sections 3 and 7(e)25 to set completion
         dates. As explained in the Extension Order, the Commission sets deadlines, in part,
         because the information supporting our public convenience and necessity determinations
         can go stale with the passage of time.26 The purpose of conditioning certificate authority
         with a deadline for completion of construction is to “diminish[] the potential that the
         public interest might be compromised by significant changes occurring between the
         issuance of the certificate and commencement of the project.”27 The completion date
         specified in the Authorization Order28 provides what the Commission believes—based on
         its assessment of circumstances relevant to the specific project—to be a reasonable period
         of time for the project sponsor to complete construction and make the project available
         for service.29


               23
                    Rehearing Request at 7.
               24
                  18 C.F.R. § 157.20(b) (2021) (requiring, among other things, that authorized
         construction be completed and made available for service within the period of time to be
         specified by the Commission in each order).
               25
                   15 U.S.C. § 717f(e) (“The Commission shall have the power to attach to the
         issuance of the certificate and to the exercise of the rights granted thereunder such
         reasonable terms and conditions as the public convenience and necessity may require.”);
         see also id. § 717b(a) (stating that the Commission may “grant such application, in whole
         or in part, with such modification and upon such terms and conditions as
         the Commission may find necessary or appropriate”); id. § 717b(e)(3)(A) (providing the
         authority to approve an application for an LNG Terminal, “in whole or part, with such
         modifications and upon such terms and conditions as the Commission find[s] necessary
         or appropriate”).
               26
                Extension Order, 179 FERC ¶ 61,087 at P 15 (citing Mountain Valley Pipeline, LLC,
         173 FERC ¶ 61,026, at P 17 (2020)).
               27
                    Altamont Gas Transmission Co., 75 FERC ¶ 61,348, at 62,103 (1996).
               28
                    Authorization Order, 169 FERC ¶ 61,135 at ordering paras. (B) & (D)(1).
               29
                 Const. Pipeline Co., LLC, 165 FERC ¶ 61,081, at P 9 (2018) (citing Arlington
         Storage Co., LLC, 155 FERC ¶ 61,165, at P 8 (2016)).




                                                                                            JA018
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                In support of their argument on rehearing that the Commission must specify the
         source of its statutory authority to extend the construction deadline under Rule 2008, the
         NGO Parties argue that they “are not aware of any principle that would permit the
         Commission to extend a certificate deadline but would not permit (or, indeed, require)
         the Commission to consider the validity of the certificate’s underlying findings in
         deciding whether to do so.”30 Therefore, they urge that the Commission “cannot issue a
         new order reconsidering one part of a prior order (the deadline) without reconsidering
         other elements of that prior order,” including a finding that the project will be in the
         public interest.31

                 While the NGO Parties urged the Commission to reconsider the findings
         underlying the public interest determination in both their rehearing request and prior
         intervention,32 they raise the argument that the Commission must define its statutory
         authority to issue an extension of time for the first time on rehearing. The Commission
         looks with disfavor on parties raising issues for the first time on rehearing that could have
         been raised earlier33 and generally will not consider these issues.34 Accordingly, we
         reject this argument.

                However, even if considered, we find the NGO Parties’ argument unavailing. The
         Commission acted within the scope of its authority in granting Corpus Christi’s extension
         of time request. The NGA contemplates that the Commission has the authority to
         condition a certificate authorizing facility construction and operation,35 and to enforce


                30
                     Rehearing Request at 4.
                31
                     Id. at 5.
                32
                     See Intervention at 12.
                33
                   See Balt. Gas & Elec. Co., 91 FERC ¶ 61,270, at 61,922 (2000) (“We look with
         disfavor on parties raising on rehearing issues that should have been raised earlier. Such
         behavior is disruptive to the administrative process because it has the effect of moving
         the target for parties seeking a final administrative decision.”).
                34
                  NRG Power Mktg, LLC v. FERC, 862 F.3d. 108, 116-117 (D.C. Cir. 2017)
         (citing PJM Interconnection, LLC, 108 FERC ¶ 61,187 at P 49 (2004)). Rule 713 of the
         Commission’s Rules of Practice and Procedure permits raising new information on
         rehearing only if that information is “based on matters not available for consideration by
         the Commission at the time of the final decision or final order.” 18 C.F.R.
         § 385.713(c)(3) (2021).
                35
                     15 U.S.C. § 717f(e).




                                                                                              JA019
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        those conditions.36 Accordingly, the Commission has a continuing responsibility to
        oversee the construction of authorized projects after the issuance of a certificate of public
        convenience and necessity. As explained above, the Commission set a construction
        deadline as a condition of Corpus Christi’s authorization and may extend that deadline as
        part of its ongoing oversight of the construction of the authorized projects. Furthermore,
        NGA section 1637 provides the Commission with administrative authority to manage
        compliance with our conditions, as is necessary to allow the Commission to oversee
        construction of authorized projects.38

                 While we recognize that environmental policy, environmental conditions, and
         market conditions are subject to change, extension of time proceedings are not an
         invitation to re-open closed proceedings.39 Here, the companies are not asking to change
         the nature of their projects, rather they only request to change the timing of their
         deadlines to complete construction and place the facilities in service.40 Nor have the
         NGO Parties adduced substantial evidence that calls into question the Commission’s
         finding of good cause to grant the extension of time. We continue to find that an
         extension of time proceeding is not an opportunity to revisit the public interest
         determination in the Authorization Order.


                36
                     Id. § 717s.
                37
                     15 U.S.C. § 717o.
                38
                     See Niagara Mohawk Power Corp. v. Federal Power Comm’n, 379 F.2d 153,
         158 (D.C. Cir. 1967) (finding that the Commission’s authority under section 309 of the
         Federal Power Act (FPA) to “perform any and all acts, and to prescribe . . . such orders
         . . . as it may find necessary and appropriate to carry out the provisions of the [Act]” does
         not limit an agency’s action to procedural minutiae, but it can use means of regulation
         that conforms with the purposes and policies of Congress, consistent with the terms of the
         Act); see also Verso Corp. v. FERC, 898 F.3d 1, 10, 11 (D.C. Cir. 2018) (affirming the
         Commission’s exercise of authority to “effectuate” a remedy and explaining that
         “[s]ection 309 permits [the Commission] to advance remedies not expressly provided by
         the FPA, as long as they are consistent with the Act”). Although these cases were
         decided under the FPA, we note that FPA section 309 and NGA section 16 are identical
         and read in pari materia.
                39
                  See, e.g., Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at PP 10, 16 (2022)
         (emphasizing that the Commission will not relitigate whether the Commission properly
         found the project to be in the public convenience and necessity); Algonquin Gas
         Transmission, LLC, 170 FERC ¶ 61,144 at P 40.
                40
                     Extension Order, 179 FERC ¶ 61,087 at P 16.




                                                                                              JA020
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               C.         Additional NEPA Review

                The NGO Parties argue that the Commission erred by approving the extension
         request without evaluating whether the environmental findings in the Authorization Order
         remain valid.41 They assert that granting the extension should be considered a major
         Federal action requiring a renewed NEPA analysis,42 or, in the alternative, be analyzed
         under the NEPA supplementation framework.43 Specifically, the NGO Parties claim that
         supplemental NEPA analysis is required to analyze “new developments regarding climate
         change, endangered species, and impacts on domestic gas prices and supply.”44

                With respect to potential new developments regarding endangered species and
         impacts on domestic gas prices and supply, the Extension Order explained that the
         Commission’s public interest finding remains valid45 and the potential need to re-initiate
         consultation on newly listed species does not trigger the need for a supplemental EIS.46
         Moreover, the NGO Parties fail to provide a detailed explanation of any potential new
         developments regarding endangered species and domestic gas prices and supply and why
         they should trigger a supplemental NEPA analysis.47 The parties are obligated to “set
         forth specifically the ground or grounds upon which” its request for rehearing is
         based.48 Simply making blanket allegations without any analysis or explanation does not
         meet this requirement.



               41
                    Rehearing Request at 8.
               42
                    Id.
               43
                    Id. at 9.
               44
                    Id.
               45
                    Extension Order, 179 FERC ¶ 61,087 at PP 14-16.
               46
                 Id. P 19. Should any future consultation result in proposed measures that might
         have environmental impacts not previously analyzed, consistent with 40 C.F.R. §
         1502.9(d)(1), the Commission will determine whether it should supplement its
         environmental review.
               47
                    See Rehearing Request at 9.
               48
                  15 U.S.C. § 717r(a). See also Constellation Energy Commodities Grp., Inc. v.
         FERC, 457 F.3d 14, 22 (D.C. Cir. 2006) (“Each quoted passage states a conclusion;
         neither makes an argument. Parties are required to present their arguments to the
         Commission in such a way that the Commission knows ‘specifically . . . the ground on



                                                                                            JA021
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                 The NGO Parties focus on potential new information related to climate change as
         a trigger for supplemental NEPA analysis, including “federal re-adoption of a modeling
         tool, the social cost of carbon protocol, and announcement of federal greenhouse gas
         emission reduction targets.”49 However, the NGO Parties do not demonstrate that this
         new information is sufficient to trigger a supplemental NEPA analysis.

                  The Council on Environmental Quality’s regulations implementing NEPA provide
         that agencies “[s]hall prepare supplements to either draft or final environmental impact
         statements if a major Federal action remains to occur, and: (i) [t]he agency makes
         substantial changes to the proposed action that are relevant to environmental concerns; or
         (ii) [t]here are significant new circumstances or information relevant to environmental
         concerns and bearing on the proposed action or its impacts.”50 Here, neither factor for
         preparation of a supplemental NEPA analysis has been triggered.

                Approval of a request for extension of time is an administrative action and is not
         considered to be a major Federal action significantly affecting the quality of the human
         environment.51 Granting a request for an extension of time to complete an approved
         action does not constitute the substantial changes to the proposed action envisioned in the
         NEPA regulations nor does it constitute a new approval of the specific project in
         question.52

                 Further, a supplemental EIS is required where there is new information that “is
         sufficient to show that the remaining action will ‘affec[t] the quality of the human
         environment’ in a significant manner or to a significant extent not already considered.”53
         The alleged new information raised by the NGO Parties does not demonstrate any change
         to the proposed action or its impact on the environment.54 Rather, they rely on changes to



         which rehearing [i]s being sought’”).
                49
                     Rehearing Request at 10.
                50
                     40 C.F.R. § 1502.9(d)(1) (2021).
                51
                     Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at P 23.
                52
                     Id.
                53
                  Marsh v. Or. Nat. Res. Council, 49 U.S. 360, 375 (1987) (quoting 40 C.F.R. §
         1508.27 (1987)).
                54
                  NGO Parties cite to statements by the Corpus Christi regarding an intent to
         incorporate carbon capture and sequestration into the project. Rehearing Request at 10.
         However, as the companies have not submitted this information officially to the



                                                                                            JA022
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       USCA Case #22-1235         Document #1992104             Filed: 03/28/2023     Page 28 of 148
         Docket Nos. CP18-512-002 and CP18-513-002                                             - 10 -

        the analytical tools the Commission may use to analyze impacts. The NGO Parties
        discuss only the availability of these new tools, but do not specify any change to the
        actual impact of the project. The existence of new tools in of itself does not trigger a
        need for additional analysis.

                 The extension of time request does not include any change to the particulars of the
         project. In addition, the NGO Parties have not presented evidence to show that the
         environmental effects of the project have changed materially since the Commission
         authorized the project.55 As explained in the Extension Order, we will not relitigate our
         prior findings here.56

         The Commission orders:

               In response to the request for rehearing filed by Public Citizen and Sierra Club, the
        Extension Order is hereby modified and the result sustained, as discussed in the body of
        this order.

        By the Commission. Commissioner Danly is concurring with a separate statement
                           attached.

        (SEAL)




                                                       Debbie-Anne A. Reese,
                                                         Deputy Secretary.


         Commission, it is unduly speculative.
                55
                   See Const. Pipeline Co., LLC, 165 FERC ¶ 61,081 at P 17 (“New information
         must be sufficient to show that the remaining federal action will affect the environment in
         a significant manner or to a significant extent not already considered.”).
                56
                   See Columbia Gas Transmission, LLC, 172 FERC ¶ 61,162, at P 17
         (2020) (finding that argument in a proceeding on an extension of time request that the
         Commission’s NEPA document erred by not calculating the social cost of carbon was an
         impermissible collateral attack on the certificate order authorizing the project);
         Adelphia Gateway, LLC, 178 FERC ¶ 61,030 at P 16 (finding in order addressing request
         for extension of time to complete construction that commenters’ arguments that the
         Commission did not properly account for public safety, air pollution levels, and public
         need for the project, were an improper collateral attack on the certificate order).



                                                                                             JA023
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Corpus Christi Liquefaction Stage III, LLC                   Docket Nos. CP18-512-002
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                      CP18-513-002


                                          (Issued October 14, 2022)

         DANLY, Commissioner, concurring:

                 I write separately to commend to the readers’ attention my separate statement
         issued with the underlying order.1 I have only one point I would like to raise with regard
         to this rehearing order: even though the Commission’s practice of establishing project
         deadlines in authorization orders is in order to “diminish[] the potential that the public
         interest might be compromised by significant changes occurring between issuance of the
         certificate and commencement of the project,”2 our inquiry when reviewing a request for
         an extension of time is narrow—it is not an opportunity to revisit the determinations
         made after orders have become final and unappealable.3 As today’s order recognizes,



                1
                 See Corpus Christi Liquefaction Stage III, LLC, 179 FERC ¶ 61,087 (2022)
         (Danly, Comm’r, concurring).
                2
                    Altamont Gas Transmission Co., 75 FERC ¶ 61,348, at 62,103 (1996).
                3
                  See Corpus Christi Liquefaction Stage III, LLC, 179 FERC ¶ 61,087 at P 15
         (“extension of time proceedings are not an invitation to re-open the dockets”) (citations
         omitted); see also Nat’l Fuel Gas Supply Corp., 179 FERC ¶ 61,226, at P 20 (2022)
         (“Rule 716 does not provide the Commission with additional authority to reopen the
         record underlying the Certificate Order here, where a final, non-appealable order has
         issued.”) (citations omitted); id. (Danly, Comm’r, concurring at P 5) (“Circumstances, no
         matter how extraordinary, cannot themselves grant jurisdiction where Congress has
         conferred no power. In the absence of authority provided by Congress, the Commission
         simply cannot revisit its public convenience and necessity determinations once a
         certificate order becomes final and unappealable.”).




                                                                                            JA024
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         Docket Nos. CP18-512-002 and CP18-513-002                                           -2-

         “extension of time proceedings are not an invitation to re-open closed proceedings.”4 To
         the extent to which today’s order includes any statements that suggest otherwise, I
         disagree.5 The question we ask in extension of time proceedings is whether there is good
         cause to grant the extension—and indeed, in this case, there was.


               For these reasons, I respectfully concur.


         ________________________
         James P. Danly
         Commissioner




               4
                  Corpus Christi Liquefaction Stage III, LLC, 181 FERC ¶ 61,033, at P 15 (2022)
         (citations omitted).
               5
                 See, e.g., id. P 11 (“the Commission sets deadlines, in part, because the
         information supporting our public convenience and necessity determinations can go stale
         with the passage of time.”) (citation omitted).



                                                                                          JA025
Document Accession #: 20211207-5161                            Filed Date: 12/07/2021
           USCA Case #22-1235                 Document #1992104                        Filed: 03/28/2023             Page 31 of 148




      December 7, 2021


     Ms. Kimberly D. Bose, Secretary
     Federal Energy Regulatory Commission
     888 First Street, N.E.
     Washington, D.C. 20426

     Re:        Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC and Cheniere
                Corpus Christi Pipeline, L.P.
                Docket Nos. CP18-512-000 and CP18-513-000
                Request for Extension of Time

     On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an Order
     Granting Authorization Under Sections 3 and 7 of the Natural Gas Act (“November 2019 Order”) granting the
     necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
     Project (“Stage 3 Project”). 1 As described in the November 2019 Order, Corpus Christi Liquefaction Stage III,
     LLC (“CCL Stage III”) and Corpus Christi Liquefaction, LLC (“CCL”) are authorized to site, construct and
     operate seven midscale liquefaction trains with a maximum total production capacity of 11.45 million metric tons
     per annum (“MTPA”) and one full containment liquefied natural gas (“LNG”) storage tank (collectively, the
     “Stage 3 LNG Facilities”); and Cheniere Corpus Christi Pipeline, L.P. (“CCPL”) is authorized to construct and
     operate an associated 21-mile-long 42-inch-diameter pipeline and appurtenant facilities (the “Stage 3 Pipeline”).

     On January 10, 2020, CCL Stage III received FERC approval to proceed with early works within the Stage 3
     Project site, which included: pile testing activities, soil stabilization tests, and testing of dewatering techniques.2
     On February 14, 2020, CCL Stage III received FERC approval to proceed with improvements to the existing
     interior roads within the authorized Stage 3 Project site. 3 These early works commenced shortly after the
     approvals were granted by FERC and then were suspended in March 2020. Additionally, on January 17, 2020,
     FERC granted CCPL’s request to proceed with construction of Unit No. 1 at the Sinton Compression Station,
     which CCPL proposed to construct and operate independently from, and in advance of construction of, the
     remaining Stage 3 Project facilities. 4 In that regard, on December 18, 2020, the Commission authorized CCPL to
     place Unit 1 in service. 5 Construction on the remainder of the Stage 3 Pipeline facilities has not yet commenced.

      The onset and duration of the COVID-19 pandemic resulted in adverse economic and logistical conditions that
      slowed commercial progress and precluded CCL Stage III from making a timely Final Investment Decision
      (“FID”) on the Stage 3 Project in order to meet the current permitted construction duration. This delay in full
      commercialization has resulted in the need for additional time to construct and place the Stage 3 Project in



      1`    Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC and Cheniere Corpus Christi Pipeline, L.P., 169 FERC
            ¶ 61,135 (2019).
      2     Corpus Christi Liquefaction Stage III, LLC, Letter Order Granting Authorization to Proceed with Early Works, Docket No. CP18-512-
            000 (January 10, 2020).
      3     Corpus Christi Liquefaction Stage III, LLC, Letter Order Granting Authorization to Proceed with Road Improvements for Early
            Works, Docket No. CP18-512-000 (February 14, 2020).
      4     Cheniere Corpus Christi Pipeline, L.P, Letter Order Granting Authorization to Proceed with Construction of Sinton Compression Unit
            No. 1, Docket No. CP18-513-000 (January 17, 2020).
      5     Cheniere Corpus Christi Pipeline, L.P, Letter Order Granting Authorization to Commence Service, Docket No. CP18-513-000
            (December 18, 2020).

                                                                                                                              JA026
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          USCA Case #22-1235                 Document #1992104                   Filed: 03/28/2023            Page 32 of 148
      service. The Commission has recognized these challenges in granting similar extensions of time to other LNG
      projects. 6

      While the COVID-19 pandemic caused significant impact to global markets last year, global LNG demand and
      long-term contracting activity have experienced significant growth in 2021. During the last 12 months alone,
      Cheniere Energy, Inc. and its affiliates have signed approximately 6 MTPA of long-term contracts, which,
      alongside long-term contracts previously signed, means that commercialization for the Stage 3 Project is close to
      completion. The strong global LNG market continues to drive commercial momentum, and CCL Stage III
      anticipates imminently restarting early construction activities at the Stage 3 Project site and making a positive FID
      during 2022. A revised construction schedule for the Stage 3 Project is provided in Attachment 1.

      Full construction of the Stage 3 LNG Facilities would commence upon making a positive FID. Based on a June
      2022 (approximate) FID and a 60-month construction duration (which is equivalent to the construction duration
      authorized in the November 2019 Order), the Stage 3 Project would be made available for service by June 2027.

      Under Ordering Paragraphs (B) and (D)(1) of the November 2019 Order, the Stage 3 Project facilities are to be
      constructed and made available for service within five years of the date of the Order. For the reasons described
      herein, pursuant to Sections 157.20(b) and 385.2008 of the Commission’s regulations, CCL Stage III, CCL and
      CCPL respectfully request an extension of time until June 30, 2027, to complete construction and make the Stage
      3 Project available for service. 7

     FERC’s expeditious approval is integral to maintaining CCL Stage III’s project schedule and path to a positive
     FID, which includes numerous elements such as engineering, construction planning, procurement, commercial
     activity and financing. To this end, CCL Stage III, CCL and CCPL request FERC’s approval by March 30, 2022.

     Should you have any questions about this filing, please feel free to contact the undersigned at (713) 375-5000.

      Respectfully submitted,

      /s/ Akayla Broussard

     Akayla Broussard
     Corpus Christi Liquefaction Stage III, LLC
     Corpus Christi Liquefaction, LLC
     Cheniere Corpus Christi Pipeline, L.P.

     Attachments:        Attachment 1 – Estimated Construction Schedule

     cc:       Mr. Steven Kusy – Federal Energy Regulatory Commission
               Ms. Nancy Fox-Fernandez – Federal Energy Regulatory Commission
               Ms. Janna Romaine Chesno – Cheniere Energy, Inc.
               Ms. Lisa Tonery – Orrick




      6    Magnolia LNG, LLC & Kinder Morgan Louisiana Pipeline LLC, Letter Order Granting Request for Extension of Time, FERC Docket
           Nos. CP14-347-000, CP19-19-000, & CP14-511-000 (October 7, 2020); Cameron LNG, LLC, Letter Order Granting Extension of
           Time, FERC Docket No. CP15-560-000 (March 25, 2020); Freeport LNG Development, L.P. & FLNG Liquefaction 4, LLC, Letter
           Order Granting Extension of Time, FERC Docket No. CP17-470-000 (September 10, 2020).
      7    18 C.F.R. §157.20(b) and §385.2008 (2020).

                                                                                                                      JA027
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           Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC and
                               Cheniere Corpus Christi Pipeline, L.P.

                            Corpus Christi Liquefaction Stage 3 Project

                           Docket Nos. CP18-512-000 and CP18-513-000


                               Submitted to FERC December 7, 2021


                                         ATTACHMENT 1

                              Estimated Construction Schedule




                                                                                      JA028
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                                                                                                      JA029
                                                    ATTACHMENT 1
                                           ESTIMATED CONSTRUCTION SCHEDULE
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                                                   Certificate of Service

     I hereby certify that I have this day served the foregoing document upon each person designated on the official
     service list compiled by the Secretary in this proceeding.

     Dated at Houston, Texas this 7th day of December, 2021.

      /s/ Akayla Broussard

     Akayla Broussard
     Corpus Christi Liquefaction Stage III, LLC
     Corpus Christi Liquefaction, LLC
     Cheniere Corpus Christi Pipeline, L.P.




                                                                                                       JA030
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                                         UNITED STATES OF AMERICA
                                          DEPARTMENT OF ENERGY
                                  FEDERAL ENERGY REGULATORY COMMISSION

         IN THE MATTER OF                           )
                                                    )
         Corpus Christi Liquefaction Stage III, LLC )                 Docket Nos.   CP18-512-000
         Corpus Christi Liquefaction, LLC           )
                                                    )
         Cheniere Corpus Christi Pipeline, LP       )                               CP18-513-000
                                                    )

                         Motion to Intervene and Protest of Public Citizen and Sierra Club

                   On November 22, 2019, FERC approved a request to expand the Corpus Christi LNG
         export terminal and associated pipeline.1 That order required that expanded facilities be fully
         constructed and in service within five years, i.e., no later than November 22, 2024. The
         Applicants represent that constructing the project would in fact take a full five years (60 months);2
         thus, it was clear from the time of authorization that the applicants would need to diligently
         pursue the authorized project to meet the terms of their certificate.
                   Nonetheless, in the two years since authorization, the only activity the Applicants have
         undertaken is minor site preparation.3 Indeed, the Applicants have not even decided whether they
         actually want to proceed with the Stage 3 Project, and they represent that they won’t make that
         final investment decision until the middle of next year.4 The Applicants pending request for an
         extension of the FERC certificate is therefore very different from most extension requests FERC
         has considered, because here, this is not a situation in which the applicants were prevented from
         meeting the construction deadline despite working diligently to do so. Instead, the Applicants here
         are reconsidering fundamental questions of whether the market supports these projects, and


         1
          Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC, and Cheniere
         Corpus Christi Pipeline, LP, 169 FERC ¶ 61,135 (Nov. 22, 2019).
         2
             Request for Extension of Time at 2 (Dec. 7, 2021).
         3
             Id.
         4
             Id.

         Public Citizen and Sierra Club Intervention and Protest of
         Request for Extension of Time in CP18-512, CP18-513                                              Page 1

                                                                                                        JA031
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                   Chestnut Ridge explained that an applicant failed to show “good faith efforts” to complete
         a project where the applicant “set its certificate on a shelf and let it lie dormant,” rather than being
         “actively engaged in preparations in anticipation of commencing construction.”22 In Chestnut
         Ridge, the applicant had not commenced construction based on the apparent determination that
         the “project was not financially viable under current conditions.”23 FERC concluded that a
         voluntary decision not to proceed with construction based on “market-related” setbacks was
         fundamentally different than other types of setbacks, such as firm barriers to construction.24
         Accordingly, FERC concluded that the applicant had failed to show good cause, denied the
         request for an extension, and vacated the underlying certificate without prejudice.25
                   In contrast with Chestnut Ridge, in modern cases where FERC has found good cause, the
         applicant was actively working to complete the project, but outside forces prevented the applicant
         from doing so. Frequently, the barrier to construction was permit that had been denied or withheld
         by another agency despite the applicant’s diligent efforts.26 FERC has also stated that good cause
         may exist when there are “unforeseeable circumstances, such as difficulties in obtaining deliveries
         of needed materials or the discovery of cultural remains on an approved right-of-way.”27 The
         thread uniting these circumstances is that the applicant could not proceed, not that the applicant
         merely chose not to do so.
                   This case is clearly more like Chestnut Ridge than Constitution Pipeline or other cases in
         which FERC found good cause for an extension. We recognize that the COVID-19 pandemic may
         have made it difficult for the projects to proceed with construction, at least for some period of
         time, due to worker safety, supply chain, and other practical issues. But as the applicants admit,
         they didn’t even try to move forward with the project due to other, market-driven reasons.28 The


         22
              Id. P18.
         23
              Id. P11.
         24
              Id. P13.
         25
              Id. P26.
         26
              Constitution Pipeline Co., 165 FERC ¶ 61,081 P14, id. at P9 n.32 (collecting FERC decisions).
         27
              Arlington Storage Co., 155 FERC ¶ 61,165 P8.
         28
           Because the applicants didn’t even try to proceed, there is nothing to indicate that workforce
         availability, supply chain issues, etc., would have in and of themselves caused a delay, or that
         Public Citizen and Sierra Club Intervention and Protest of
         Request for Extension of Time in CP18-512, CP18-513                                               Page 9

                                                                                                        JA032
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         applicants still have not made a final investment decision, and do not expect to do so for at least
         another six months.29 This is precisely the kind of voluntary, market-driven delay that FERC
         found insufficient to support good cause in Chestnut Ridge. And while the applicants cite three
         recent FERC letter orders that approved extension requests on similar grounds,30 none of those
         extension requests were contested; in each the decision was made in a letter order pursuant to
         delegated authority, rather than by the full commission; and none of the letter orders articulated
         any findings, provided a basis for distinguishing those cases from Chestnut Ridge, or addressed
         the differences between the facts presented in those cases and the involuntary barriers found to
         constitute good cause in Constitution Pipeline or other FERC orders. Accordingly, these three
         letter orders are neither precedential nor persuasive.
                   There are sound policy reasons for FERC to continue to require good cause, independent
         of questions of stale findings, in evaluating extension requests. As recognized in Chestnut Ridge,
         allowing certificate holders to leave certificates “on a shelf” risks permitting anticompetitive
         behavior that “introduce[s] or perpetuate[s] market inefficiencies.”31 Pertinent to Public Citizen
         and Sierra Club’s interests, allowing LNG export authorization holders to sit on dormant projects
         prevents FERC, the Department of Energy, and others from properly assessing the cumulative
         impact of already-approved projects when evaluating future proposals. And these impacts can be
         severe. As FERC has recognized, LNG exports are presently the “primar[y]” source of demand
         that is driving large increases in U.S. gas prices,32 increases which have led the Energy
         Information Administration to predict that Americans will pay at least 30% more on home heating



         such a delay would have lasted more than a few months, rather than the two years of delay that
         have passed while the applicants reviewed changing market conditions.
         29
              Request for extension at 2.
         30
              Request for extension at 2 n.6.
         31
              139 FERC ¶ 61,149 PP9, 18.
         32
            FERC, Winter Energy Market and Reliability Assessment (Oct. 21, 2021) at 2, available at
         https://ferc.gov/sites/default/files/2021-10/Winter%20Assessment%202021-2022%20-
         %20Report.pdf and attached; accord id. at 11. See also Clark Williams-Derry, IEEFA U.S.:
         Booming U.S. natural gas exports fuel high prices, IEEFA.ORG (Nov. 4, 2021),
         https://ieefa.org/ieefa-u-s-declining-demand-lower-supply-dont-explain-rapidly-rising-gas-prices/
         and attached.

         Public Citizen and Sierra Club Intervention and Protest of
         Request for Extension of Time in CP18-512, CP18-513                                            Page 10

                                                                                                      JA033
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      February 18, 2022

     Ms. Kimberly D. Bose, Secretary
     Federal Energy Regulatory Commission
     888 First Street, N.E.
     Washington, D.C. 20426


     Re:      Corpus Christi Liquefaction Stage III, LLC
              Docket No. CP18-512-000
              Monthly Construction Report for January 2022


      Dear Ms. Bose:

      On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an Order
      Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
      necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
      Project (“Project”).
      Pursuant to Condition 9 of the Order, Corpus Christi Liquefaction Stage III, LLC is herein submitting its monthly
      construction progress report for the period January 2022.
      Should you have any questions about this filing, please feel free to contact the undersigned at (713) 375-5000.

      Thank you,

      /s/ Akayla Broussard

     Akayla Broussard
     Environmental and Regulatory Projects
     Corpus Christi Liquefaction Stage III, LLC

      cc:     Ms. Nancy Fox-Fernandez – Federal Energy Regulatory Commission
              Mr. Steven Kusy – Federal Energy Regulatory Commission
              Ms. Janna Romaine Chesno – Cheniere Energy, Inc.
              Ms. Lisa Tonery – Orrick, Herrington & Sutcliffe, LLP




                                                                                                            JA034
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                            CORPUS CHRISTI LIQUEFACTION STAGE 3 PROJECT

                                          Corpus Christi, Texas




                                       MONTHLY PROGRESS REPORT
                                             JANUARY 2022
                                      FERC DOCKET NO. CP18-512-000




                                                                                           JA035
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        USCA Case #22-1235      Corpus Christi
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                                          #1992104                III, LLC
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                                 January 2022 Monthly Progress Report




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          3.0    Environmental, Safety, and Health Progress .................................................................................... 3
          4.0    Schedule ............................................................................................................................................ 3
          5.0    Construction...................................................................................................................................... 4
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                                                                                                                                                          JA036
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                               Document         Liquefaction Stage
                                          #1992104                 III, LLC
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                                  January 2022 Monthly Progress Report



        1.0   Executive Summary

              This report covers activities for the CCL Stage 3 Project during the month of January 2022.

              On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an Order
              Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
              necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
              Project (“Project”). On December 20, 2019, CCL Stage III submitted a request to commence early works
              activities associated with pile testing activities, soil stabilization tests, and testing of dewatering techniques. On
              January 10, 2020, CCL Stage III received FERC authorization to proceed with early works activities within the
              Stage 3 LNG Facilities.


        2.0 Project Highlights
              During the month of January, CCL Stage III’s contractor resumed the early works activities referenced above.
              Soil stabilization, pile load, and wick drain tests are ongoing. CCL Stage III’s contractor also made improvements
              (stabilization) to existing interior roads within the Stage 3 LNG Facilities (supplemental early works activity
              approved by FERC on February 14, 2020.)


        3.0 Environmental, Safety, and Health Progress
              There have been no safety or environmental incidents during this reporting period.



        4.0 Schedule
              A revised construction schedule for the Stage 3 Project is provided in Attachment 1.




                                                                     3

                                                                                                                         JA037
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                               USCA Case #22-1235               Corpus Christi
                                                               Document        Liquefaction Stage
                                                                         #1992104                 III, LLC
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                                                                    January 2022 Monthly Progress Report




                                                                                                                                                          JA038
       5.0 Construction
                  Area                      Construction Activities in January                                       Planned Work for February
         Liquefaction Trains             Resumed early works testing activities (soil                   Commence soil stabilization at test pile pad.
         Area                             stabilization, pile load and wick drain testing.)
         LNG Tank                 None.                                                           None.
         Access Roads                    Resumed stabilization of interior roads.                       Continue stabilization of interior roads.
         Other                    None.                                                           None.
                                                                                              4
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                                 January 2022 Monthly Progress Report




           6.0 Permitting and Environmental
            No updates to any environmental permits or the Emergency Response Plan for project construction were made
            during the January reporting period.



                Summary of Problems, Non-Compliances, and Corrective Actions
   Date                      Description


   None.

            Non-Compliance and Corrective Actions:
               •  No non-compliance issues were observed this reporting period.

                Agency Contacts/Inspections
   Agency            Name                           Date                     Location/Activity


  None.




                                                                  5

                                                                                                                 JA039
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           Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC and
                               Cheniere Corpus Christi Pipeline, L.P.

                            Corpus Christi Liquefaction Stage 3 Project

                           Docket Nos. CP18-512-000 and CP18-513-000


                               Submitted to FERC February 18, 2022


                                         ATTACHMENT 1

                                Revised Construction Schedule




                                                                                      JA040
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                                     USCA Case #22-1235  DocumentATTACHMENT
                                                                  #1992104  1 Filed: 03/28/2023                                               Page 46 of 148
                                                        REVISED CONSTRUCTION SCHEDULE




                                                                                                                                                                                                JA041
          Stage 3 Project Schedule Estimate             2022                    2023                    2024                    2025                    2026                    2027
          Month                               J F M A M J J A S O N D J F M A M J J A S O N D J F M A M J J A S O N D J F M A M J J A S O N D J F M A M J J A S O N D J F M A M J J A S O N D
          Early Construction Works
          Final Investment Decision
          Full Construction Trains 1-7
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                                                   Certificate of Service

      I hereby certify that I have this day served the foregoing document upon each person designated on the official
      service list compiled by the Secretary in this proceeding.

      Dated at Houston, Texas this 18th day of February 2022.

      /s/ Akayla Broussard

      Akayla Broussard
      Corpus Christi Liquefaction Stage III, LLC




                                                                                                        JA042
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                            FEDERAL ENERGY REGULATORY COMMISSION
                                       WASHINGTON, D.C. 20426


        OFFICE OF ENERGY PROJECTS
                                                              Reply Refer To:
                                                              OEP/DG2E/Gas Branch 2
                                                              Corpus Christi Liquefaction Stage III, LLC
                                                              Docket No. CP18-512-000
        March 9, 2022

        VIA FERC Service

        Akayla Broussard
        Cheniere Energy, Inc.
        7000 Milam Street, Suite 800
        Houston, TX 77002

         RE:   Authorization to Proceed with Additional Early Works

         Dear Ms. Broussard:

                I grant your March 2, 2022 request, and supplemented on March 8, 2022, for
         Corpus Christi Liquefaction Stage III, LLC (CCL Stage III) to proceed with additional
         early works within the Corpus Christi Liquefaction Project (Stage 3) facilities, including
         one additional test area and temporary drainage works. In considering this authorization,
         we have reviewed CCL Stage III’s Implementation Plan and supplemental filings.

                These filings included the information necessary to meet the conditions of the
        Federal Energy Regulatory Commission’s November 22, 2019 Order Granting
        Authorization Under Sections 3 and 7 of the Natural Gas Act (Order) to CCL Stage III, in
        the above- referenced docket. We have confirmed the receipt of all federal authorizations
        relevant to the approved activities herein. Site preparation and construction of other Stage
        3 facilities are not authorized at this time. Additional authorizations will be released once
        CCL Stage III has demonstrated full compliance with the conditions of the Order.

               I remind you that CCL Stage III must comply with all applicable remaining terms
        and conditions of the Order. If you have any questions regarding this approval, please
        contact Nancy Fox-Fernandez, at (202) 502-8559.
                                                   CREATE A HANDWRITTEN ELECTRONIC SIGNATURE

                                                                 Sincerely,


                                                                 A. Eric Howard, Chief
                                                                 Gas Branch 2
                                                SIGNER
                                                • PRINT this page

                                                                 Division of Gas – Environment and
                                                • FIND a fine-tipped black marker or pen that writes thick, solid, and dark (a
                                                   regular pen is not thick and dark enough)
                                                • PLACE a piece of paper over this page so you can see the box underneath
                                                                    Engineering
                                                • SIGN your name completely within the box
                                                • REPEAT/PRACTICE until you have a nice, clean, dark signature completely
                                                   within the box
                                                • IDENTIFY which signature is the 'good' one on the page (draw an arrow to
                                                   it- but not too close to the signature- defmitely not inside the box)
                                                • DELIVER to the admin staff for your group

                                                ADMIN
                                                                                                                                  JA043
                                                • SCAN each signed page separately- if given the choice choose .pdf file format
                                                (directions for using the copy machines to scan can be found here: Use Copy
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      March 31, 2022


      Ms. Kimberly D. Bose, Secretary
      Federal Energy Regulatory Commission
      888 First Street, N.E.
      Washington, D.C. 20426

      Re:     Corpus Christi Liquefaction Stage III, LLC
              Docket No. CP18-512-000
              Implementation Plan-B and Request for Authorization to Commence Site Preparation Activities – Soil
              Stabilization and Associated Activities

      On November 22, 2019, the Federal Energy Regulatory Commission (“FERC”) issued an Order Issuing Authority
      Under Section 3 and Section 7(c) of the Natural Gas Act granting Corpus Christi Liquefaction Stage III, LLC (“CCL
      Stage III”) the necessary authorization for construction and operation of an expansion of the Corpus Christi
      Liquefaction Project (“Stage 3 Project”). CCL Stage III received FERC approval to proceed with early works activities
      within the Stage 3 LNG Facilities on January 10, 2020, February 14, 2020, and March 9, 2022.

     CCL Stage III herein submits Implementation Plan-B to demonstrate compliance with certain conditions set forth in the
     Appendix of the Order. With this submittal, CCL Stage III is requesting authorization to commence the first phase of
     site preparation activities for the Stage 3 Project. Site preparation activities to be performed during this phase will
     include soil stabilization and associated activities within the approved operational area of the Stage 3 LNG Facilities.
     Information related to subsequent elements of site preparation activities will be provided in future filings. In addition to
     soil stabilization activities, CCL Stage III requests authorization to commence utilization of certain authorized
     temporary facilities to support project construction.

     CCL Stage III respectfully requests FERC’s authorization to proceed with the activities described in the attached
     Implementation Plan-B at the earliest date possible, but no later than April 28, 2022.

     Portions of the information submitted in the instant filing includes confidential and/or proprietary design information.
     In accordance with Sections 388.112 of the Commission’s regulations, the Company requests that the information
     submitted be accorded Privileged and Confidential treatment. Accordingly, the material has been marked “CUI//PRIV
     – Privileged & Confidential – Do Not Release”. Questions regarding this request for privileged and confidential
     treatment should be directed to the undersigned.
      Should you have any questions about this filing, please feel free to contact the undersigned at (713) 375-5503.

     Respectfully submitted,

     /s/ Akayla Broussard

     Akayla Broussard
     Environmental and Regulatory Projects
     Corpus Christi Liquefaction Stage III, LLC


     cc:      Mr. Steven Kusy – Federal Energy Regulatory Commission
              Ms. Nancy Fox-Fernandez – Federal Energy Regulatory Commission
                                                                                                                  JA044
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           Mr. John Bugno – Federal Energy Regulatory Commission
           Ms. Janna Romaine Chesno – Cheniere Energy, Inc.
           Ms. Lisa Tonery – Orrick, Herrington & Sutcliffe, LLP




                                                                                            JA045
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                                Corpus Christi Liquefaction Stage III, LLC.


                                                                   Stage 3 Project



                                                     Implementation Plan B –
                          Request to Commence Site Preparation Activities


                                                                    CP18-512-000




                                                                  March 31, 2022




                                                                               JA046
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         INTRODUCTION

         On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an
         Order Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“November 22
         Order”) (“Order”) granting the necessary authorization to Corpus Christi Liquefaction Stage III, LLC (“CCL
         Stage III”) and Cheniere Corpus Christi Pipeline, L.P. (“CCPL”) for the construction and operation of the
         Corpus Christi Liquefaction Stage 3 Project (“Stage 3 Project”). On January 10, 2020 and February 14, 2020
         FERC issued authorization to CCL Stage III to commence early works activities within the Stage 3 LNG
         Facilities. On March 9, 2022, CCL Stage III received FERC authorization to proceed with additional early
         works activities within the Stage 3 LNG Facilities.

        CCL Stage III herein submits Implementation Plan-B to demonstrate compliance with certain conditions set
        forth in the Appendix of the Order. Specifically, CCL Stage III is submitting responses to Conditions 7, 10, 15,
        25, 27 through 35 and 42. With this submittal, CCL Stage III is requesting authorization to commence the first
        phase of site preparation activities for the Stage 3 Project. Site preparation activities to be performed during
        this phase will include soil stabilization and associated activities within the approved operational area of the
        Stage 3 LNG Facilities. Associated activities include clearing and grubbing, dewatering and temporary
        drainage. Access to and from the work area will be via the same route authorized in CCL Stage III’s February
        14, 2020 approval to proceed with improvements to existing interior roads within the authorized Stage 3
        Project operational area. No third-party pipelines will be crossed in association with the proposed work within
        the Stage 3 LNG Facilities area.

        Additionally, with this Implementation Plan, CCL Stage III requests authorization to commence utilization of
        four authorized temporary facilities to support project construction (see compliance statement for Condition 29
        below).

        CCL Stage III respectfully requests FERC’s authorization for Implementation Plan-B no later than April 28,
        2022.




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         Condition No. 7

         Within 60 days of the acceptance of the authorization and before construction begins, Cheniere
         shall file an Implementation Plan with the Secretary for review and written approval by the Director of OEP.
         Cheniere must file revisions to the plan as schedules change. The plan shall identify:

             a. how Cheniere will implement the construction procedures and mitigation measures described in its
                application and supplements (including responses to staff data requests), identified in the EA, and
                required by the Order;
             b. how Cheniere will incorporate these requirements into the contract bid documents, construction
                contracts (especially penalty clauses and specifications), and construction drawings so that the
                mitigation required at each site is clear to onsite construction and inspection personnel;
             c. the number of EIs assigned, and how the company will ensure that sufficient personnel are available
                to implement the environmental mitigation;
             d. company personnel, including EIs and contractors, who will receive copies of the appropriate
                material;
             e. the location and dates of the environmental compliance training and instructions Cheniere will give
                to all personnel involved with construction and restoration (initial and refresher training as the
                Project progresses and personnel change), with the opportunity for OEP staff to participate in the
                training session(s);
             f.   the company personnel (if known) and specific portion of Cheniere’s organization having
                  responsibility for compliance;
             g. the procedures (including use of contract penalties) Cheniere will follow if non-compliance occurs;
                and
             h. for each discrete facility, a Gantt or PERT chart (or similar project scheduling diagram), and dates
                for:
                  (1)       the completion of all required surveys and reports;
                  (2)       the environmental compliance training of onsite personnel;
                  (3)       the start of construction; and
                  (4)       the start and completion of restoration.


         Compliance Statement

         Compliance with elements a through e and g of Condition 7 was documented in CCL Stage III’s December 13,
         2019 filing in association with Implementation Plan-A – General Conditions. This response is specific to
         elements 7.f and 7.h.

             f.         CCL Stage III Project Organization

                  The CCL Stage III field construction office will have the primary responsibility of ensuring that the
                  construction is performed in compliance with all terms and conditions of the contract documents,
                  including compliance with the environmental mitigation measures required by the Order and by the



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                  various federal, state, and local agencies. Overall direction of the Project will be provided from the
                  Houston office. Key personnel are as follows:

                     Title                       Name                                Responsibility
         Field Office Contacts
         Vice President, Project          Tony Eaton             Project management
         Execution
         VP, Project Development and      Patrick Ward           Oversight of engineering
         Engineering

         Senior Director, Project         Jose Dumlao            Oversight of project management
         Execution

         Manager, Construction            Allan Campbell         Management of construction site and interface with
                                                                 Bechtel construction management
         Superintendent, Construction     Jason Walker           Oversees daily operations on the construction site


         Manager, Quality                 Walt King              Management of overall construction performance with
         Assurance/Quality Control                               regard to technical quality and compliance with design
                                                                 and specification requirements
         Environmental Inspector          Richard Guillen        Compliance with environmental conditions

         Health and Safety Inspector      Phillip Armour         Compliance with safety policies

         Houston Office Contacts
         Manager, Environmental and       Joe Moake              Environmental permitting and compliance support and
         Regulatory Projects                                     oversight of environmental inspector
         Manager, Health, Safety and      Seth Washington        Safety oversight and oversight of safety inspectors
         Environmental
         Vice President,                  Rina Chang             Environmental and regulatory oversight
         Environmental, Regulatory
         Projects, and Managing
         Counsel
         Senior Vice President, LNG       David Craft            Overall management and oversight of construction and
         Engineering & Construction                              engineering activities
        Vice President, Corpus Christi    Ari Aziz               Oversight of operating terminal
        Operations and General
        Manager



             h.      Gantt Chart

                  An updated project schedule is included in Attachment 7.h.




                                                                                                              JA049
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         Condition No. 10

         Cheniere must receive written authorization from the Director of OEP before commencing construction of
         any Project facilities. To obtain such authorization, Cheniere must file with the Secretary documentation that
         it has received all applicable authorizations required under federal law (or evidence of waiver thereof).

         Compliance Statement

         A permit table is included in Attachment 10 and provides the status of authorizations required for the Project.




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         Condition No. 15

         Prior to construction of the Stage 3 LNG Facilities, CCL Stage III shall file with the Secretary, for review
         and written approval by the Director of the OEP, groundwater containment and disposal guidelines and
         practices that will be implemented during construction in areas of known groundwater contamination. CCL
         Stage III shall develop the groundwater containment and disposal guidelines and practices in consultation with
         the Texas Commission on Environmental Quality, and its filing shall include documentation of its consultation
         with Texas Commission on Environmental Quality.

        Compliance Statement

         A copy of the management plan for affected groundwater was provided in CCL Stage III’s January 8, 2020
         filing for commencement of early works. CCL Stage III herein provides documentation of its completed
         consultation with Texas Commission on Environmental Quality in Attachment 15.




                                                                                                             JA051
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         Condition No. 25
         Prior to initial site preparation, CCL Stage III shall file with the Secretary a schedule and scope of work for
         a supplemental geotechnical investigation for Trains 5 through 7, remaining portions of Train 4, the LNG tank
         area, and flare areas.

         Compliance Statement

         A draft geotechnical investigation report was provided in CCL Stage III’s December 20, 2019 filing which
         included details regarding the schedule and scope of work. A final geotechnical report in compliance with
         Condition 26 will be filed under separate cover.




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         Condition No. 27

         Prior to construction of final design, CCL Stage III shall file with the Secretary the following information,
         stamped and sealed by the professional engineer-of-record registered in Texas:

             a.   site preparation drawings and specifications;
             b. LNG storage tank and foundation design drawings and calculations;
             c.   LNG terminal structures and foundation design drawings and calculations (including prefabricated and
                  field constructed structures as well as demonstrating the cold box will take all wind loads and that no
                  wind loads will be transmitted from the cold box to the Heavies Removal Scrub Column/Reflux
                  Drum, 01-C-1511/01-V-1511);
             d. seismic specifications for procured equipment prior to issuing requests for quotations; and
             e.   quality control procedures to be used for civil/structural design and construction.


         In addition, CCL Stage III shall file, in its Implementation Plan, the schedule for producing this information.

        Compliance Statement

             a.   Site preparation drawings and specifications for soil stabilization activities are provided in
                  Attachment 27a.
             b. LNG storage tank and foundation design drawings and calculations will be provided in support of
                  future filings related to construction of the LNG storage tank.
             c.   LNG terminal structures and foundation design drawings and calculations will be provided in support
                  of future filings.
             d. Seismic specifications for procured equipment prior to issuing requests for quotations will be provided
                  in support of future filings.
             e.   Quality control procedures to be used for civil/structural design and construction were provided in
                  CCL Stage III’s December 20, 2019 filing.


         Submittal of Attachment 27a is to satisfy a “prior to initial site preparation” condition. Per the November 2019
         Order, written approval from FERC is not required.




                                                                                                                 JA053
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         Condition No. 28

         Prior to initial site preparation, CCL Stage III shall file with the Secretary the upper limit for total settlement
         for large flexible foundations and the maximum total edge settlement at the proposed Project area for the LNG
         tanks that the Controlled Modulus Columns CMC's will be designed to satisfy.

        Compliance Statement

        The upper limit for total settlement for large flexible foundations and the maximum total edge settlement at the
        proposed Project area for the LNG tanks will be provided in support of future filings related to preparation and
        construction of the LNG storage tank.




                                                                                                                  JA054
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         Condition No. 29

         Prior to initial site preparation, CCL Stage III file with the Secretary a detailed analysis that demonstrates
         external loads exerted by vehicular traffic and construction equipment will not exceed the maximum live load
         capability of buried pipelines at or adjacent to the Project. The analysis shall be stamped and sealed by the
         professional engineer-of-record, registered in Texas and shall include the depth of existing buried pipelines and
         evidence that the maximum load shall be higher than plant construction and operation activities require. In
         addition, provide construction and operations procedures to demonstrate that the maximum allowable weight
         will never be exceeded.

         Compliance Statement

         As part of the work requested under Implementation Plan-B, CCL Stage III is proposing to commence
         utilization of the following authorized temporary facilities:

             • Tract 2;

             • Tract 7;

             • Tract 8; and

             • Tract 9

         A figure depicting the locations of the above referenced areas and points of access for which compliance with
         Condition 29 is confirmed is included in Attachment 29A.

         Access to and from Tracts 7 and 8 will not require any crossings of third-party pipelines. Access to Tract 9
         from the Stage 3 LNG Facilities area does not require any crossings of third-party pipelines. Demonstration of
         compliance with Condition 29 in association with access to and from Tract 2 and Tract 9 (from north and south
         sides) is provided in Attachment 29B.

         Submittal of Attachment 29B is to satisfy a “prior to initial site preparation” condition. Per the November
         2019 Order, written approval from FERC is not required.




                                                                                                                JA055
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         Condition No. 30

         Prior to initial site preparation, CCL Stage III shall file an overall Project schedule, which includes the
         proposed stages of the commissioning plan.

        Compliance Statement

         An updated project schedule is included in Attachment 7.h of this Implementation Plan.




                                                                                                          JA056
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         Condition No. 31

         Prior to initial site preparation, CCL Stage III shall file procedures for controlling access during
         construction.

         Compliance Statement

         A Site Security Plan (SSP) for the Stage 3 project was provided in CCL Stage III’s January 14, 2020 filing.




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         Condition No. 32

         Prior to initial site preparation, CCL Stage III shall file quality assurance and quality control procedures for
         construction activities.

        Compliance Statement

         A construction quality plan for the Stage 3 project was provided in CCL Stage III’s December 20, 2019 filing.




                                                                                                               JA058
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         Condition No. 33

         Prior to initial site preparation, CCL Stage III shall file its design wind speed criteria for all other facilities
         not covered by USDOT Pipeline and Hazardous Materials Safety Administration’s Letter of Determination
         PHMSA's LOD to be designed to withstand wind speeds commensurate with the risk and reliability associated
         with the facilities in accordance with American Society of Civil Engineers ASCE 7-16 or equivalent.

         Compliance Statement

         The Stage 3 LNG facilities (structures, components, equipment and systems) were evaluated by the Pipeline
         and Hazardous Materials Safety Administration (“PHMSA”) in accordance with 49 CFR § 193.2067(b)(2).
         The wind design category for the LNG Facility which was submitted to PHMSA on March 5, 2019 was
         inclusive of all relevant facilities for the project and determined in the PHMSA LOD to meet wind speed
         design requirements. There are no “other facilities not covered” by the PHMSA LOD.




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         Condition No. 34

        Prior to initial site preparation, CCL Stage III shall develop an Emergency Response Plan (including
        evacuation) which integrates the CCL Stage III Facilities into the existing plan for the Liquefaction Project and
        coordinate procedures with the Coast Guard; state, county, and local emergency planning groups; fire
        departments; state and local law enforcement; and appropriate federal agencies. This plan shall include at a
        minimum:

            a.   designated contacts with state and local emergency response agencies;
            b. scalable procedures for the prompt notification of appropriate local officials and emergency response
                 agencies based on the level and severity of potential incidents;
            c.   procedures for notifying residents and recreational users within areas of potential hazard;
            d. evacuation routes/methods for residents and public use areas that are within any transient hazard areas
                 along the route of the LNG marine transit;
            e.   locations of permanent sirens and other warning devices; and
            f.   an “emergency coordinator” on each LNG carrier to activate sirens and other warning devices.


        CCL Stage III shall notify the FERC staff of all planning meetings in advance and shall report progress on the
        development of its Emergency Response Plan at 3-month intervals.

        Compliance Statement

        An Emergency Response Plan (“ERP”) for construction of the Stage 3 Project was provided in CCL Stage III’s
        January 14, 2020 filing. No updates have been made to the ERP since the January 14, 2020 filing.




                                                                                                               JA060
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         Condition No. 35

         Prior to initial site preparation, CCL Stage III shall file a Cost-Sharing Plan identifying the mechanisms for
         funding all Project-specific security/emergency management costs that shall be imposed on state and local
         agencies. This comprehensive plan shall include funding mechanisms for the capital costs associated with any
         necessary security/emergency management equipment and personnel base. CCL Stage III shall notify FERC
         staff of all planning meetings in advance and shall report progress on the development of its Cost-Sharing Plan
         at 3-month intervals.

         Compliance Statement

         Demonstration of compliance with Condition 35 was filed by CCL Stage III on December 13, 2019.




                                                                                                              JA061
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         Condition No. 42

         Prior to construction of final design, CCL Stage III shall file a plot plan of the final design showing all major
         equipment, structures, buildings, and impoundment systems.

        Compliance Statement

        CCL Stage III herein provides a plot plan showing all major equipment, structures, buildings, and
        impoundment systems in Attachment 42.




                                                                                                                JA062
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                                                      Certificate of Service

     I hereby certify that I have this day served the foregoing document upon each person designated on the official service
     list compiled by the Secretary in this proceeding.

      Dated at Houston, Texas this 31st day of March, 2022

     /s/ Akayla Broussard

     Akayla Broussard
     Corpus Christi Liquefaction Stage III, LLC




                                                                                                              JA063
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                          Corpus Christi Liquefaction Stage III, LLC
                                      Stage 3 Project

                                  Docket No. CP18-512-000

                                 Implementation Plan B
                    (Request to Commence Site Preparation Activities)

                             Submitted to FERC March 31, 2022


                                      ATTACHMENT 7.h




                                                                                JA064
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                                                                                                                    Project Schedule




                                                                                                                                                                                                                                                JA065
                      Task Name                            2022                                2023                             2024                           2025                           2026                           2027
                                               J   F M A M J J      A S O N D      J   F M A M J J      A S O N D   J   F M A M J J    A S O N D   J   F M A M J J    A S O N D   J   F M A M J J    A S O N D   J   F M A M J J    A S O N D
      Moblization                             
      Full Construction Trains 1-7
      Commissioning Trains 1-7
      Notes:
      1) Early Works mobilization occurred in January 2020.
      2) Environmental compliance training commenced in association with early works activities in January 2020.
      The compliance training program continues throughout the duration of construction.
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                          Corpus Christi Liquefaction Stage III, LLC
                                      Stage 3 Project

                                  Docket No. CP18-512-000

                                 Implementation Plan B
                    (Request to Commence Site Preparation Activities)

                             Submitted to FERC March 31, 2022


                                      ATTACHMENT 10




                                                                                JA066
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       Agency and Agency
                                      Permit/Approval/Consultation                 Issuance                  Comments
            Contact

      Federal Energy             Sections 3 and 7 Application – Natural      November 22, 2019         Expiration date is November
      Regulatory Commission      Gas Act FERC Docket Nos. CP18-512-                                    2024. Request for extension
                                 000 & CP18-513-000                                                    filed December 7, 2021.


      Federal Energy             Authorization to Proceed with Early Works     January 10, 2020        Authorization to proceed with
      Regulatory Commission                                                                            early works within the Stage3
                                                                                                       LNG Facilities including: pile
                                                                                                       testing activities, soil
                                                                                                       stabilization tests, andtesting
                                                                                                       of dewatering techniques.




      Federal Energy             Authorization to Proceed with                 January 17, 2020        Authorization granted toCCPL
      Regulatory Commission      Construction of Sinton Compressor Unit                                to proceed with construction of
                                 No. 1                                                                 Unit No.1 at the Sinton
                                                                                                       Compressor Station.

      Federal Energy             Authorization to Proceed with Road           February 14, 2020        Authorization to proceed with
      Regulatory Commission      Improvements for Early Works                                          road improvements to the
                                                                                                       existing interior roads within
                                                                                                       temporary workspace
                                                                                                       previously reviewed and
                                                                                                       approvedin association with
                                                                                                       the CCL Project (CP12- 507-
                                                                                                       000).



      Federal Energy             Authorization to Commence In-service        December 18, 2020         Authorization granted toCCPL
      Regulatory Commission                                                                            to place into service the Unit 1
                                                                                                       expansion at the existing
                                                                                                       Sinton Compressor Station.



      Federal Energy             Authorization to Proceed with                  March 9, 2022         Authorization to proceed with
      Regulatory                 Expanded Early Works Scope                                           additional test pad and temporary
      Commission                                                                                      construction drainage within the
                                                                                                      Stage 3 LNG Facilities.

      U.S. Fish & Wildlife       Section 7 Endangered Species Act             November 20, 2019
      Service                    Consultation/Clearance;
                                 Migratory Bird Consultation;
                                 Fish and Wildlife Coordination Act
      Texas Parks and Wildlife   State Threatened and Endangered Species     September 24, 2018
      Department

      NOAA Fisheries             Essential Fish Habitat;                       May 28, 2015 for
                                 Endangered Species Act Aquatic              Essential Fish Habitat
                                 Threatened and Endangered Species;
                                 Marine Mammal Protection Act;
                                 Fish and Wildlife Coordination Act

                                                                              August 8, 2019 for
                                 NMFS Consultation                           Endangered Species
                                                                                     Act




                                                                                                                    JA067
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          Agency and Agency
                                       Permit/Approval/Consultation                   Issuance                   Comments
               Contact

         USCG                     Waterway Suitability Assessment                  August 15, 2018

                                                                                 To be obtained prior
                                  Hydrostatic Test Water Discharge
         EPA                                                                         to discharge
         U.S. Department of       Natural Gas Act, Section 3 Application for    November 9, 2018 for
         Energy                   Authorization to Export LNG                   FTA nations; February
                                                                                10, 2020 for non-FTA
                                                                                 nations. October 21,
                                                                                  2020 extension for
                                                                                   FTA and non-FTA
                                                                                  through December
                                                                                        2050.
         Federal Aviation         Determination of No Hazard to Air                 March 8, 2019         Updated determinations
         Administration           Navigation (14 CFR Part 77)                                             received from FAA March
                                                                                                          18, 2022.
                                  Water Quality Certification under Section         June 29, 2018
                                  401
         Railroad Commission of   Hydrostatic Test Water Discharge Permit       To be obtained prior to
         Texas                                                                        discharge
                                  Coastal Management Plan Consistency             June 29, 2018           Stage 3 Pipeline
                                  Determination


                                  Stage 3 LNG Facilities Prevention of             June 28, 2019.         Per the EOT, new “start by
                                  Significant Deterioration Permit               September 22, 2020       date” for construction is
                                  Amendment                                       extension of time.      June 28, 2022.

         TCEQ                     Stage 3 LNG Facilities Greenhouse Gas            June 28, 2019.         Per the EOT, new “start by
                                  (“GHG”) Permit                                 September 22, 2020       date” for construction is
                                                                                  extension of time.      June 28, 2022.
                                  Stage 3 LNG Facilities Title V Permit            Anticipated 2022
                                  Sinton Compressor Station (minor permit)         August 24, 2018
         TGLO                     Coastal Management Plan Consistency             January 23, 2019        Stage 3 LNG Facilities
                                  Determination
         Texas Historical         Section 106 National Historic Preservation     November 14, 2017          Concurrence for minor
         Commission               Act Consultation, Clearance                                               pipeline workspaces to
                                                                                                              be obtained prior to
                                                                                                                  construction.




                                                                                                                   JA068
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                          Corpus Christi Liquefaction Stage III, LLC
                                      Stage 3 Project

                                  Docket No. CP18-512-000

                                 Implementation Plan B
                    (Request to Commence Site Preparation Activities)

                             Submitted to FERC March 31, 2022


                                      ATTACHMENT 29A




                                                                                JA069
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                                                                                                    JA070
Document Accession #: 20220428-3065          Filed Date: 04/28/2022
       USCA Case #22-1235  Document #1992104    Filed: 03/28/2023                                       Page 76 of 148
                     FEDERAL ENERGY REGULATORY COMMISSION
                                      WASHINGTON, D.C. 20426


        OFFICE OF ENERGY PROJECTS
                                                             Reply Refer To:
                                                             OEP/DG2E/Gas Branch 2
                                                             Corpus Christi Liquefaction Stage III, LLC
                                                             Docket No. CP18-512-000

        April 28, 2022

        VIA FERC Service

        Akayla Broussard
        Environmental and Regulatory Projects
        Corpus Christi Liquefaction Stage III, LLC
        Cheniere Energy, Inc.
        700 Milam Street, Suite 1900
        Houston, TX 77002

         RE:   Authorization to Proceed with Soil Stabilization and Associated Activities

         Dear Ms. Broussard:

               I grant your March 31, 2022 request, as supplemented on April 5, 13, 20, 22, 26,
        and 27, 2022, for Corpus Christi Liquefaction Stage III, LLC (CCL) to proceed with site
        preparation activities described in Implementation Plan B at the Corpus Christi
        Liquefaction Stage 3 Project.

               These filings included the information necessary to meet the conditions of the
        Federal Energy Regulatory Commission’s November 22, 2019 Order Granting
        Authorization Under Sections 3 and 7 of the Natural Gas Act (Order) to CCL, in the
        above- referenced docket. We have confirmed the receipt of all federal authorizations
        relevant to the approved activities herein.

               I remind you that CCL must comply with all applicable remaining terms and
        conditions of the Order. If you have any questions regarding this approval, please contact
        Nancy Fox-Fernandez at (202) 502-8559 or John E. Bugno II at (202) 502-8605.
                                                 CREATE A HANDWRITTEN ELECTRONIC SIGNATURE

                                                             Sincerely,



                                                             A. Eric Howard, Chief
                                              SIGNER
                                                             Gas Branch 2
                                              • PRINT this page
                                                             Division of Gas – Environment and
                                              • FIND a fine-tipped black marker or pen that writes thick, solid, and dark (a

                                                               Engineering
                                                 regular pen is not thick and dark enough)
                                              • PLACE a piece of paper over this page so you can see the box underneath
                                              • SIGN your name completely within the box
                                              • REPEAT/PRACTICE until you have a nice, clean, dark signature completely

                                                                                                                  JA071
                                                 within the box
                                              • IDENTIFY which signature is the 'good' one on the page (draw an arrow to
                                                 it- but not too close to the signature- defmitely not inside the box)
                                              • DELIVER to the admin staff for your group
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         cc:   VIA Electronic Mail

               Mary McDaniel
               Director, PHMSA Pipeline Safety Southwest Region Office
               U.S. Department of Transportation
               mary.mcdaniel@dot.gov

               Sentho White
               Director, PHMSA OPS Engineering and Research
               U.S. Department of Transportation
               sentho.white@dot.gov




                                                                                   JA072
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                                        UNITED STATES OF AMERICA
                                         DEPARTMENT OF ENERGY
                                 FEDERAL ENERGY REGULATORY COMMISSION

         IN THE MATTER OF                           )
                                                    )
         Corpus Christi Liquefaction Stage III, LLC )              Docket Nos.    CP18-512-000
         Corpus Christi Liquefaction, LLC           )
                                                    )
         Cheniere Corpus Christi Pipeline, LP       )                            CP18-513-000
                                                    )


                               Request for Rehearing of Public Citizen and Sierra Club

                 When FERC approved the Corpus Christi LNG Stage III project and associated pipeline,

         in November 2019, FERC required that the facilities be placed in service within five years, by

         November 22, 2024. 1 But now, on May 6, 2022, FERC has granted a request to extend this

         deadline by 31-months. Public Citizen and Sierra Club request rehearing of this decision. The

         applicants (collectively, “Corpus Christi”) have failed to show good cause for their delay or that

         the findings underlying the initial authorization remain valid. Moreover, here, FERC’s purported

         basis for finding good cause—changes in the global LNG market—directly undermines the

        conclusion that facts underlying the approval have not gone stale.

                 For these reasons and other reasons, as further explained below, Public Citizen and Sierra

        Club move to intervene regarding this request for an extension, and protest that request.



                                                    I.    Statement of Issues

                 Pursuant to 18 C.F.R. § 385.713(c)(1), we offer the following concise statements of



         1
          Corpus Christi Liquefaction Stage III, LLC, Corpus Christi Liquefaction, LLC, and Cheniere
         Corpus Christi Pipeline, LP, 169 FERC ¶ 61,135 (Nov. 22, 2019).

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                     Page 1

                                                                                                      JA073
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         alleged errors. These errors are explained in greater detail below.



             1. In deciding whether to modify a certificate or authorization order to extend a completion

                 and in-service deadline, FERC has both the authority and obligation to revisit the findings

                 of the initial certificate order. See, e.g., 15 U.S.C. § 717o. Commissioner Danly’s

                 concurrence (arguing that FERC lacks authority to revisit these determinations at all) and

                 the majority’s order (arguing that FERC could only revisit these issues where

                 circumstances had changed) both misstate the scope of FERC’s legal authority and

                 obligations.



             2. The record does not support FERC’s conclusion that Corpus Christi demonstrated good

                 cause for a delay.

                      a. Until recently, FERC only extended certificates where the applicant was prevented

                          from meeting the initial deadline. Constitution Pipeline Co., 165 FERC ¶ 61,081

                          P14, P9 n.32 (2018)

                      b. Here, Corpus Christi chose not to commence construction due to market

                          uncertainty, but no record evidence supports the conclusion that Corpus Christi

                          was prevented from or unable to commence construction.

                      c. FERC should not interpret good cause to encompass changes in market

                          circumstances. If market circumstances have in fact changed, then facts pertinent

                          to the overall public interest determination have necessarily changed: a finding of

                          good cause predicated on market circumstances entails the conclusion that the

                          prior findings are stale.


         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                     Page 2

                                                                                                       JA074
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             3. FERC erred by approving the extension request without additional NEPA review.

                      a. Granting the extension is a major federal action that requires its own NEPA

                          analysis; although FERC could have tiered off the prior analysis, doing so would

                          require FERC to re-evaluate that analysis’s conclusions, rather than merely

                          looking to changed circumstances. Pit River Tribe v. U.S. Forest Serv., 469 F.3d

                          768, 784 (9th Cir. 2006).

                      b. Alternatively, the NEPA supplementation framework controls whether FERC

                          could rely on the prior analysis. Here, multiple changed circumstances demonstrate

                          that supplementation was required. People Against Nuclear Energy v. U.S. Nuclear

                          Regulatory Comm’n, 678 F.2d 222, 234 (D.C. Cir. 1982), rev’d on other grounds

                          sub nom. Metro. Edison Co. v. People Against Nuclear Energy, 460 U.S. 766

                          (1983). Here, supplementation was required because of new information regarding

                          carbon capture and sequestration, the status of sensitive species, and energy

                          markets.



             4. FERC gets it backwards in concluding that “A determination as to whether additional

                 NEPA analysis is needed cannot be made prior to determining whether further ESA

                 consultation is required and obtaining the results of such consultation.” Order P19. A

                 consideration of changed circumstances, including NEPA analysis, informs the

                 determination of whether further ESA consultation is required, not the other way around.




         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                       Page 3

                                                                                                      JA075
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                                                         II.       Argument


                  A.    FERC Can and Must Re-evaluate the Original Orders’ Findings

                  Commissioner Danly’s concurrence asks what authority permits FERC to revisit prior

         determinations when evaluating a request to extend a certificate. A better question is what

         authority would permit FERC to grant an extension without revisiting these prior findings. A

         grant of extension has much the same effect as a new certificate. No project developer is entitled

         to an extension. See 18 C.F.R. § 385.2008 (where good cause is shown, FERC “may” extend

         time). And in general, where a project is behind schedule and requests an extension, if FERC does

         not grant an extension request, the project at issue will not be able to go forward. Thus, a decision

         to grant the extension request is, like issuance of the initial authorization, a decision to enable a

         project that would not otherwise be built or enter operation to move forward. Accordingly, in

         granting an extension request, FERC cannot simply point to the fact that it approved the project

         previously: FERC must confirm the continuing validity of the findings that supported that prior

         approval.

                  Especially in light of Commissioner Danly’s concerns, FERC should specify the statutory

         authority FERC exercises when applying FERC Rule 20082 to extend a certificate or decide

         whether and how to do so. One potential source of authority is 15 U.S.C. § 717o, which grants

         FERC the power to “amend … orders … as it may find necessary or appropriate.” But regardless

         of the statutory authority invoked, we are not aware of any principle that would permit FERC to

         extend a certificate deadline but would not permit (or, indeed, require) FERC to consider the

         validity of the certificate’s underlying findings in deciding whether to do so. Consideration of an



         2
             18 C.F.R. § 385.2008(a).

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                        Page 4

                                                                                                        JA076
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         extension request is not analogous to the situation in United States v. Seatrain Lines, 329 U.S.

         424, 427 (1947), in which an agency reopened proceedings on its own initiative to revisit and

         ultimately vacate a final order. 3 Thus, we disagree with both Commissioner Danly’s concurrence

         (which asserts that FERC cannot ever revisit any “public convenience and necessity

         determinations”) and with the majority (which asserts that FERC will only reconsider prior

         determinations where there is evidence of changed circumstances or staleness). Both viewpoints

         are mistaken insofar as they contend that FERC lacks the legal authority to revisit prior

         determinations (in all or some circumstances). And neither justifies a blanket refusal to exercise

         that authority.

                 Public Citizen and Sierra Club’s opposition to the extension request is not an out-of-time

         request for rehearing of the original certificate—we are not asking FERC to vacate the original

         certificate as improvidently issued. Rather, we argue that what’s good for the goose is good for

         the gander: FERC cannot issue a new order reconsidering one part of a prior order (the deadline)

         without reconsidering other elements of that prior order as well.


                 B.     FERC’s Conclusion that Corpus Christi Has Demonstrated Good Cause for an
                        Extension Is Arbitrary

                 Until recently, where FERC had found good cause for an extension of a certificate’s in-

        service deadline, it was almost universally because the applicant had been prevented from

        construction; i.e., because some external factor made it so the applicant could not meet the

        deadline. See Black’s Law Dictionary, Prevent (2019) (“to stop from happening; to hinder or



         3
           And whereas Seatrain Lines held that the certificate issued by the Interstate Commerce
         Commission was not an “order” of the type that that agency had statutory authority to modify, id.
         at 432 (citing 49 U.S.C. § 915(c)), here, that would prove too much: the question only arises if
         FERC does have authority to modify the certificate, so as to modify the deadline.

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                    Page 5

                                                                                                     JA077
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         impede”), Merriam-Webster, Prevent (2022) (“to keep from happening or existing”). Typically,

         this was inability to obtain a permit that was essential to construction. Constitution Pipeline Co.,

         165 FERC ¶ 61,081 P9 n.32 (collecting FERC decisions).

                  This is the appropriate standard, and FERC does not purport to depart from it here: FERC

         claims that good cause exists where an applicant was “prevented” from meeting a deadline, Order

         P8, and that Corpus Christi was “prevented” from doing so here, P10. But FERC’s conclusion that

         this standard was satisfied here was arbitrary.

                  Here, Corpus Christi failed to make (much less support) any specific argument that it was

         prevented from meeting the deadline. There is no statement of the form “We could not X because

         Y,” such as “we could not complete this stream crossing because we lacked the permit for doing

         so,” or “we could not build this structure because the raw materials were unavailable.” Corpus

         Christi’s application makes a general, passing reference to “adverse economic and logistical

         conditions,” but does not identify any logistical concern (e.g., whether and how public health

         concerns prevented construction of X aspect of the project during Y dates). There are simply no

         particular facts in the application or the order to support the conclusion that, even if Corpus

         Christi had wanted to, Corpus Christi would have been unable to proceed on the approved

         schedule, or with a delay of less than the 31 months for which Corpus Christi now seeks an

         extension.

                  Instead of discussing logistical issues, Corpus Christi’s application quickly pivots to the

         assertion that “the COVID-19 pandemic caused significant impact to global markets.”4 This

         change in market conditions may have impacted the wisdom of proceeding with the project, but



         4
             Extension Application at 1-2.

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                        Page 6

                                                                                                       JA078
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         nothing in the application or order demonstrates that it impacted Corpus Christi’s ability to do so.

         The impact to global markets does not support the conclusion that Corpus Christi was prevented

         from meeting the deadline. Coupled with the absence of evidence of logistical impediments, this

         means that FERC’s conclusion that Corpus Christi was prevented from meeting the deadline is

         unsupported.

                 Finally, although the order here rests on an unsupported finding that Corpus Christi was

         “prevented” from meeting the deadline, on rehearing, FERC should not relax the good cause

         standard to find good cause due to a change in market conditions that falls short of preventing

         such compliance. If an applicant were to demonstrate a change in market conditions that could

         plausibly justify failure to proceed with a project, the applicant would merely be jumping out of

         the frying pan and into the fire: the same facts that constituted good cause would also demonstrate

         that the findings underlying the initial certificate were stale.5

                 FERC’s discussion of the COVID-19 pandemic here demonstrates this issue. Corpus

         Christi argues that the arrival of COVID-19 caused a change in global markets (which Corpus

         Christi concluded warranted slowing or pausing development), and Corpus Christi effectively

         argues that the world’s management of COVID-19 constitutes another change (which Corpus

         Christi concluded warrants proceeding with the project). But there is no reason to assume that this

         second change constitutes a reversion to the pre-COVID-19 conditions that underlay FERC’s

         initial approval. Instead, this is yet another change in yet another new direction, as demonstrated

         by the evidence FERC cites here. In arguing for a post-COVID renewal of global LNG demand,



         5
           That is, even if FERC contends that will only revisit the findings of the initial approval in the
         face of changed circumstances, contra Part II.A supra, these market developments would
         constitute such a change.

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                      Page 7

                                                                                                       JA079
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         FERC points to the recent United States-European Union Task Force to Reduce Europe’s

         Dependence on Russian Fossil Fuels, Order P11 n.31, but FERC ignores the fact that this task

         force agreement only calls for European demand for LNG through 2030, i.e., for the first three

         years of the Corpus Christi Stage III project’s planned 20+ years of operation. More broadly, in

         response to Russia’s invasion of Ukraine, rather than reverting to the pre-COVID status quo,

         global energy markets are now working to transition away from fossil fuels, including LNG, as

         quickly possible.

                 Accordingly, we encourage FERC to follow Chestnut Ridge Storage, 139 FERC ¶ 61149,

        62134 P13 (2012), and to interpret Chestnut Ridge to mean that where there are steps that an

        applicant could be taking to proceed with a project but where the applicant chooses not to do so,

        there is not good cause for an extension. If FERC instead interprets good cause to encompass

        market setbacks that do not actually prevent construction, FERC must recognize that those same

        setbacks constitute changed circumstances that require FERC to re-evaluate its initial findings of

        market support and public benefit.


                 C.     FERC Erred by Approving the Extension Request Without NEPA Analysis

                 As discussed above, FERC could not approve the extension request without addressing

        whether the prior determinations remain valid. In the NEPA context, this is because granting the

        extension request for a project that has not yet entered operation—indeed, that has only

        minimally, if at all, started construction—is itself a major federal action requiring NEPA review.

        See Pit River Tribe v. U.S. Forest Serv., 469 F.3d 768, 784 (9th Cir. 2006) (extension of leases

        that would have otherwise expired was major federal action requiring NEPA analysis). The

        decision of whether or not to approve the extension request has significant environmental

        consequences: as a practical matter, if the extension request is denied, the adverse impacts caused

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                    Page 8

                                                                                                    JA080
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         by the Corpus Christ Stage III project will not occur. Although FERC could have “tiered” off the

        original NEPA analysis in evaluating the extension request, tiering requires FERC to affirm the

        continuing adequacy and validity of the prior analysis—when tiering off an old analysis, FERC

        cannot limit its new analysis to changed circumstances. 6

                 In the alternative, the staleness of the prior analysis, and thus its adequacy, must be

        evaluated under the NEPA supplementation framework. N. Alaska Env't Ctr. v. U.S. Dep't of the

        Interior, 983 F.3d 1077, 1093 (9th Cir. 2020). Here, Public Citizen and Sierra Club identified

        been new developments regarding climate change, endangered species, and impacts on domestic

        gas prices and supply.

                 On climate change and mitigation thereof, the extension order provides no discussion

        whatsoever of the information we provided. This is another instance of FERC failing to apply the

        standard it purports to announce. FERC appears to agree that where the “facts underlying the

        Authorization’s conclusions … significantly change[],” FERC must revisit those conclusions.

        Order P16. But rather than address Public Citizen and Sierra Club’s arguments that that such

        factual changes have occurred here, FERC asserts that because Corpus Christi only requested a

        change in the timing of the project, FERC need not even consider such arguments.

                 For example, Public Citizen and Sierra Club argued that even if, at the time the

        Authorization Order was issued, FERC was unable “to assess potential GHG-related impacts

        attributable to [the Stage 3] project,” or “to determine the significance of the Project’s



         6
           See also N. Alaska Env't Ctr. v. U.S. Dep't of the Interior, 983 F.3d 1077, 1091 (9th Cir. 2020)
         (“Pit River Tribe illustrates that the adequacy of analysis in previous NEPA documents for the
         present action may influence whether we construe those NEPA documents as covering the present
         action. Relatedly, Pit River Tribe shows that adequacy may remain relevant even after the statute
         of limitations has run.”).

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                        Page 9

                                                                                                       JA081
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         contribution to climate change,” 7 new, post-Authorization facts called that conclusion into

         question. These new facts include federal re-adoption of a modeling tool, the social cost of carbon

         protocol, and announcement of federal greenhouse gas emission reduction targets—two issues

         where the facts are now clearly different than facts specifically pointed to in the prior review. 8

         Thus, these developments specifically contradict the extension order’s conclusion that none of the

         “facts underlying the Authorization’s conclusion have … significantly changed.” Order P16. At a

         minimum, FERC was required to explain why it did not view these changes as significant. FERC

         did not even purport to do so.

                   Similarly, although Corpus Christi has not proposed to FERC a change in the nature of the

         project, Corpus Christi has publicly announced its intention to change the nature of the project to

         incorporate carbon capture and sequestration.9 And even if Corpus Christi had not made this

         announcement, other LNG proposals have provided strong evidence of the availability and

         feasibility of carbon capture for LNG projects, a fact that was not present when FERC previously

         analyzed appropriate mitigation.10 But FERC offers no explanation as to why these factual

        developments do not require a supplemental NEPA analysis or otherwise call for reevaluation of

        FERC’s prior conclusions.




         7
             EA at 235–36.
         8
             Id.
         9
          Bloomberg, U.S. LNG Players Tout Carbon Capture in Bid to Boost Green Image (May 5,
         2021), available at https://www.bloomberg.com/news/articles/2021-05-05/u-s-lng-players-tout-
         carbon-capture-in-bid-to-boost-green-image.
         10
          Application of Rio Grande LNG, LLC for Limited Amendment to NGA Section 3
         Authorization, Resource Report 9A (Nov. 17, 2021), Accession No. 20211117-5060.

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                      Page 10

                                                                                                       JA082
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                 D.     FERC Cannot Postpone Evaluation of New Information Regarding Newly-
                        Listed Species Until After Endangered Species Act Consultation

                 The Order asserts that “A determination as to whether additional NEPA analysis is needed

        cannot be made prior to determining whether further ESA consultation is required and obtaining

        the results of such consultation.” Order P19. FERC offers no authority to support this conclusion,

        nor could it. FERC routinely performs NEPA analysis of impacts on sensitive species prior to

        completion of the Endangered Species Act consultation process. The requirements of NEPA and

        the Endangered Species Act overlap but are distinct: even if, for example, the National Marine

        Fisheries Service were to conclude that consultation was not required, FERC would still be

        required to take a hard look at impacts to these species.

                 Here, the Order does not assert that the Corpus Christi Stage III project will not affect

        newly-listed species, or that the prior analysis of impacts to these species—conducted prior to

        listing—remains valid and adequate despite newly-available information and determinations

        regarding these species’ characteristics and importance. The only justification given for refusing

        to consider or revisit impacts on these species is the flawed assertion that FERC need not do so

        prior to determining whether further consultation is required. Because the only rationale offered is

        mistaken, FERC’s treatment of newly-listed species is arbitrary.



                                                       III.    Conclusion

                 For the reasons stated above, Public Citizen and Sierra Club hereby request rehearing of

        FERC’s May 6, 2022 order extending the deadlines in these dockets, and that FERC rescind those

        orders. Corpus Christi’s request for an extension should have been denied, or in the alternative,

        could not have been approved without additional analysis and process beyond what FERC

        provided here.

         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                     Page 11

                                                                                                      JA083
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         Respectfully submitted June 6, 2022



          /s/ Nathan Matthews                                      /s/ Tyson Slocum
          Nathan Matthews                                          Tyson Slocum, Energy Program Director
          Sierra Club                                              Adrian Shelley, Director, Public Citizen Tex.
          2101 Webster Street, Suite 1300                          Public Citizen, Inc.
          Oakland, CA 94612                                        309 E 11th Street, Suite 2
          415-977-5695                                             Austin, Texas 78701
          nathan.matthews@sierraclub.org                           512-477-1155
          Attorney for Sierra Club                                 tslocum@citizen.org
                                                                   ashelley@citizen.org
                                                                   For Public Citizen




         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                        Page 12

                                                                                                          JA084
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                                             CERTIFICATE OF SERVICE



                   I hereby certify that I have this day served the foregoing document upon each person

          designated on the official service list compiled by the Secretary in this proceeding.



          Dated at Oakland, CA June 6, 2022.




                                                              Nathan Matthews

                                                              Senior Attorney

                                                              Sierra Club

                                                              2101 Webster Street, Suite 1300

                                                              Oakland, CA 94612

                                                              415-977-5695

                                                              nathan.matthews@sierraclub.org




         Public Citizen and Sierra Club Request for Rehearing of
         Order Extending Time in CP18-512, CP18-513                                                   Page 13

                                                                                                     JA085
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      July 1, 2022

     Ms. Kimberly D. Bose, Secretary
     Federal Energy Regulatory Commission
     888 First Street, N.E.
     Washington, D.C. 20426


     Re:     Corpus Christi Liquefaction, LLC; Stage 3 Project
             Docket No. CP18-512-000
             Monthly Construction Report for May 2022


      Dear Ms. Bose:

     On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an Order
     Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
     necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
     Project (“Stage 3 Project”).
     Pursuant to Condition 9 of the Order, Corpus Christi Liquefaction, LLC is herein submitting its monthly
     construction progress report for the period May 2022.
     Should you have any questions about this filing, please feel free to contact the undersigned at (713) 375-5000.

     Thank you,

     /s/ Akayla Broussard

     Akayla Broussard
     Environmental and Regulatory Projects
     Corpus Christi Liquefaction, LLC

      cc:    Ms. Nancy Fox-Fernandez – Federal Energy Regulatory Commission
             Mr. Steven Kusy – Federal Energy Regulatory Commission
             Ms. Janna Romaine Chesno – Cheniere Energy, Inc.
             Ms. Lisa Tonery – Orrick, Herrington & Sutcliffe, LLP




                                                                                                           JA086
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       USCA Case #22-1235     Document #1992104                   Filed: 03/28/2023   Page 92 of 148

                            CORPUS CHRISTI LIQUEFACTION STAGE 3 PROJECT

                                          Corpus Christi, Texas




                                       MONTHLY PROGRESS REPORT
                                               MAY 2022
                                      FERC DOCKET NO. CP18-512-000




                                                                                           JA087
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        1.0    Executive Summary

              On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an
              Order Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
              necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
              Project (“Stage 3 Project”). CCL Stage III received FERC authorization to proceed with early works activities
              within the Stage 3 LNG Facilities on January 10, 2020, February 14, 2020, and March 9, 2022. On April 28,
              2022, CCL Stage III received FERC approval to proceed with site preparation activities for the Stage 3 Project.

              This report covers activities for the Stage 3 Project during the month of May 2022.


        2.0 Project Highlights
          During the month of May, CCL Stage III’s contractor continued the early works activities referenced above and
          commenced site preparation works including excavation, backfill and soil stabilization. Road improvements,
          drainage work and mobilization of temporary facilities, equipment and personnel continued during the reporting
          period. CCL Stage III’s contractor also continued onboarding and training of its staff and subcontractors.


        3.0 Environmental, Safety, and Health Progress
                                            Near Miss             First Aid               Recordable             Lost Time
                                     Month           ITD1   Month             ITD1   Month        ITD1     Month         ITD1
           Bechtel                      0               0    0                 0      0                0     0               0
           Subcontractor                0               0     0                0      0                0     0               0
           Total                        0               0    0                 0      0                0     0               0
                     1.   ITD = Inception to Date.




        4.0 Schedule
              There are no changes to the construction schedule.




                                                                       3

                                                                                                                        JA089
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                                                                                                                                                                            JA090
       5.0 Construction
                  Area                        Construction Activities in May                                           Planned Work for June
         Liquefaction Trains             Continued mobilization of construction personnel           Continue to recruit and mobilize construction personnel and
         Area                             and equipment.                                              equipment to support ramp up of activities.
                                         Continued mobilization of temporary facilities in          Continue cut activities in the Train 1 footprint and commence work
                                          laydown area.                                               in the OSBL footprints.
                                         Commenced acceptance of materials to support               Continue soil stabilization activities in the Train 4 footprint and
                                          road improvements and enabling works.                       laydown areas.
                                         Commenced cut activities in Train 1 footprint.             Continue enhancement of temporary facilities in laydown area.
                                         Commenced soil stabilization in laydown and                Commence backfill activities in Zone 2 in preparation for wick
                                          Train 4 areas.                                              drain operations.
         LNG Tank                 None.                                                       None.
         Access Roads             None.                                                       None.
         Other                    None.                                                       None.
                                                                                       4
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           6.0 Permitting and Environmental
            No updates to any environmental permits or the Emergency Response Plan for project construction were made
            during the reporting period.



                Summary of Problems, Non-Compliances, and Corrective Actions
   Date                      Description


   None.

            Non-Compliance and Corrective Actions:
               •  No non-compliance issues were observed this reporting period.

                Agency Contacts/Inspections
   Agency            Name                          Date                    Location/Activity


  None.




                                                                 5

                                                                                                                 JA091
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        7.0 Progress Photos




                                     Soil mixing within authorized permanent workspace.




                                          Site preparation in LNG facilities area.


                                                       6

                                                                                               JA092
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                                        Soil mixing activities in LNG facilities area.




                                       Test frame for compression load testing.




                                                         7

                                                                                              JA093
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                                Horizontal wick drain installations in Train 7 test pad.




                                          Surcharge fill at Train 7 test pad.




                                                           8

                                                                                                JA094
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                                                    Certificate of Service

      I hereby certify that I have this day served the foregoing document upon each person designated on the official
      service list compiled by the Secretary in this proceeding.

      Dated at Houston, Texas this 1st day of July 2022.

      /s/ Akayla Broussard

      Akayla Broussard
      Corpus Christi Liquefaction, LLC




                                                                                                        JA095
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                                      180 FERC ¶ 62,009
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Corpus Christi Liquefaction Stage III, LLC                   Docket Nos. CP18-512-002
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                        CP18-513-002

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                                (July 7, 2022)

               Rehearing has been timely requested of the Commission’s order issued on
        May 6, 2022, in this proceeding. Corpus Christi Liquefaction Stage III, LLC, 179 FERC
        ¶ 61,087 (2022). In the absence of Commission action on a request for rehearing within
        30 days from the date it is filed, the request for rehearing may be deemed to have been
        denied. 15 U.S.C. § 717r(a); 18 C.F.R. § 385.713 (2021); Allegheny Def. Project v.
        FERC, 964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 15 U.S.C. § 717r(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 15 U.S.C. § 717r(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.




                                                        Kimberly D. Bose,
                                                           Secretary.




                                                                                              JA096
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      September 23, 2022

     Ms. Kimberly D. Bose, Secretary
     Federal Energy Regulatory Commission
     888 First Street, N.E.
     Washington, D.C. 20426


     Re:      Corpus Christi Liquefaction, LLC; Stage 3 Project
              Docket No. CP18-512-000
              Monthly Construction Report for August 2022


      Dear Ms. Bose:

      On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an Order
      Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
      necessary authorization for the construction and operation of an expansion of the Corpus Christi Liquefaction
      Project (“Stage 3 Project”).
     Pursuant to Condition 9 of the Order, Corpus Christi Liquefaction, LLC is herein submitting its monthly
     construction progress report for the period August 2022.
      Should you have any questions about this filing, please feel free to contact the undersigned at (713) 375-5000.

      Thank you,

      /s/ Akayla Broussard

     Akayla Broussard
     Environmental and Regulatory Projects
     Corpus Christi Liquefaction, LLC

      cc:     Ms. Nancy Fox-Fernandez – Federal Energy Regulatory Commission
              Mr. Steven Kusy – Federal Energy Regulatory Commission
              Ms. Janna Romaine Chesno – Cheniere Energy, Inc.
              Ms. Lisa Tonery – Orrick, Herrington & Sutcliffe, LLP




                                                                                                            JA097
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                            CORPUS CHRISTI LIQUEFACTION STAGE 3 PROJECT

                                          Corpus Christi, Texas




                                       MONTHLY PROGRESS REPORT
                                             AUGUST 2022
                                      FERC DOCKET NO. CP18-512-000




                                                                                        JA098
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        1.0    Executive Summary

              On November 22, 2019, the Federal Energy Regulatory Commission (“FERC” or “Commission”) issued an
              Order Issuing Authority Under Section 3 and Section 7(c) of the Natural Gas Act (“NGA”) (“Order”) granting the
              necessary authorization to Corpus Christi Liquefaction (“CCL”) for the construction and operation of an
              expansion of the Corpus Christi Liquefaction Project (“Stage 3 Project”). CCL received FERC authorization to
              proceed with early works activities within the Stage 3 LNG Facilities on January 10, 2020, February 14, 2020,
              and March 9, 2022. On April 28, 2022, CCL received FERC approval to proceed with site preparation activities
              for the Stage 3 Project.

              This report covers activities for the Stage 3 Project during the month of August 2022.


        2.0 Project Highlights
          During the month of August, CCL’s contractor continued the early works activities referenced above and site
          preparation works including excavation, backfill and soil stabilization. Road improvements, drainage work and
          mobilization of temporary facilities, equipment and personnel continued during the reporting period. CCL’s
          contractor also continued onboarding and training of its staff and subcontractors.


        3.0 Environmental, Safety, and Health Progress
                                            Near Miss              First Aid                Recordable             Lost Time
                                     Month           ITD1    Month             ITD1   Month         ITD1     Month         ITD1
           Bechtel                      0               16     0                4      0                 0     0               0
           Subcontractor                4               12     0                1       0                0     0               0
           Total                        4               28     0                5      0                 0    0                0
                     1.   ITD = Inception to Date.




        4.0 Schedule
              There are no changes to the construction schedule.




                                                                        3

                                                                                                                          JA100
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                                                                                                                                                                               JA101
       5.0 Construction
                  Area                      Construction Activities in August                                         Planned Work for September
         Liquefaction Trains             Continued road improvement and drainage work                  Continue to recruit and mobilize construction professionals to
         Area                             on Stage 3 site.                                               support ramp up of construction activities.
                                         Continued to recruit and mobilize construction                Mobilize additional equipment in support of site prep activities.
                                          professionals to support ramp up of construction              Complete pile testing in Train 6 test pad location.
                                         activities.                                                   Continue monitoring settlement in the Train 7 test pad location.
                                         Mobilized additional equipment for road                       Continue mass excavation activities in Zone 1 footprint.
                                          improvement work and site prep activities.                    Continue bathtub excavation activities in Train 2 and OSBL areas
                                         Completed test pile installations at the Train 6               East and West of Train 2.
                                          test pad and commenced pile testing.                          Continue soil stabilization activities in Train 2 and adjacent OSBL
                                         Completed surcharge installations at Train 7 test              areas for Zone 1.
                                          pad location.                                                 Continue soil stabilization activities in Train 6 and commence in
                                         Commenced mass excavation and bathtub                          Train 7 and adjacent OSBL areas for Zone 2.
                                          excavation activities in Train 2 footprint.                   Continue backfill activities in Trains 5 and 6 footprints.
                                         Continued bathtub excavation activities in OSBL               Continue wick drain installations in Train 4 footprint.
                                          areas East and West of Trains 1 and 2.                        Continue wick drain installations in Train 6 and OSBL area.
                                         Continued soil stabilization activities in Train 2            Continue nightshift operations for soil stabilization activities.
                                          and commenced in Train 6 and the adjacent                     Continue perimeter drainage ditch installations.
                                          OSBL areas.                                                   Commence production pile installations in the OSBL area
                                         Commenced backfill activities in Train 6 footprint.            (310R08) and Train 1 footprint.
                                         Continued wick drain installations in Train 4
                                          footprint.
                                         Commenced wick drain installations in Train 6
                                          and OSBL area.
                                         Commenced perimeter drainage ditch
                                          installations in OSBL area.
                                         Expanded temporary facilities in laydown area.
                                         Mobilized additional key professional staff to site.
                                         Continued nightshift operations for soil
                                          stabilization activities.
         LNG Tank                 None.                                                          None.
                                                                                          4
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                 Area              Construction Activities in August                          Planned Work for September




                                                                                                                           JA102
         Access Roads      None.                                             None.
         Other             None.                                             None.
                                                                        5
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           6.0 Permitting and Environmental
            No updates to any environmental permits or the Emergency Response Plan for project construction were made
            during the reporting period.



                Summary of Problems, Non-Compliances, and Corrective Actions
   Date                      Description


   None.

            Non-Compliance and Corrective Actions:
               •  No non-compliance issues were observed this reporting period.

                Agency Contacts/Inspections
   Agency            Name                          Date                    Location/Activity


  None.




                                                                 6

                                                                                                                 JA103
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        7.0 Progress Photos




                                        Wick drain installations in Zone 2




                                     Aerial view of horizontal wick drain tying


                                                         7

                                                                                          JA104
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                           Aerial view of Train 1 ready for piling and overburden removal in Train 2




                               Aerial view of Train 4 wick drains and backfill in Trains 5 and 6



                                                          8

                                                                                                         JA105
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                                  Soil farming and stockpiling in Beds 20 and 21




                                   Aerial view of Train 6 test pad with piling rig




                                                         9

                                                                                           JA106
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                                                   Certificate of Service

      I hereby certify that I have this day served the foregoing document upon each person designated on the official
      service list compiled by the Secretary in this proceeding.

      Dated at Houston, Texas this 23rd day of September 2022.

      /s/ Akayla Broussard

      Akayla Broussard
      Corpus Christi Liquefaction, LLC




                                                                                                        JA107
Document Accession #: 20190329-3010       Filed Date: 03/29/2019
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                                                                          Office of
                                                                          Energy Projects


                                                                              March 2019


      Corpus Christi Liquefaction Stage III, LLC
      Corpus Christi Liquefaction, LLC                             Docket No. CP18-512-000
      Cheniere Corpus Christi Pipeline, L.P.                       Docket No. CP18-513-000



                              Stage 3 Project
                         Environmental Assessment




                                      Cooperating Agencies:




                                        Washington, DC 20426


                                                                                    JA108
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         Stage 3 Project                                                                   Environmental Assessment


         7.0 NON-JURISDICTIONAL FACILITIES

                 Under Section 7(c) of the NGA, the Commission is required to consider, as part of its decision to
         approve facilities under Commission jurisdiction, all factors bearing on the public convenience and
         necessity. Occasionally, proposed projects have associated facilities that do not come under the jurisdiction
         of FERC. These “non-jurisdictional” facilities may be integral to the needs of a project (e.g., a new or
         expanded power plant at the end of a pipeline that is not under the jurisdiction of FERC) or may be merely
         associated as minor, non-integral components of the jurisdictional facilities that would be constructed and
         operated as part of a project.

                  Powerline connections and an electrical substation would be utilized in support of the Stage 3 LNG
         Facilities, and are considered non-jurisdictional facilities. To provide power to the Project area during
         construction, American Electric Power, Inc. (AEP) would design, build, own, and operate approximately
         3,000 feet of a new powerline within a 100-foot-wide corridor resulting in 6.89 acres of impacts. This
         construction powerline would extend from SH 361 to a construction distribution panel in the Project area.
         Cheniere stated that while the location of the powerlines has not been determined, all impacts would occur
         within areas identified for construction workspace.

                  For operation power, Cheniere would design, build, own, and operate a new powerline that would
         extend 0.25 mile from a new 10-acre substation to be constructed by AEP within the Project site (see
         figure A.9.1-1) to a connection at SH 361. All impacts associated with operation power is reflected in the
         Project impacts presented throughout this EA.

         8.0 CONSTRUCTION, OPERATION, AND MAINTENANCE PROCEDURES

                 The Project facilities would be designed, constructed, tested, operated, and maintained in
         accordance with the USDOT regulations at 49 CFR 193, Liquefied Natural Gas Facilities: Federal Safety
         Standards, and the NFPA 59A, Standard for the Production, Storage, and Handling of LNG (as
         incorporated by reference in 49 CFR 193.2013, under Subpart A). The pipeline facilities would comply
         with USDOT regulations at 49 CFR 192, Transportation of Natural or Other Gas by Pipeline: Minimum
         Federal Safety Standards. These regulations specify material selection, design criteria, corrosion
         protection, and qualifications for welders and operation personnel. Additionally, CCPL would comply with
         the Commission’s regulations at 18 CFR 380.15 regarding the siting and maintenance of pipeline rights-of-
         way. These regulations ensure adequate protection for the public and prevent natural gas facility accidents
         and failures.

                  Pending receipt of all necessary approvals and authorizations, Cheniere plans to begin construction
         of the Stage 3 LNG Facilities in 3rd quarter 2019 with an anticipated in-service date in 2023. Construction
         of the Stage 3 Pipeline would begin in 2020 with an in-service date in 2023. Cheniere adopted FERC staff’s
         Upland Erosion Control, Revegetation, and Maintenance Plan (Plan) and Wetland and Waterbody
         Construction and Mitigation Procedures (Procedures). Cheniere would also implement its Spill
         Prevention, Containment, and Countermeasures Plan (SPCC Plan) to help ensure a favorable environment
         for the successful re-establishment of vegetation and proper handling of lubricants, fuel, or other potentially
         toxic materials and prevention of spills, respectively, prior to construction. Cheniere would also revegetate
         temporarily disturbed areas in accordance with the FERC Plan and Procedures and would incorporate
         recommendations from the National Resources Conservation Service, such as seed mixes to be used during
         Project restoration. The SPCC Plan would be implemented in compliance with the FERC and Texas
         Commission on Environmental Quality (TCEQ). In addition, Cheniere would develop a Stormwater
         Pollution Prevention Plan (SWPPP) for managing stormwater runoff during construction and operation of
         the Stage 3 Project.


                                                               16

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         Stage 3 Project                                                                   Environmental Assessment


                Typical construction drawings would be available to guide construction crews as to the approved
         methods to employ at appropriate locations when, and if, any of the conditions are observed. Construction
         crews would be familiar with the plans and assessing actual conditions before employing the guidelines.

                 For purposes of quality assurance and compliance with mitigation measures, other applicable
         regulatory requirements, and Project specifications, the Stage 3 Project would be represented on site by a
         Chief Inspector. One or more craft inspectors and one or more Environmental Inspectors (EI) assisting the
         Chief Inspector. To ensure that the environmental conditions associated with other permits or
         authorizations are satisfied, the EI’s duties would be fully consistent with those contained in paragraph II.B
         of the Plan. The EI(s) would have authority to stop work or require other corrective actions to achieve
         environmental compliance. In addition to monitoring compliance, the EI’s duties would include training
         Project personnel about environmental requirements and reporting compliance status to the contractors,
         Stage 3 Project management, FERC, and other agencies, as required.

                 FERC staff would conduct field and engineering inspections during construction. Other federal
         and state agencies may also conduct oversight of inspection to the extent determined necessary by the
         individual agency. After construction is completed, the FERC staff would continue to conduct oversight
         inspection and monitoring during operation of the Project to ensure successful restoration. Additionally,
         the FERC staff would conduct annual engineering safety inspections of the Stage 3 facilities operations.

                The sections below describe the general procedures proposed by Cheniere for construction and
         operation activities within the Project site including restoration and maintenance following the completion
         of Project construction.

                  Stage 3 LNG Facilities

                  The modularized construction of the Stage 3 LNG Facilities would allow for individual trains and
         associated facilities to be constructed and brought on line in a phased approach in response to market
         demand. However, CCL Stage III’s expectation, based on current indications of market demand, is that the
         entirety of the Stage 3 LNG Facilities would be built in a single phase. The duration of construction of all
         seven trains is approximately 48 months.
                  There are two areas within the existing Liquefaction Project facility that would be used during
         construction of the Stage 3 LNG Facilities. These are the existing Construction Dock and the existing
         roadway between the Construction Dock and Stage 3 LNG Facilities site. In addition, space inside the
         Liquefaction Project Operation and Maintenance Building (Control Room) would be utilized for operations
         of the Stage 3 LNG Facilities.

         8.1.1   Temporary Construction Facilities

                 The Project would utilize areas that have been authorized for temporary work areas and are
         currently being utilized for the Liquefaction Project. The scheduled use of these areas for the two projects
         would overlap. Temporary work areas would be restored in compliance with our Plan and Procedures.
         Additional temporary facilities, required solely for the Stage 3 LNG Facilities, primarily laydown areas and
         parking, would be located on site or in close proximity to the site in areas approved by the Commission for
         construction use. The main construction offices would be located either on-site or in a nearby construction
         laydown or parking area. Support/satellite offices, warehousing, lunchrooms, temporary access roads,
         parking lots, and material laydown storage would be erected as necessary to support craft labor.




                                                              17

                                                                                                             JA110
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                                       169 FERC ¶ 61,135
                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Neil Chatterjee, Chairman;
                               Richard Glick and Bernard L. McNamee.

         Corpus Christi Liquefaction Stage III, LLC                   Docket Nos. CP18-512-000
         Corpus Christi Liquefaction, LLC

         Cheniere Corpus Christi Pipeline, LP                                     CP18-513-000

               ORDER GRANTING AUTHORIZATIONS UNDER SECTIONS 3 AND 7
                             OF THE NATURAL GAS ACT

                                         (Issued November 22, 2019)

        1.     On June 28, 2018, Corpus Christi Liquefaction Stage III, LLC (CCL Stage III) and
        Corpus Christi Liquefaction, LLC (Corpus Christi Liquefaction) filed an application in
        Docket No. CP18-512-000, for authorization under section 3 of the Natural Gas Act
        (NGA)1 and Part 153 of the Commission’s regulations2 to site, construct, and operate
        additional facilities for the liquefaction and export of domestically-produced natural gas
        (Stage 3 LNG Project) at Corpus Christi Liquefaction’s existing liquefied natural gas
        (LNG) terminal on the northern shore of Corpus Christi Bay in San Patricio and Nueces
        Counties, Texas (Liquefaction Project). The proposed Stage 3 LNG Project consists of
        the addition of seven midscale liquefaction trains and one LNG storage tank.

        2.      In the same application, Cheniere Corpus Christi Pipeline, L.P. (Cheniere
        Pipeline) filed an application in Docket No. CP18-513-000, under NGA section 7(c),3 for
        a certificate of public convenience and necessity to construct and operate new interstate
        natural gas pipeline, compression, and related facilities in San Patricio County, Texas
        (Stage 3 Pipeline Project). The proposed Stage 3 Pipeline Project comprises a new 21-
        mile-long, 42-inch-diameter pipeline, additional compressor units at the existing Sinton
        Compressor Station, meter stations, and appurtenant facilities to transport 1.5 billion
        cubic feet per day (Bcf/d) of natural gas bi-directionally between the proposed Stage 3
        LNG Project facilities and interconnections with existing pipeline systems.


               1
                   15 U.S.C. § 717b (2018).
               2
                   18 C.F.R. pt. 153 (2019).
               3
                   15 U.S.C. § 717f.



                                                                                          JA111
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         3.     For the reasons discussed in this order, we will authorize CCL Stage III and
         Corpus Christi Liquefaction’s proposal under section 3 to site, construct, and operate the
         Stage 3 LNG Project. We will also grant Cheniere Pipeline’s requested authorizations
         under section 7(c) to construct and operate the Stage 3 Pipeline Project. These
         authorizations are subject to the conditions discussed herein.

         I.     Background

        4.     CCL Stage III, Corpus Christi Liquefaction, and Cheniere Pipeline are Delaware
        limited liability companies with their principal places of business in Houston, Texas, and
        are wholly owned indirect subsidiaries of Cheniere Energy, Inc. Cheniere Pipeline is a
        “natural gas company” within the meaning of section 2(6) of the NGA4 and is subject to
        the Commission’s jurisdiction. Because their operations will not be in interstate
        commerce, CCL Stage III and Corpus Christi Liquefaction will not be a “natural gas
        company” as defined in the NGA but are subject to the Commission’s jurisdiction under
        NGA section 3.

         5.     On December 30, 2014, the Commission issued an order5 authorizing Corpus
         Christi Liquefaction to site, construct, and operate the Liquefaction Project, which
         includes three LNG trains,6 each with a liquefaction capacity of approximately 5 million
         metric tons per annum (MMTPA); two trains of ambient air vaporizers, each with an
         average vaporization capacity of 200 MMcf/d of natural gas; three 160,000 cubic meter
         (m3) LNG storage tanks; and a marine terminal with two berths capable of receiving
         LNG carrier vessels. The Liquefaction Project is designed to export approximately 15
         MMTPA of LNG and vaporize approximately 400 million cubic feet per day (MMcf/d)
         of imported natural gas. Corpus Christi Liquefaction states that Cheniere Marketing,
         LLC7 will export the LNG by LNG carriers through Corpus Christi Bay.8 In February

                4
                    15 U.S.C. § 717a(6).
                5
                 Corpus Christi Liquefaction, LLC, 149 FERC ¶ 61,283 (2014) (2014 Order),
         reh’g denied, 151 FERC ¶ 61,098 (2015).
                6
                  An LNG “train” refers to the facility used to convert natural gas into LNG. The
         three-step process to convert natural gas into LNG includes: gas treatment (to remove
         impurities and water), gas compression, and refrigeration. After treatment, purified gas
         goes to the compressors to be transformed from gas into liquid by refrigeration to
         approximately -265 degrees Fahrenheit (ºF).
                7
                 Cheniere Marketing is an affiliate of Corpus Christi Liquefaction and Cheniere
         Pipeline and an indirect subsidiary of Cheniere Energy, Inc.
                8
                    Cheniere Marketing, LLC, DOE/FE Order No. 3164, FE Docket No. 12-99-




                                                                                            JA112
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         2015, Corpus Christi Liquefaction commenced construction of the Liquefaction Project.
         The first LNG train and loading berth as well as two of the full containment LNG storage
         tanks were placed into service during March 2019. The remaining two LNG trains, LNG
         storage tank, marine berth, and associated LNG facilities continue to be under
         construction.

         6.     The 2014 Order also authorized Cheniere Pipeline to construct and operate the
         Corpus Christi Pipeline, a 23-mile-long, 48-inch-diameter pipeline in San Patricio
         County, Texas, capable of transporting up to 2.25 Bcf/d of natural gas bi-directionally
         between the Liquefaction Project and existing interstate and intrastate natural gas pipeline
         systems in Sinton, Texas. The 2014 Order also authorized the construction and operation
         of the Sinton Compressor Station, metering and regulation stations (M&R) along the
         pipeline, and appurtenant facilities.9 Cheniere Pipeline received authorization from the
         Commission to place the Corpus Christi Pipeline in service on May 23, 2018.

         II.        Proposals

               A.       Stage 3 LNG Project (CP18-512-000)

         7.     The proposed Stage 3 LNG Project, an expansion of the Liquefaction Project
         currently under construction at the Corpus Christi LNG Terminal, would be located
         adjacent to the site of the Liquefaction Project in San Patricio County, Texas.
         Specifically, CCL Stage III proposes to construct seven midscale liquefaction trains




        LNG, Order Granting Long-Term, Multi-Contract Authorization to Export Liquefied
        Natural Gas by Vessel from the Proposed Corpus Christi Liquefaction Project to Free
        Trade Agreement Nations (Oct. 16, 2012), amended Cheniere Marketing, LLC, DOE/FE
        Order Nos. 3538 and 3164-A, FE Docket Nos. 12-97-LNG and 12-99-LNG, Order
        Amending Application in Docket No. 12-97-LNG to Add Corpus Christi LNG, LLC as
        Applicant, and Granting Request in DOE/FE Order No. 3164, Docket No. 12-99-LNG, to
        Add Corpus Christi Liquefaction, LLC as Authorization Holder (Oct. 29, 2014).
                    9
                 2014 Order, 149 FERC ¶ 61,283 at P 10, order vacating in part, 154 FERC
         ¶ 61,163 (2016).




                                                                                             JA113
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         which will liquefy the natural gas delivered to the facility,10 each with a nameplate
         production capacity11 of 1.36 MTPA and a maximum capacity of approximately 1.64
         MTPA of LNG. Each liquefaction train will consist of two liquefaction units, each with a
         nameplate capacity of 0.681 MTPA and a maximum capacity of approximately 0.82
         MTPA. The project will have the capacity to produce approximately 11.45 MTPA of
         LNG for export.

        8.     CCL Stage III also proposes to construct one 160,000 m3 full-containment tank,
        designed to store the LNG at a temperature range of -260ºF to -270ºF and with a normal
        operating pressure of 1.5 pounds per square inch gauge (psig) to a maximum internal
        pressure of 4.2 psig.

         9.     In addition to the above proposed facilities, Corpus Christi Liquefaction proposes
         to construct and operate new infrastructure at the Liquefaction Project. Specifically,
         Corpus Christi Liquefaction proposes to expand the Liquefaction Project’s control
         building to accommodate the Stage 3 LNG Project. Corpus Christi Liquefaction also
         proposes to install an LNG transfer line and various interconnects to connect the Stage 3
         LNG project to the Liquefaction Project and its storage tanks.

         10.    Corpus Christi Liquefaction and Cheniere Pipeline own the land that would be
         occupied by the Stage 3 LNG Project. The Stage 3 LNG Project will be located primarily
         within an area referred to as the Dredged Material Placement Area 2, which was
         authorized for dredge material placement in the Commission’s 2014 Order.12

         11.    CCL Stage III proposes to utilize the same marine terminal facilities for mooring
         and loading LNG carriers as the Liquefaction Project; therefore, no new marine facilities
         will be required for the Stage 3 LNG Project. LNG carriers will access the Stage 3 LNG

               10
                  Each train will contain: (1) facilities to remove carbon dioxide, hydrogen
        sulfide, and sulfur compounds from the feed gas; (2) facilities to remove water, mercury,
        and heavy hydrocarbons from the feed gas; (3) a thermal oxidizer for combusting waste
        gas; (4) electric-motor driven refrigerant compressors and associated cold boxes;
        (5) induced draft air coolers; (6) associated fire and gas safety systems; and (7) associated
        control systems and electrical infrastructure.
               11
                  Nameplate capacity is a rating that conservatively accounts for fuel, planned and
        unplanned shutdowns, production variations due to temperature and other conditions,
        LNG composition changes, boil-off, equipment aging, shipping constraints, and other
        factors for a calendar year, averaged over a 30-year operating cycle.
               12
                 See Environmental Impact Statement for the Corpus Christi LNG Project,
         Docket No. CP12-507-000, at 2-5 through 2-7 (October 8, 2014).




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        Project via a federally-maintained channel that extends from the open Gulf of Mexico,
        through the entrance jetties at Aransas Pass, along the Corpus Christi Ship Channel and
        up the La Quinta Ship Channel. CCL Stage III states that this is the same route that was
        analyzed by the United States Coast Guard (Coast Guard) for the Liquefaction Project.
        Once the Stage 3 LNG Project is completed, CCL Stage III anticipates an increase in the
        maximum marine vessel traffic of up to 100 LNG carriers per year, i.e., a total of up to
        400 LNG carriers per year as compared to the 300 LNG carriers per year anticipated for
        the existing facilities.

        12.     CCL Stage III received authorization from the Department of Energy, Office of
        Fossil Energy (DOE/FE) in November 2018 to export annually up to 582.14 Bcf
        equivalent of natural gas in the form of LNG to countries with which the United States
        has a Free Trade Agreement.13 In addition, CCL Stage III currently has pending before
        DOE/FE an application to export LNG to other nations with which the US permits such
        trade, but has not entered into a Free Trade Agreement.14

               B.         Stage 3 Pipeline Project (CP18-513-000)

         13.    In conjunction with the proposed Stage 3 LNG Project, Cheniere Pipeline requests
         authorization to construct, operate, and maintain the Stage 3 Pipeline, a 21-mile-long, 42-
         inch-diameter pipeline originating at Cheniere Pipeline’s existing Sinton Compressor
         Station in San Patricio County, Texas, and running parallel to Cheniere Pipeline’s
         existing Corpus Christi Pipeline. The pipeline will have a permanent right-of-way width
         of 50 feet that will overlap by 25 feet the existing Corpus Christi Pipeline right-of-way.
         The Stage 3 pipeline will be designed for a maximum allowable operating pressure of
         1,440 psig, and a capacity of approximately 1.5 Bcf/d. The pipeline will be capable of
         transporting natural gas bi-directionally between the Stage 3 LNG facilities and
         interconnections with existing pipeline systems.

         14.        Additionally, Cheniere Pipeline proposes to:

                             install two Titan 130E gas-fired compressor units at the Sinton Compressor
                              Station to generate an additional 44,000 horsepower (hp) (22,000 hp
                              each);15


                    13
                Corpus Christi Liquefaction Stage III, LLC, FE Docket No. 18-78-LNG, Order
        No. 4277 (November 9, 2018).
                    14
                         Id. at 3.
                    15
                Currently, the Sinton Compressor Station includes two Solar Titan 130 gas-fired
        compressor units (20,387 hp each) and two Solar electric motor drive compressor units




                                                                                                 JA115
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                        construct and operate one M&R station at the Stage 3 LNG Project (at MP
                         0.0) and two 750 MMcf/d M&R stations within the Sinton Compressor
                         Station;16

                        construct and operate permanent pig launcher/receiver facilities, located
                         within the Sinton Compressor Station boundary and within the Stage 3
                         LNG Project M&R station; and

                        install four new mainline valve facilities (MLVs): two of which will be
                         located at the inception and terminus of the pipeline, at mile point (MP) 0.0
                         and MP 21.0, respectively, the other two will be located along the Stage 3
                         Pipeline route at MP 7.3 and at MP 12.8. Since all four proposed MLVs
                         are within the permanent easement of the Stage 3 Pipeline, no additional
                         workspace will be required for their construction or operation.

         15.    Cheniere Pipeline conducted a binding open season from December 10, 2018, to
         December 21, 2018, for the purpose of soliciting interest from potential customers
         wishing to contract for the pipeline transportation capacity on the Stage 3 Pipeline. The
         open season resulted in the submission of one binding bid from CCL Stage III. On
         December 11, 2018, Cheniere Pipeline and CCL Stage III executed a binding precedent
         agreement for 100 percent of the firm transportation capacity for a term of twenty years.
         Pursuant to the agreement, CCL Stage III committed to 1,530,000 dekatherms per day
         (Dth/d) of firm transportation service on the Stage 3 Pipeline Project.

         16.     Cheniere Pipeline estimates the total cost of the Stage 3 Pipeline to be
         approximately $312,533,049.17 To recover the costs of the Stage 3 Pipeline Project,
         Cheniere Pipeline proposes to establish an initial incremental daily recourse reservation
         rate for service on the Stage 3 Pipeline project facilities under its existing firm
         transportation service (FTS) and interruptible transportation service (ITS) rate schedules
         as set forth in Cheniere Pipeline’s currently effective tariff.




         (14,800 hp each).
                16
                    The third party pipelines which will deliver project volumes to Cheniere
         Pipeline at the Sinton Compressor Station are currently unknown and will be determined
         later in the project development process.
                17
                     Cheniere Pipeline Application at Exhibit K.




                                                                                              JA116
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         III.       Public Notice, Interventions, and Comments

         17.    Notice of CCL Stage III, Corpus Christi Liquefaction, and Cheniere Pipeline’s
         joint application was issued on July 12, 2018, and published in the Federal Register on
         July 18, 2018.18 The notice established August 2, 2018, as the deadline for filing
         comments and interventions. Public Citizen, Inc. filed a timely, unopposed motion to
         intervene, which is granted by operation of Rule 214(c)(1) of the Commission’s Rules of
         Practice and Procedure.19

         IV.        Discussion

               A.         Stage 3 LNG Project (Docket No. CP18-512-000)

         18.    Because the proposed facilities will be used to export natural gas to foreign
         countries, the siting, construction and operation of the facilities require Commission
         approval under NGA section 3.20 Although section 3 provides that an application shall be
         approved unless the proposal “will not be consistent with the public interest,” section 3
         also provides that an application may be approved “in whole or in part, with such
         modification and upon such terms and conditions as the Commission may find necessary
         or appropriate.”21



                    18
                         83 Fed. Reg. 33,927 (2018).
                    19
                         18 C.F.R. § 385.214(c)(1) (2019).
                    20
                 The regulatory functions of NGA section 3 were transferred to the Secretary of
        Energy in 1977 pursuant to section 301(b) of the Department of Energy Organization
        Act, Pub. L. No. 95-91, 42 U.S.C. § 7101 et seq. In reference to regulating the imports or
        exports of natural gas, the Secretary subsequently delegated to the Commission the
        authority to approve or disapprove the construction and operation of natural gas import
        and export facilities and the site at which such facilities shall be located. The most recent
        delegation is in DOE Delegation Order No. 00-004.00A, effective May 16, 2006.
        Applications for authorization to import or export natural gas must be submitted to the
        Department of Energy (DOE). The Commission does not authorize importation or
        exportation of the commodity itself. See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-
        53 (D.C. Cir. 2016) (detailing how regulatory oversight for the export of LNG and
        supporting facilities is divided between the Commission and DOE).
                    21
                   15 U.S.C. §§ 717b(a) and 717b(e)(3). For a discussion of the Commission’s
         authority to condition its approvals of LNG facilities under section 3 of the NGA, see,
         e.g., Distrigas Corporation v. FPC, 495 F.2d 1057, 1063-64 (D.C. Cir. 1974), cert.




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         19.    As noted above, DOE/FE, pursuant to its authority under NGA section 3, has
         issued CCL Stage III authorization to export up to 582.14 Bcf equivalent of LNG by
         vessel to free trade nations from the proposed Stage 3 LNG Project in San Patricio and
         Nueces Counties, Texas.22 DOE/FE’s orders approving Stage 3 LNG Project’s export
         volumes state that “[i]n light of DOE’s statutory obligation to grant this Application
         without modification or delay, there is no need for DOE/FE to review other arguments
         asserted by CCL Stage III in support of the Application.”23

         20.    We have reviewed CCL Stage III and Corpus Christi Liquefaction’s application to
         determine if the siting, construction, and operation of its expansion of the existing LNG
         terminal as proposed would not be consistent with the public interest.24 The
         environmental assessment (EA) prepared by Commission staff regarding the proposed
         project finds that the Stage 3 LNG Project will be located almost entirely within the
         footprint of the previously-approved and currently-under-construction Corpus Christi
         Liquefaction site.25 Further, the impacts for the project are generally localized and within
         previously disturbed areas and would not be expected to contribute significantly to the
         cumulative impacts in the region26 or the quality of the human environment. 27



         denied, 419 U.S. 834 (1974), and Dynegy LNG Production Terminal, L.P., 97 FERC
         ¶ 61,231 (2001).
                22
                     DOE/FE Order No. 4277 at 10.
                23
                   Id. at 6-7. Section 3(c) of the NGA provides that the exportation and
         importation of natural gas to and from countries with which there is in effect a Free
         Trade Agreement “shall be deemed consistent with the public interest and applications
         for such importation and exportation shall be granted without modification or delay.”
         See 15 U.S.C. § 717b(c).
                24
                   See National Steel Corp., 45 FERC ¶ 61,100, at 61,332-33 (1988) (observing
         that DOE, “pursuant to its exclusive jurisdiction, has approved the importation with
         respect to every aspect of it except the point of importation” and that the “Commission’s
         authority in this matter is limited to consideration of the place of importation, which
         necessarily includes the technical and environmental aspects of any related facilities.”).
                25
                     EA at 50.
                26
                  Id. at 219. An additional 12.9 acres that were not previously impacted by the
         Liquefaction Project would be permanently impacted by the Stage 3 LNG Facilities.
                27
                     Id. at 244.




                                                                                             JA118
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         21.     In accordance with the Memorandum of Understanding signed on
         August 31, 2018, by the Commission and the Department of Transportation Pipeline and
         Hazardous Materials Safety Administration (PHMSA),28 PHMSA undertook a review of
         the proposed facility’s ability to comply with the federal safety standards contained in
         Part 193, Subpart B, of Title 49 of the Code of Federal Regulations.29 On May 20, 2019,
         PHMSA issued a Letter of Determination (LOD) indicating that CCL Stage III has
         demonstrated that the siting of its proposed LNG facilities comply with those federal
         safety standards. If the proposed Stage 3 LNG Project is subsequently modified so that it
         differs from the details provided in the documentation submitted to PHMSA, further
         review would be conducted by PHMSA.

         22.    Corpus Christi Liquefaction operates its existing facilities under the terms and
         conditions mutually agreed to by its customers. CCL Stage III is proposing similarly to
         operate its expansion of the approved LNG terminal under the terms and conditions
         mutually agreed to by its customers, and will solely bear the responsibility for the
         recovery of any costs associated with construction and operation of the terminal.

         23.    In view of the above, we find that CCL Stage III and Corpus Christi
         Liquefaction’s proposal is not inconsistent with the public interest. Therefore, we will
         grant their application for authorization under section 3 of the NGA to site, construct, and
         operate its proposed Stage 3 LNG Project.30

            B.         Stage 3 Pipeline (Docket No. CP18-513-000)

         24.     Because the Stage 3 Pipeline Project will be used to transport natural gas in
         interstate commerce subject to the jurisdiction of the Commission, the construction and

                 28
                  FERC, Memorandum of Understanding Between the Department of
         Transportation and the Federal Energy Regulatory Commission Regarding Liquefied
         Natural Gas Transportation Facilities (Aug. 31, 2018),
         https://www.ferc.gov/legal/mou/2018/FERC-PHMSA-MOU.pdf.
                 29
                      49 C.F.R. pt. 193, subpart B (2019).
                 30
                   The dissent alleges the Commission did not appropriately assess the public
         safety for the Stage 3 LNG Project because it did not discuss issues that occurred at
         another facility owned and operated by an affiliate of the applicant. The Commission
         considers each application on its merits. The record of this proceeding supports our
         opinion that the project is not inconsistent with the public interest. We also note that the
         Commission applies lessons learned at any LNG facility to all such facilities. As
         appropriate, any relevant information would be incorporated in the final design review of
         the project.




                                                                                             JA119
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         operation of the facilities are subject to the requirements of subsections (c) and (e) of
         section 7 of the NGA.31

                                Certificate Policy Statement

         25.    The Commission’s Certificate Policy Statement provides guidance for evaluating
         proposals to certificate new pipeline construction.32 The Certificate Policy Statement
         establishes criteria for determining whether there is a need for a proposed project and
         whether the proposed project will serve the public interest. The Certificate Policy
         Statement explains that in deciding whether to authorize the construction of major new
         pipeline facilities, the Commission balances the public benefits against the potential
         adverse consequences. The Commission’s goal is to give appropriate consideration to the
         enhancement of competitive transportation alternatives, the possibility of overbuilding,
         subsidization by existing customers, the applicant’s responsibility for unsubscribed
         capacity, the avoidance of unnecessary disruptions of the environment, and the unneeded
         exercise of eminent domain in evaluating new pipeline construction.

         26.     Under this policy, the threshold requirement for applicants proposing new projects
         is that the applicant must be prepared to financially support the project without relying on
         subsidization from its existing customers. The next step is to determine whether the
         applicant has made efforts to eliminate or minimize any adverse effects the project might
         have on the applicant’s existing customers, existing pipelines in the market and their
         captive customers, or landowners and communities affected by the route of the new
         facilities. If residual adverse effects on these interest groups are identified after efforts
         have been made to minimize them, the Commission will evaluate the project by
         balancing the evidence of public benefits to be achieved against the residual adverse
         effects. This is essentially an economic test. Only when the benefits outweigh the
         adverse effects on economic interests will the Commission proceed to consider the
         environmental analysis where other interests are addressed.

         27.    As discussed above, the threshold requirement for applicants proposing new
         projects is that the pipeline must be prepared to financially support the project without
         subsidization from existing customers. The Commission has determined that where a
         pipeline proposes to charge incremental rates for new construction that are higher than
         the company’s existing system rates, the pipeline satisfies the threshold requirement that


                31
                     15 U.S.C. §§ 717f(c) and 717f(e).
                32
                  Certification of New Interstate Natural Gas Pipeline Facilities, 88 FERC
        ¶ 61,227 (1999), clarified, 90 FERC ¶ 61,128, further clarified, 92 FERC ¶ 61,094 (2000)
        (Certificate Policy Statement).




                                                                                               JA120
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        the project will not be subsidized by existing shippers.33 As discussed below, Cheniere
        Pipeline is proposing an incremental recourse reservation rate of $3.8004/Dth to recover
        the costs of the Stage 3 Pipeline Project, which is higher than Cheniere Pipeline’s
        existing system-wide rate of $2.8172/Dth.34 Thus, there will be no subsidization of the
        expansion project by existing customers, satisfying the threshold requirement established
        by the Commission’s Certificate Policy Statement. Further, the Stage 3 Pipeline Project
        will not adversely impact existing customers service because the facilities are designed to
        provide the new incremental service while still providing the existing services. In
        addition, the Stage 3 Pipeline Project will not adversely affect existing pipelines and their
        captive customers. The Stage 3 Pipeline Project is designed to provide transportation of
        feed gas to CCL Stage III liquefaction facilities at the Corpus Christi LNG terminal and
        thus will not bypass any existing pipeline or provide service already provided by another
        pipeline facility. Further, no pipeline company or their captive customers have protested
        Cheniere Pipeline’s application.

        28.    We are also satisfied that Cheniere Pipeline has taken appropriate steps to
        minimize adverse impacts on landowners and surrounding communities. Approximately
        99 percent of the pipeline route will be collocated with the Corpus Christi Pipeline,
        thereby minimizing construction impacts and other adverse effects to nearby landowners
        and communities.35

        29.     Cheniere Pipeline’s proposed pipeline will enable it to transport gas to CCL Stage
        III’s proposed Stage 3 LNG Project, where the gas will be liquefied for export. Cheniere
        Pipeline has executed a precedent agreement with CCL Stage III for 100 percent of the
        transportation service provided by the capacity of the proposed facilities. Based on the
        benefits that will result from the project, with no adverse impacts on Cheniere Pipeline’s
        existing customers and other pipelines and their captive customers and minimal impacts
        on landowners and surrounding communities, we find that Cheniere Pipeline’s proposal
        is consistent with the Certificate Policy Statement, and, as conditioned in this order, is
        required by the public convenience and necessity.




               33
                    Gulf South Pipeline Company, LP, 163 FERC ¶ 61,124, at P 12 (2018).
               34
                 Cheniere Pipeline also proposes an authorized overrun charge of $0.1249 per
         Dth under Rate Schedule FTS and an incremental interruptible charge of $0.1249 per
         Dth.
               35
                    EA at 243.



                                                                                             JA121
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            C.        Rates

                      1.      Initial Rates

         30.    Cheniere Pipeline proposes to offer incremental transportation service on the Stage
         3 Pipeline under its existing Rate Schedules FTS and ITS, as set forth in its currently
         effective tariff. Cheniere Pipeline designed its incremental rates based on a proposed
         incremental cost of service of $69,775,132 and annual FTS reservation determinants of
         18,360,000 Dth (design capacity of 1,530,000 Dth times 12). Cheniere Pipeline proposes
         a firm incremental reservation charge of $3.8004 per Dth per month and an authorized
         overrun charge of $0.1249 per Dth under Rate Schedule FTS.

         31.    Additionally, Cheniere Pipeline proposes an incremental interruptible charge of
         $0.1249 per Dth based on a 100 percent load factor derivative of the Rate Schedule FTS
         rates. Cheniere Pipeline proposes zero variable costs, therefore the proposed incremental
         usage charge is $0.0000 per Dth.

        32.     The major cost components underlying Cheniere Pipeline’s proposed rates include
        a capital structure of 50 percent debt and 50 percent equity, a projected cost of debt of
        7.75 percent, and a return on equity of 14 percent. Cheniere Pipeline states this capital
        structure is in line with what has been approved by the Commission for other new
        pipeline projects.36 Cheniere Pipeline states its rates are based on a federal income tax
        rate of 21 percent and a Texas tax rate of zero percent. Cheniere Pipeline also proposes a
        depreciation rate of 4 percent.

                 Variable Costs

        33.     On December 7, 2018, the Commission issued a data request directing Cheniere
        Pipeline to provide a breakdown of projected Operation and Maintenance (O&M)
        expenses by FERC account number and labor and non-labor costs for the new pipeline
        facilities, compression, and measuring and regulating facilities. In its response, Cheniere
        Pipeline identified a total of $1,579,171 in non-labor O&M costs in Account Nos. 853,
        857, 864 and 865.37 Consistent with the Commission’s regulation requiring the use of


                 36
                  Application at 23 citing Rover Pipeline LLC, 158 FERC ¶ 61,109, at 76 (2017)
        (citing Florida Southeast Connection, LLC, 156 FERC ¶ 61,160, at P 25 (2016) (noting
        the Commission’s approval of 14 percent return on equity for greenfield pipelines based
        on a capital structure that contains no more than 50 percent equity)).
                 37
                Cheniere Pipeline’s December 12, 2018 response to Commission staff’s
         December 7, 2018 data request.




                                                                                            JA122
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        straight fixed-variable rate design (SFV),38 these costs are classified as variable costs and
        should not be recovered through the reservation charge.39 Accordingly, Cheniere Pipeline
        is directed to recalculate its incremental recourse reservation charge to recover only fixed
        costs when it files actual tariff records.

                Return on Equity

         34.    The Commission has generally approved higher rates of return on equity (ROE)
         for greenfield projects to reflect the higher risks associated with such projects.40 With
         respect to developing incremental rates for expansions of existing pipeline systems, our
         general policy is to use the rate of return components approved in the pipeline’s last NGA
         section 4 rate proceeding.41

         35.    Cheniere Pipeline has not filed an NGA section 4 rate case since it went into
         service. We find it is not appropriate to use the 14 percent ROE approved in Cheniere
         Pipeline’s initial certificate authorizations in determining the cost of service for the Stage
         3 Pipeline because it would not adequately reflect the lower risks associated with
         expanding an existing pipeline system. The Stage 3 Pipeline has more in common with
         the incremental expansions constructed by existing pipelines than with greenfield
         pipeline projects, and, because Cheniere Pipeline does not have an ROE established in an
         NGA section 4 rate case, we find that it is more appropriate to use the most recent ROE
         approved in a litigated NGA section 4 rate case as the ROE for designing the incremental

         rates for this project.42 This is the approach the Commission has adopted in determining
         the ROE to be used in developing initial rates for other projects where the pipeline does
         not have an ROE on file, such as existing facilities being acquired by a new interstate
         pipeline, and the Commission believes it is appropriate to use in these circumstances.43

                38
                     18 C.F.R. § 284.7(e) (2019).
                39
                Columbia Gulf Transmission, LLC, 152 FERC ¶ 61,214 (2015); and Dominion
        Transmission, Inc., 153 FERC ¶ 61,382 (2015).
                40
                     See, e.g., PennEast Pipeline Co., LLC, 162 FERC ¶ 61,053 (2018).
                41
                  See, e.g., Transcontinental Gas Pipe Line Co., 161 FERC ¶ 61,250 (2017),
         order on reh’g; Transcontinental Gas Pipe Line Co., 158 FERC ¶ 61,125 (2016).
                42
                 Sierrita Gas Pipeline LLC, 165 FERC ¶ 61,001, at n.27 (2018); Alliance
        Pipeline L.P., 140 FERC ¶ 61,212, at PP 18-20 (2012).
                43
                     Florida Southeast Connection, LLC, 164 FERC ¶ 61,091, at P19 (2018).




                                                                                               JA123
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         The last applicable litigated ROE is 10.55 percent, as approved in El Paso Natural Gas
         Co.44 Therefore, we will require Cheniere Pipeline to revise its proposed incremental
         recourse rates to reflect this revised ROE.

                Interruptible Rate

         36.     Cheniere Pipeline proposes to charge an incremental interruptible transportation
         rate of $0.1249 per Dth for service on the Stage 3 Pipeline. However, for integrated
         incremental expansions such as this, Commission policy is to require a pipeline to charge
         its current system interruptible rate for any interruptible service rendered on additional
         capacity made available as a result of an incremental expansion that is integrated with
         existing pipeline facilities.45 This is because the pipeline generally is unable to determine
         whether the capacity available on a given day is due to the existing facilities or to the
         new, integrated expansion. Therefore, Cheniere Pipeline’s proposal to charge a separate
         Stage 3 Pipeline interruptible rate is rejected, and Cheniere Pipeline is directed to revise
         its proposal accordingly.

         37.    We have reviewed Cheniere Pipeline’s proposed cost of service, allocation, and
         rate design used to develop the incremental rates and find that, with the exception of the
         items discussed above, they reasonably reflect current Commission policy. As the
         proposed incremental reservation charge, revised to reflect the appropriate return on
         equity and the recovery of only fixed costs, appears to be higher than Cheniere Pipeline’s
         existing firm transportation system-wide rate of $2.8172 per Dth per month, we will
         approve Cheniere Pipeline’s use of incremental reservation rates for the Stage 3 Pipeline.

                      2.    Fuel

        38.    Cheniere Pipeline proposes to charge an incremental fuel retainage percentage for
        the Stage 3 Pipeline of 0.70 percent. Cheniere Pipeline states the fuel retainage
        percentage is applicable to fuel, loss and unaccounted for (LAUF) gas, and any
        imbalances due to meter equipment tolerances between receipt and delivery point meters.
        The currently effective fuel retainage percentage is 0.50 percent. In a November 16,
        2018 response to a staff data request, Cheniere Pipeline explained that the proposed
        incremental retainage percentage was calculated from the expected additional horsepower
        requirements for the incremental capacity based on the average fuel gas requirements of
        the summer and peak scenarios.46 Cheniere Pipeline states that it will continue to adjust

                44
                     145 FERC ¶ 61,040, at P 642 (2013), reh’g denied, 154 FERC ¶ 61,120 (2016).
                45 See, e.g., Gulf South Pipeline Co., LP, 163 FERC ¶ 61,124, at P 26. (2018);

         Texas Eastern Transmission, LP, 139 FERC ¶ 61,138, at P 31 (2012).
                46
                     Cheniere Pipeline Data Response No. 1 at 1. Cheniere Pipeline calculated a




                                                                                              JA124
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         its fuel retainage percentage semi-annually to better align fuel usage and retainage. The
         Commission accepts Cheniere Pipeline’s proposed incremental fuel retention percentage
         for the Stage 3 Pipeline Project.

                     3.    Reporting Incremental Costs

        39.     Section 154.309 of the Commission’s regulations includes bookkeeping and
        accounting requirements applicable to all expansions for which incremental rates are
        charged to ensure that costs are properly allocated between pipelines’ existing shippers
        and incremental expansion shippers.47 Therefore, Cheniere Pipeline must keep separate
        books and accounting of costs and revenues attributable to the Stage 3 Pipeline Project,
        as required by section 154.309 of the Commission’s regulations. The books should be
        maintained with applicable cross-references as required by section 154.309. This
        information must be in sufficient detail so that the data can be identified in Statements G,
        I, and J in any future NGA section 4 or 5 rate case, and the information must be provided
        consistent with Order No. 710.48

        V.     Environmental Analysis

        40.     On August 17, 2015, the Commission issued a Notice of Intent to Prepare an
        Environmental Assessment for the Proposed Stage 3 Project and Request for Comments
        on Environmental Issues (NOI).49 The NOI was published in the Federal Register50 and
        mailed to interested parties including federal, state, and local officials; agency
        representatives; environmental and public interest groups; Native American tribes; local
        libraries and newspapers; and affected property owners. We received comments in
        response to the NOI from the U.S. Fish and Wildlife Service (FWS), Federal Emergency
        Management Agency (FEMA), U.S. Environmental Protection Agency (EPA), and Texas
        Parks and Wildlife Department. The primary issues raised during the scoping process
        included alternatives, as well as impacts on water quality and supply, wetlands,


        summer Fuel and LAUF usage of 0.69 percent and a peak winter Fuel and LAUF usage
        of 0.72 percent; the average Fuel and LAUF usage for the incremental project is 0.70
        percent, as proposed.
               47
                    18 C.F.R. § 154.309 (2019).
               48
                 Revisions to Forms, Statements, and Reporting Requirements for Natural Gas
        Pipelines, Order No. 710, 122 FERC ¶ 61,262, at P 23 (2008).
               49
                   The proposed Stage 3 LNG and Stage 3 Pipeline facilities are collectively
         referred to herein as the Stage 3 Project.
               50
                    80 Fed. Reg. 50,843 (2015).



                                                                                            JA125
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        vegetation, wildlife and habitats, migratory birds, land use plans, floodplains,
        socioeconomics, cultural resources, air quality, and climate change.

        41.     To satisfy the requirements of the National Environmental Policy Act of 1969, our
        staff prepared an Environmental Assessment (EA) for CCL Stage III, Corpus Christi
        Liquefaction, and Cheniere Pipeline’s (collectively, Cheniere) proposal. The EA was
        prepared with the cooperation of the U.S. Army Corps of Engineers, EPA, U.S.
        Department of Energy, USDOT, Coast Guard, and FWS. The analysis in the EA
        addresses geology, soils, water resources, wetlands, vegetation, fisheries, wildlife,
        threatened and endangered species, land use, recreation, visual resources, cultural
        resources, air quality, noise, safety, socioeconomics, cumulative impacts, and
        alternatives. All substantive comments received in response to the NOI were addressed
        in the EA.

        42.    The EA was issued for a 30-day comment period and placed into the public record
        on March 29, 2019. Comments were received from the Texas Commission on
        Environmental Quality (TCEQ) on April 16, 2019, from CCL Stage III on April 29,
        2019, and from the EPA and FEMA on April 30, 2019. EPA stated that the agency has
        no comments on the EA; all other comments are addressed below.

               TCEQ Comments

        43.    The TCEQ recommends that best management practices be used to control runoff
        from construction sites to prevent detrimental impacts to surface and ground water.
        Sections 8.2.1 (General Construction Procedures) and 3.0 (Water Resources) of the EA
        discuss the best management practices outlined in the Upland Erosion Control,
        Revegetation, and Maintenance Plan (Plan) and the Wetland and Waterbody
        Construction and Mitigation Procedures (Procedures) and erosion controls such as silt
        fences, straw bales, and hay bales, which would reduce the runoff velocity and divert
        water off the construction right-off-way. In addition, Cheniere Pipeline has a Storm
        Water Pollution Prevention Plan for managing stormwater runoff during construction and
        operation. We find that the measures included in the Plan, Procedures and Storm Water
        Pollution Prevention Plan are sufficient to minimize detrimental impacts to surface and
        groundwater from runoff from construction areas.

               FEMA Comments

        44.    FEMA requests that CCL Stage III and Cheniere Pipeline contact the Community
        Floodplain Administrators to review permit requirements for the Stage 3 Project. CCL
        Stage III and Cheniere Pipeline are directed to submit documentation to verify that they
        have contacted the Community Floodplain Administrators in accordance with FEMA’s
        request.




                                                                                           JA126
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        45.    FEMA also requests that CCL Stage III comply with Executive Orders 11988 and
        11990, if applicable.51 CCL Stage III and Cheniere Pipeline must file with the Secretary
        of the Commission documentation that it has received all applicable authorizations
        required under federal law (or evidence of waiver thereof), as required by Environmental
        Condition No. 10 in the appendix to this order.

              CCL Stage III Comments

        46.     CCL Stage III indicates that it will file a plan for containment and disposal of
        affected groundwater that may be encountered in the course of construction, but requests
        that the Commission eliminate reference to consultation with TCEQ, as proposed in
        Environmental Recommendation No. 15 of the EA.52 CCL Stage III said that this plan
        will be developed in compliance with TCEQ regulations (specifically, Texas
        Administrative Code Title 30 Chapter 335 – Industrial Solid Waste and Municipal
        Hazardous Waste) and guidance for waste classification. However, CCL Stage III avers
        that these regulations and guidance are self-implementing and do not require consultation
        with TCEQ.

        47.     Based on information provided by CCL Stage III, a portion of the proposed project
        area is part of on-going groundwater remediation efforts which are managed by the
        TCEQ. The EA explains that construction activities, including the installation of ground
        improvement columns and dewatering, within areas of known groundwater
        contamination could further the spread of the contamination if special construction and
        material handling methods are not utilized. Therefore, we agree with the EA’s
        recommendation that CCL Stage III consult with the TCEQ to ensure that CCL Stage
        III’s proposed groundwater containment and disposal guidelines and practices are
        conducive to continued groundwater remediation. CCL Stage III is required to consult
        with TCEQ, as required by Environmental Condition No. 15 in the appendix to this order.

        48.     CCL Stage III also requests that the timing of complying with the EA’s
        Environmental Recommendation Nos. 24, 25, and 27 be modified, from “prior to initial
        site preparation” to “prior to construction of final design.” Environmental

              51
                Executive Order 11988 (Floodplain Management), 42 Fed. Reg. 26,951 (1977);
        Executive Order 11990 (Protection of Wetlands), 42 Fed. Reg. 26,961 (1977).
              52
                 Environmental Recommendation No. 15 states: “Prior to construction of the
        Stage 3 LNG Facilities, CCL Stage III shall file with the Secretary, for review and
        written approval by the Director of the OEP, groundwater containment and disposal
        guidelines and practices that will be implemented during construction in areas of known
        groundwater contamination. CCL Stage III shall develop the groundwater containment
        and disposal guidelines and practices in consultation with the TCEQ, and its filing shall
        include documentation of its consultation with TCEQ.”



                                                                                           JA127
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         Recommendation No. 24 would require that, prior to initial site preparation, CCL Stage
         III provide documentation of consultation with the USDOT Pipeline and Hazardous
         Materials Safety Administration (PHMSA) on whether using normally-closed valves as a
         stormwater removal device on curbed areas will meet the requirements of 49 C.F.R. Part
         193 (section B.9.1.6). CCL Stage III contends that the use of closed drain valves as a
         stormwater removal device on curbed areas is more closely related to installation of
         piping and equipment than it is initial site preparation. We agree and have revised
         Environmental Condition No. 24 in the appendix to this order accordingly.

         49.     The EA’s Environmental Recommendation No. 25 would require that prior to
         initial site preparation, CCL Stage III provide supplemental geotechnical investigations
         for Trains 5 through 7, remaining portions of Train 4, LNG tank area, and flare areas.
         CCL Stage III contends that the geotechnical investigations to be conducted for Trains 5
         through 7 and remaining portions of Train 4 are more closely related to installation of
         foundations than initial site preparation. Soil improvement, which would be influenced
         by the results of geotechnical investigations, is considered by the Commission to be an
         initial site preparation activity. However, performing the geotechnical investigation prior
         to the placement of soils beneath Trains 5 through 7 would provide incomplete
         information due to the placement of fill material during site preparation activities for the
         areas mentioned above. Therefore, CCL Stage III must file a schedule and scope of work
         for a supplemental geotechnical investigation prior to initial site preparation, and then file
         the supplemental geotechnical investigation for the discussed areas prior to construction
         of final design. Environmental Condition Nos. 25 and 26 in the appendix to this order
         reflect these requirements.

        50.     Environmental Recommendation No. 27 requires that, prior to initial site
        preparation, CCL Stage III provide the upper limit for total settlement for large flexible
        foundations and the maximum total edge settlement at the proposed project area for the
        LNG tanks that the Controlled Modulus Columns will be designed to satisfy (EA section
        B.9.1.6). CCL Stage III contends that the requested settlement information is more
        closely related to construction of foundations than initial site preparation. In addition,
        CCL Stage III states that this information will be developed in support of detailed design
        and is not expected to be available prior to the commencement of initial site preparation,
        and thus the time frame for this recommendation should be changed from “prior to initial
        site preparation” to “prior to construction of final design.” The settlement limits would
        be a consideration and bounding condition for foundation design and, as it is necessary to
        verify if ground improvement is sufficient based on the conditions present on the site, we
        find that the current timing of this requirement is appropriate and adopt it as
        Environmental Condition No. 28 in the appendix to this order.

         51.    Additionally, CCL Stage III requests that we revise the standard applicable to
         structures not covered by USDOT PHMSA’s Letter of Determination (LOD), as well as
         modify the timing of complying to the EA’s recommended Environmental Condition




                                                                                               JA128
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        No. 32 (from “American Society of Civil Engineers (ASCE) 7-16” to “ASCE 7-05” and
        “prior to initial site preparation” to “prior to construction of final design”).
        Environmental Recommendation No. 32 requires that CCL Stage III provide its design
        wind speed criteria for all other facilities not covered by USDOT PHMSA’s LOD to be
        designed to withstand wind speeds commensurate with the risk and reliability associated
        with the facilities in accordance with ASCE 7-16 or equivalent prior to initial site
        preparation.53 CCL Stage III contends that ASCE 7-16 is not applicable to the proposed
        project and that the wind speed criteria for CCL Stage III would conform with all
        applicable codes and standards to withstand wind speeds commensurate with the risk and
        reliability associated with the facilities covered and not covered by USDOT PHMSA’s
        LOD in accordance with ASCE 7-05 and thus, it requests that the environmental
        recommendation be revised to reference ASCE 7-05 or equivalent rather than ASCE 7-
        16. While USDOT PHMSA’s LOD would apply 49 C.F.R. § 193.2067 to facilities that
        fall under their jurisdiction, structures that do not fall under that jurisdiction should be
        designed to ASCE 7-16, as that would result in a more conservative wind load than those
        developed by ASCE 7-05 after importance factors are applied, as stated in the
        application, and an overall safer design. We note that CCL Stage III filed an updated
        wind design category table that is inconsistent with what was filed in the application and
        what was filed with DOT PHMSA.54 Based on the updated table, certain structures
        would have adequate wind speed design criteria, but other structures would not have
        sufficient wind speed criteria applied. In addition, we disagree that the determinations to
        wind speed design criteria are more closely related to detailed foundation and structural
        design than initial site preparations as the recommendation speaks to the basis of design,
        not the final requirements. Therefore, we find that the current application of ASCE 7-16
        to apply to structures not covered by USDOT PHMSA’s LOD, as well as the current
        timing recommended in the EA, is appropriate and adopt the EA’s recommended
        requirements as Environmental Condition No. 33 in the appendix to this order.

         52.    CCL Stage III requests we remove three engineering information requests (EIRs)
         from the EA’s Environmental Recommendation No. 36 (EIR Nos. 27, 34, and 64).
         Environmental Recommendation No. 36 requires that CCL Stage III file
         information/revisions pertaining to its response to various EIRs prior to construction of
         final design. CCL Stage III contends that it filed complete responses to EIR Nos. 27, 24,
         and 64 of staff’s January 3, 2019 data request in filings dated January 23, 2019
         (Comment No. 64) and February 22, 2019 (Comment Nos. 27 and 34); thus, EIR Nos. 27,
         34, and 64 should be removed from Environmental Recommendation No. 36. According
         to CCL Stage III, CCL Stage III’s January 23, 2019 response regarding EIR 64 states that
         wind design criteria would be included in the engineering procurement, and construction

               53
                    EA at 196.
               54
                    Comments filed by CCL Stage III on April 29, 2019.



                                                                                            JA129
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        firm’s basis of design documents. Once this information is provided in the final design,
        this item will be closed. Regarding EIR 27 and EIR 34, we have confirmed that the
        responses provided by CCL Stage III provided on February 22, 2019 are sufficient.
        However, additional information is needed with regards to EIR 64. We have revised the
        condition accordingly as Environmental Condition No. 37 in the appendix to this order.

        53.    CCL Stage III requests that we fix a typographical mistake in the EA’s
        Environmental Recommendation No. 61. In its comments, CCL Stage III notes that the
        code applicable to this recommendation is American Petroleum Institute (API) standard
        661, not API 662. We have revised the condition accordingly and adopt it as
        Environmental Condition No. 62 in the appendix to this order.

        54.    We have also modified Environmental Condition 96 to clarify the requirements for
        active and passive mitigation for pool and jet fires and to provide more flexibility in
        demonstrating the effectiveness of the mitigation for pool and jet fires.

        55.    In addition, CCL Stage III provided corrections and clarifications on certain air
        quality sections of the EA. We acknowledge these comments, but find that these
        corrections and clarifications do not change any of the findings in the EA, including the
        conclusion that emissions associated with construction and operation of the project,
        including emissions associated with anticipated LNG carrier calls, would not have a
        significant impact on local or regional air quality.55

        Updated Greenhouse Gas (GHG) Emissions

        56.    The EA discloses the GHG emissions from construction and operation of the
        Stage 3 Project,56 the climate change impacts in the region,57 and the regulatory structure
        for GHGs under the Clean Air Act.58 Specifically, the Stage 3 LNG Project EA estimates
        that operation of the project, including the terminal expansion, modifications to the
        Sinton Compressor Station, fugitive emissions from pipeline operations, and marine
        emissions, will result in direct and indirect GHG emissions of up to 619,700 metric tons
        per year of carbon dioxide equivalent (CO2e). To put that into context, we note that
        according to the national net CO2e emissions estimate in the EPA’s Inventory of U.S.
        Greenhouse Gas Emissions and Sinks (EPA 2019), 5.743 billion metric tons of CO2e

               55
                    EA at 132.
               56
                    Id. 121-132.
               57
                    Id. at 233-236.
               58
                    Id. at 113, 115, 117-118.




                                                                                           JA130
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        were emitted at a national level in 2017 (inclusive of CO2e sources and sinks).59 The
        direct and indirect operational emissions of the terminal expansion and modifications to
        the Sinton Compressor Station could potentially increase CO2e emissions based on the
        2017 levels by 0.01 percent at the national level. Currently, there are no national targets
        to use a benchmarks for comparison.60

        57.    The EA also includes a qualitative discussion that discloses various effects of
        climate change.61 The EA acknowledges that the GHG emissions, such as those emitted
        from the construction and operation of the project will contribute incrementally to climate
        change.62 The Commission has previously concluded it could not determine a project’s
        incremental physical impacts on the environment caused by GHG emissions.63 We have
        also previously concluded it could not determine whether a project’s contribution to
        climate change would be significant.64 That situation has not changed.

        58.    On June 11, 2019, Corpus Christi Liquefaction submitted a letter outlining the
        Liquefaction Project’s construction and in-service schedule updates. Accordingly, in
        Table 1 below we provide information on the overlapping of emissions from
        construction, commissioning, and operation activities for the Liquefaction Project and
        Stage 3 Project.

        59.   Table 1 reflects Trains 1 and 2 commencing operations in 2019, and Train 3
        commencing operation in 2021. Thus, in 2019, 2020, and 2021, construction,
        commissioning, and operational emissions for the Liquefaction Project would occur
        concurrently with construction emissions for the Stage 3 Project. In 2022 and 2023,

               59
                 EPA, Inventory of U.S. Greenhouse Gas Emissions and Sinks 1990-2017 at
         ES6-8 (Table ES-2), https://www.epa.gov/sites/production/files/2019-04/documents/us-
         ghg-inventory-2019-main-text.pdf (accessed June 2019).
               60
                  The national emissions reduction targets expressed in the EPA’s Clean Power
         Plan were repealed, Greenhouse Gas Emissions From Existing Electric Utility Generating
         Units; Revisions to Emissions Guidelines Implementing Regulations, 84 Fed. Reg.
         32,520, 32,522-32,532 (July 8, 2019), and the targets in the Paris climate accord are
         pending withdrawal.
               61
                    EA at 233-236.
               62
                    Id. at 235.
               63
               Dominion Transmission, Inc., 163 FERC ¶ 61,128, at PP 67-70 (2018) (LaFleur,
        Comm’r, dissenting in part; Glick, Comm’r, dissenting in part).
               64
                    Id.



                                                                                            JA131
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         emissions from operation of Liquefaction Project Trains 1, 2, and 3 would occur
         concurrently with emissions from construction, commissioning, and operation of the
         Stage 3 Project. Table 1 shows the overlapping emissions from construction,
         commissioning, and operation activities for the Liquefaction Project and the Stage 3
         Project by year. Since all construction activities for the Stage 3 Project would be
         completed in 2023, 2024 would be the first full year of operation for both the
         Liquefaction Project and the Stage 3 Project.

         60.   In 2024, the majority of emissions shown in Table 1 would be generated by the
         Liquefaction Project. For example, the Liquefaction Project would be responsible for
         approximately 85 percent of the total GHG (CO2e) emissions shown in Table 1 for that
         year. The Stage III Project would have a smaller contribution of GHG compared to the
         Liquefaction Project.



                                               TABLE 1.
    Liquefaction Project and Stage 3 Project Combined Construction, Commissioning, and Operation
                                             Emissions (tpy)
                                                       Pollutant
       Year                                                                    Total
                      NOx        VOC        CO       SO2       PM10   PM2.5               CO2ea
                                                                               HAPs
       2019b         2,136       226       3,215      95       1,260   212       18     1,630,452
       2020c          2,654        234       2,696       101        815       185        24         2,518,222
       2021d          2,427        233       3,246        91        409       127        30         2,637,328
       2022e          2,930        492       2,816        77        376       143        39         3,899,949
       2023f          2,948         961       2,746       97        376        139         39    4,280,839
             g
       2024
        (full         2,955         314       3,508      116        125        124         40    4,201,607
     operation)
   ______________________
   a
     Metric tons
   b
     2018 construction emissions from Table 4.11-4 from the Liquefaction Project final EIS (FERC, 2014)
   plus commissioning emissions for Trains 1 and 2 from Table 4.11-8 of the Liquefaction Project final
   EIS plus operation emissions for Trains 1 and 2 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS plus construction emissions from the Stage 3 Project for 2019.
   c
     2019 construction emissions from Table 4.11-4 from the Liquefaction Project final EIS (FERC, 2014)
   plus operation emissions for Trains 1 and 2 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS plus construction emissions from the Stage 3 Project for 2020.
   d
     2020 construction emissions from Table 4.11-4 from the Liquefaction Project final EIS (FERC, 2014)
   plus commissioning emissions for Train 3 from Table 4.11-8 of the Liquefaction Project final EIS plus



                                                                                          JA132
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   operation emissions for Trains 1, 2, and 3 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS plus construction emissions from the Stage 3 Project for 2021.
   e
     Operation emissions for Trains 1, 2, and 3 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS (FERC, 2014) plus construction, commissioning, and operation emissions
   from the Stage 3 Project for 2022.
   f
     Operation emissions for Trains 1, 2, and 3 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS (FERC, 2014) plus construction, commissioning, and operation emissions
   from the Stage 3 Project for 2023.
   g
     Operation emissions for Trains 1, 2, and 3 from Tables 4.11-6, 4.11-9, 4.11-10, and 4.11-12 of the
   Liquefaction Project final EIS (FERC, 2014) plus operation emissions from the Stage 3 Project.



        61.     Based on the analysis in the EA, as updated with the information in this order, we
        conclude that if constructed and operated in accordance with Cheniere’s application and
        supplements, and in compliance with the environmental conditions in the appendix to this
        order, our approval of this proposal would not constitute a major federal action
        significantly affecting the quality of the human environment. Compliance with the
        environmental conditions appended to our orders is integral to ensuring that the
        environmental impacts of approved projects are consistent with those anticipated by our
        environmental analyses. Thus, Commission staff carefully reviews all information
        submitted. Commission staff will only issue a construction notice to proceed with an
        activity when satisfied that the applicants have complied with all applicable conditions.
        We also note that the Commission has the authority to take whatever steps are necessary
        to ensure the protection of environmental resources during construction and operation of
        the project, including authority to impose any additional measures deemed necessary to
        ensure continued compliance with the intent of the conditions of the order, as well as the
        avoidance or mitigation of unforeseen adverse environmental impacts resulting from
        project construction and operation.

        62.    Any state or local permits issued with respect to the jurisdictional facilities
        authorized herein must be consistent with the conditions of this authorization. We
        encourage cooperation between jurisdictional companies and local authorities. However,
        this does not mean that state and local agencies, through application of state or local laws,
        may prohibit or unreasonably delay the construction or operation of facilities approved by
        this Commission.65


               65
                  See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted) and Dominion




                                                                                             JA133
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         63.    At a hearing held on November 21, 2019, the Commission on its own motion
         received and made a part of the record in this proceeding all evidence, including the
         application, and exhibits thereto, and all comments, and upon consideration of the record,

         The Commission orders:

                 (A) In Docket No. CP18-512-000, CCL Stage III and Corpus Christi
         Liquefaction are authorized under section 3 of the NGA to site, construct, and operate the
         proposed project located in San Patricio County, Texas, as described and conditioned
         herein, and as more fully described in the application and supplements, including any
         commitments made therein, and subject to the environmental conditions contained in the
         appendix to this order.
                 (B) CCL Stage III’s and Corpus Christi Liquefaction’s proposed liquefaction
         facilities shall be constructed and made available for service within five years of the date
         of this order.

                (C) In Docket No. CP18-513-000, a certificate of public convenience and
         necessity under section 7(c) of the NGA is issued to Cheniere Pipeline authorizing it to
         construct and operate the proposed project, as described and conditioned herein, and as
         more fully described in Cheniere Pipeline’s application and supplements, including any
         commitments made therein.

                (D)    The certificate authorized in Ordering Paragraph (C) above is conditioned
         on:

                       (1)    Cheniere Pipeline’s facilities being constructed and made available
                              for service within five years of the date of this order;

                       (2)    Cheniere Pipeline’s compliance with all applicable Commission
                              regulations under the NGA, particularly the general terms and
                              conditions set forth in Parts 154, 157, and 284, and paragraphs (a),
                              (c), (e), and (f) of section 157.20 of the regulations;

                       (3)    Cheniere Pipeline’s compliance with the environmental conditions
                              contained in the appendix to this order.

                (E)    Cheniere Pipeline’s proposed incremental recourse reservation and


         Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
         local regulation is preempted by the NGA to the extent it conflicts with federal
         regulation, or would delay the construction and operation of facilities approved by the
         Commission).



                                                                                             JA134
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         authorized overrun charges are approved as initial rates for the Stage 3 Pipeline, as
         conditioned above.

               (F)     Cheniere Pipeline’s proposed incremental fuel retainage percentage is
         approved.

                 (G) Cheniere Pipeline shall file actual tariff records with the incremental initial
         rates at least 60 days prior to the date the project facilities go into service.

                 (H) Cheniere Pipeline shall keep separate books and accounts of costs
         attributable to the proposed incremental services, as described above.

                (I)     CCL Stage III, Corpus Christi Liquefaction, and Cheniere Pipeline shall
        notify the Commission’s environmental staff by telephone or e-mail of any
        environmental noncompliance identified by other federal, state, or local agencies on the
        same day that such agency notifies CCL Stage III, Corpus Christi Liquefaction, or
        Cheniere Pipeline. CCL Stage III, Corpus Christi Liquefaction, and Cheniere Pipeline
        shall file written confirmation of such notification with the Secretary of the Commission
        within 24 hours.

        By the Commission. Commissioner Glick is dissenting with a separate statement
                           attached.

        (SEAL)




                                                        Kimberly D. Bose,
                                                           Secretary.




                                                                                             JA135
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                           FEDERAL ENERGY REGULATORY COMMISSION
                                          WASHINGTON, D.C. 20426



        OFFICE OF ENERGY PROJECTS
                                                         Reply Refer To:
                                                         OEP/DG2E/Gas Branch 2
                                                         Corpus Christi Liquefaction Stage III,
                                                         LLC
                                                         Docket No. CP18-512-000

        January 10, 2020

        VIA FERC Service

        Akayla Broussard
        Cheniere Energy, Inc.
        7000 Milam Street, Suite 800
        Houston, TX 77002

         RE:   Authorization to Proceed with Early Works

         Dear Ms. Broussard:

                I grant your December 20, 2019 request for Corpus Christi Liquefaction Stage III,
        LLC (CCL) to proceed with early works within the Stage 3 LNG Facilities which include:
        pile testing activities, soil stabilization tests, and testing of dewatering techniques. In
        considering this authorization, we have reviewed CCL’s Implementation Plan (IP) A filed
        on December 13, 2019, IP A-1 filed on December 20, 2019, and a supplemental filing
        filed on January 8, 2020.

               These filings included the information necessary to meet the conditions of the
        Federal Energy Regulatory Commission’s (FERC or Commission) November 22, 2019
        Order Granting Authorization Under Sections 3 and 7of the Natural Gas Act (Order) to
        CCL, in the above- referenced docket. We have confirmed the receipt of all federal
        authorizations relevant to the approved activities herein.

                Site preparation and construction of facilities of the Corpus Christi Stage 3 LNG
        Facilities are not authorized at this time. Additional authorizations will be released once
        Cheniere has demonstrated full compliance with the conditions of the Order.




                                                                                            JA136
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               I remind you that CCL must comply with all applicable remaining terms and
        conditions of the Order. If you have any questions regarding this approval, please
        contact Kandilarya Barakat at (202) 502-6365.

                                           CREATE A HANDWRITTEN ELECTRONIC SIGNATURE

                                                             Sincerely,



                                                           Eric Howard, Chief
                                        SIGNER             Gas Branch 2
                                        •  PRINT this page Division of Gas – Environment and
                                        • FIND a fine-tipped Engineering
                                                             black marker or pen that writes thick, solid, and dark (a
                                          regular pen is not thick and dark enough)
                                        • PLACE a piece of paper over this page so you can see the box underneath
                                        • SIGN your name completely within the box
                                        • REPEAT/PRACTICE until you have a nice, clean, dark signature completely
                                          within the box
                                        • IDENTIFY which signature is the 'good' one on the page (draw an arrow to
                                          it- but not too close to the signature- defmitely not inside the box)
                                        • DELIVER to the admin staff for your group

                                        ADMIN
                                        • SCAN each signed page separately- if given the choice choose .pdf file format
                                        (directions for using the copy machines to scan can be found here: Use Copy
                                        Machine as Scanner)
                                        • SAVE each file with the name of the staff person and 'Signature' (i.e.
                                            JaneDoeSignature.pdf)
                                        o OPEN the .pdf file in Adobe
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                                            section, choose CROP
                                        • DRAW a box around the identified "good" signature
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                                        • You should now have just the signature with a white background
                                        • SAVE the file to save the changes
                                        • EMAIL the file to staff with the subject: [Staff Name] Signature

                                        SIGNER
                                        • Once you receive the email with your signature SAVE the file somewhere on
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                                       WASHINGTON, D.C. 20426



        OFFICE OF ENERGY PROJECTS
                                                         Reply Refer To:
                                                         OEP/DG2E/Gas Branch 2
                                                         Cheniere Corpus Christi Pipeline, L.P.
                                                         Docket No. CP18-513-000


        January 17, 2020

        VIA FERC Service

        Akayla Broussard
        Cheniere Energy, Inc.
        7000 Milam Street, Suite 800
        Houston, TX 77002

         RE:   Authorization to Proceed with Construction of Sinton Compression Unit No. 1

         Dear Ms. Broussard:

                I grant your January 10, 2020 request for Cheniere Corpus Christi Pipeline, L.P.
        (CCPL) to proceed with construction of Unit No. 1 at the Sinton Compression Station.
        In considering this authorization, we have reviewed CCPL’s Implementation Plan PL1
        filed on January 10, 2020 and supplemental filing filed on January 16, 2020. The
        installation of Unit 1 at this time meets the Stage 3 Project purpose and needs, but would
        be constructed and operated independently from the remaining Stage 3 facilities.

               These filings included the information necessary to meet the conditions of the
        Federal Energy Regulatory Commission’s (FERC or Commission) November 22, 2019
        Order Granting Authorization Under Sections 3 and 7of the Natural Gas Act (Order) to
        CCPL, in the above- referenced docket. We have confirmed the receipt of all federal
        authorizations relevant to the approved activities herein.

               Site preparation and construction of facilities of the Corpus Christi Liquefaction
        Stage 3 LNG Facilities are not authorized at this time. Additional authorizations will be
        released once Cheniere has demonstrated full compliance with the conditions of the
        Order.




                                                                                           JA138
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                                                      2



               I remind you that CCPL must comply with all applicable remaining terms and
        conditions of the Order. If you have any questions regarding this approval, please
        contact Kandilarya Barakat, at (202) 502-6365.

                                             CREATE A HANDWRITTEN ELECTRONIC SIGNATURE

                                                            Sincerely,



                                                            Eric Howard, Chief
                                          SIGNER               Gas Branch 2
                                          • PRINT this page
                                                               Division of Gas-Environment and
                                          • FIND a fine-tipped black marker or pen that writes thick, solid, and dark (a
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                                              JaneDoeSignature.pdf)
                                          o OPEN the .pdf file in Adobe
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                                              section, choose CROP
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                                          • You should now have just the signature with a white background
                                          • SAVE the file to save the changes
                                          • EMAIL the file to staff with the subject: [Staff Name] Signature

                                          SIGNER
                                          • Once you receive the email with your signature SAVE the file somewhere on
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                                             where it is.
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Document Accession #: 20200214-3047         Filed Date: 02/14/2020
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        OFFICE OF ENERGY PROJECTS

                                                 Reply Refer To:
                                                 OEP/DG2E/Gas Branch 2
                                                 Corpus Christi Liquefaction Stage III, LLC
                                                 Docket No. CP18-512-000


        February 14, 2020

        VIA FERC Service

        Akayla Broussard
        Cheniere Energy, Inc.
        7000 Milam Street, Suite 800
        Houston, TX 77002

         RE:   Authorization to Proceed with Road Improvements for Early Works

         Dear Ms. Broussard:

                I grant your January 14, 2020 request for Corpus Christi Liquefaction Stage III,
        LLC (CCL Stage III) to proceed with road improvements to the existing interior roads
        within temporary workspace reviewed and approved in association with the Corpus
        Christi Liquefaction Project (CP12-507-000) and permanent operational areas approved
        for the Corpus Christi Stage 3 Project. In considering this authorization, we have
        reviewed CCL Stage III’s supplemental information filed on February 14, 2020.

               These filings are adequate to meet the conditions of the Federal Energy Regulatory
        Commission’s November 22, 2019 Order Granting Authorization Under Sections 3 and
        7of the Natural Gas Act (Order) to CCL Stage III, in the above- referenced docket.

               We have confirmed the receipt of all federal authorizations relevant to the
        approved activities herein. Site preparation and construction of facilities of the Corpus
        Christi Liquefaction Stage 3 LNG Facilities are not authorized at this time. Additional
        authorizations will be released once CCL Stage III has demonstrated full compliance with
        the conditions of the Order.




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                                                     2

              I remind you that CCL Stage III must comply with all applicable remaining terms
        and conditions of the Order. If you have any questions regarding this approval, please
        contact Kandilarya Barakat, at (202) 502-6365.

                                             CREATE A HANDWRITTEN ELECTRONIC SIGNATURE

                                                           Sincerely,



                                                         Eric Howard, Chief
                                          SIGNER         Gas Branch 2
                                                         Division of Gas-Environment and
                                          • PRINT this page
                                                            Engineering
                                          • FIND a fine-tipped black marker or pen that writes thick, solid, and dark (a
                                            regular pen is not thick and dark enough)
                                          • PLACE a piece of paper over this page so you can see the box underneath
                                          • SIGN your name completely within the box
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                                            it- but not too close to the signature- defmitely not inside the box)
                                          • DELIVER       to the admin staff for your group

                                          ADMIN
                                          • SCAN each signed page separately- if given the choice choose .pdf file format
                                          (directions for using the copy machines to scan can be found here: Use Copy
                                          Machine as Scanner)
                                          • SAVE each file with the name of the staff person and 'Signature' (i.e.
                                              JaneDoeSignature.pdf)
                                          o OPEN the .pdf file in Adobe
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                                              section, choose CROP
                                          • DRAW a box around the identified "good" signature
                                          • RIGHT CLICK and choose "ISet Crop Box"
                                          • You should now have just the signature with a white background
                                          • SAVE the file to save the changes
                                          • EMAIL the file to staff with the subject: [Staff Name] Signature

                                          SIGNER
                                          • Once you receive the email with your signature SAVE the file somewhere on
                                            your personal network drive (K for most people) where you will remember
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                                                                                                        JA141
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                                     FEDERAL ENERGY REGULATORY COMMISSION
                                               WASHINGTON, D.C. 20426


         OFFICE OF ENERGY PROJECTS
                                                                        In Reply Refer To:
                                                                        OEP/DG2E/Gas 2
                                                                        Cheniere Energy, Inc.
                                                                        Corpus Christi Stage 3 Project
                                                                        Docket No. CP18-513-000

        December 18, 2020

         VIA Electronic Mail

         Rebecca Muckleroy
         Cheniere Corpus Christi Pipeline, L.P.
         Rebecca.Muckleroy@cheniere.com

         Re: Authorization to Commence Service

         Dear Ms. Muckleroy:

               I grant Cheniere Corpus Christi Pipeline, L.P.’s (Cheniere) December 1, 2020
        request, as supplemented on December 9 and 18, 2020, to place into service the Unit 1
        expansion at the existing Sinton Compressor Station in San Patricio County, Texas,
        associated with the Corpus Christi Stage 3 Project. Your request complies with condition
        number 12 of the Commission’s November 22, 2019 Order Granting Authorizations
        under Section 3 and Section 7 of the Natural Gas Act (Order) issued in the above-
        referenced docket. Based on Cheniere’s recent bi-weekly construction status reports and
        supplemental documentation, we find that Cheniere has adequately stabilized areas
        disturbed by construction and that restoration related to the Sinton Compressor Station
        expansion is proceeding satisfactorily.

               I remind you that Cheniere must comply with all remaining terms and conditions
        of the Order. If you have any questions regarding this approval, please contact Nancy
        Fox-Fernandez at (202) 502-8559.

                                                                        Sincerely,

                                                                                        -
                                                                             ,...a..olcs"...,
                                                                        J. Rich McGuire, Director
                                                                        Division of Gas – Environment
                                                                           and Engineering




                                                                                                  JA142
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                     CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of March, 2023, I

 electronically filed the foregoing Joint Appendix with the Clerk of the

 Court using the CM/ECF system, which will send notice of such filing

 to all registered CM/ECF users.

                                   /s/ Tom Gosselin
                                   Tom Gosselin
                                   Sierra Club
                                   P.O. Box 4998
                                   Austin, TX 78723
                                   424-346-3276
                                   tom.gosselin@sierraclub.org

                                   Attorney for Sierra Club
